                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

In re:                                             Case No. 23-43403-mlo
                                                   Chapter 11
Ark Laboratory, LLC,                               Hon. Maria L. Oxholm

                             Debtor.



      FIRST INTERIM FEE APPLICATION OF TAFT STETTINIUS &
      HOLLISTER, LLP FOR PAYMENT OF COMPENSATION AND
   REIMBURSEMENT OF EXPENSES AS COUNSEL TO THE OFFICIAL
   COMMITTEE OF UNSECURED CREDITORS OF ARK LABORATORY,
   LLC FOR THE PERIOD FROM MAY 11, 2023 TO SEPTEMBER 30, 2023

          Taft Stettinius & Hollister, LLP (the “Applicant” or “Taft”), submits this

  First Interim Fee Application of Taft Stettinius & Hollister, LLP for Payment of

  Compensation and Reimbursement of Expenses as Counsel to the Official

  Committee of Unsecured Creditors (“Committee”) of Ark Laboratory, LLC for the

  Period from May 11, 2023 to September 30, 2023 (the “Application”), and

  respectfully states as follows:

                                    INTRODUCTION

          This Court has jurisdiction over this case pursuant to 28 U.S.C. § 1334(a).

  This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A). Ark Laboratory,

  LLC (the “Debtor”) filed its voluntary petition under chapter 11 of title 11 of the

  United States Code (the “Bankruptcy Code”) on April 12, 2023 (the “Petition




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Date”). The Office of the United States Trustee (the “U.S. Trustee”) appointed the

Committee on May 1, 2023 [ECF Nos. 68 and 70]. On May 11, 2023, the

Committee filed its Application for Order Authorizing Employment of Taft

Stettinius & Hollister, LLP, as counsel for the Official Committee of Unsecured

Creditors of Ark Laboratory, LLC [ECF No. 100] (the “Employment Application”)

seeking to retain Taft as its counsel. On May 18, 2023, the Court granted Taft’s

Retention Application [ECF No. 112] (the “Employment Order”).

                         REQUEST FOR COMPENSATION

        1.      Compensation and Reimbursement of Expenses. Taft seeks

allowance of an administrative expense pursuant to both 11 U.S.C. §§ 330 and

503(b)(2) as follows:

              a. $282,188.00 for compensation of Taft’s professionals in connection

                with legal services rendered to the Committee;

              b. $337.70 for reimbursement of Taft’s expenses in connection with

                professional services rendered to the Committee.

        2.      Time period services were rendered. This Application seeks

reimbursement for attorney’s fees billed and expenses incurred during the period of

May 11, 2023 through September 30, 2023 (the “Application Period”).




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        3.       Nature of services performed.

        a.       Taft professionals expended significant effort during the Application

Period to ensure the successful administration of this chapter 11 case. On behalf of

the Committee:

                i.     Taft prepared the Employment Application and has continued

        to monitor the case and, when appropriate, has prepared and filed amended

        declarations of disinterestedness;

               ii.     Taft reviewed the initial schedules and statement of financial

        affairs and the amended schedules filed by the Debtor and attended the first

        meeting of creditors conducted pursuant to Section 341 of the Bankruptcy

        Code;

              iii.     Taft reviewed and analyzed the first day motions filed by the

        Debtor;

              iv.      Taft oversaw and actively negotiated the cash collateral motion

        and entry of the resulting interim, final and amended final cash collateral

        orders to ensure Debtor’s continued operation during the course of the

        chapter 11 case;

               v.      Taft reviewed and analyzed the multiple budgets prepared and

        circulated by the Debtor and its financial advisor with respect to the




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        Debtor’s operations, as well as comparisons of actual to budgeted expenses

        on a weekly basis;

               vi.      Taft analyzed the Debtor’s proposed sale of assets, negotiated

        sale terms to maximize the value of Debtor’s assets and among other results,

        obtained certain carveouts and allowances for the benefit of the

        administrative, priority and unsecured creditors;

              vii.      Taft negotiated resolution of both filed and informal objections

        to the sale of Debtor’s assets resulting in the approval of the sale of

        substantially all of Debtor’s assets by the Court [ECF No. 279] (the “Sale”);

              viii.     Taft    rigorously   negotiated   for   resolution   of   Debtor’s

        assumption and assignment of executory contracts, in particular, terms

        involving the Debtor’s commercial landlord, as well as other creditors, in an

        effort to reduce administrative expense claims and rejection damage claims

        and to maximize the value of the Debtor’s assets through the Sale;

               ix.      Taft negotiated terms and proposed plan language for the

        benefit of creditors contained in the Debtor’s Combined Disclosure

        Statement and Plan of Liquidation (collectively, the “Plan”) filed on

        September 19, 2023 [ECF No. 249];




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                x.      Taft undertook an investigation of the Debtor’s business

        operations, facilitated the analysis and disclosure of Debtor’s 2-year, 1-year,

        90-day and post-petition transfers delineated in the Plan Supplement and

        Corrected Plan Supplement filed by the Debtor;

               xi.      Taft drafted the Liquidating Trust Agreement (the “Trust

        Agreement”) by which Paul R. Hage is being appointed as the Liquidating

        Trustee, pursuant to the Plan and the Trust Agreement to administer,

        liquidate, and distribute the assets to the holders of Allowed Claims of

        creditors as beneficiaries under the Trust;

              xii.      Taft addressed various issues raised by creditors of the Debtor’s

        estate, including, but not limited to, addressing requests by various creditors

        seeking (i) to file late claims after the bar date established by the Court; (ii)

        allowance of and payment of administrative claims; and (iii) information

        about the chapter 11 case and treatment under the Plan;

              xiii.     Taft addressed various issues raised by the United States of

        America (“USA”) relating to requests for adequate protection, rights to

        offset and recoupment in connection with claims asserted by the Centers for

        Medicare and Medicaid Services (“CMS”), as well as issues raised by the

        Internal Revenue Service (“IRS”) in connection with prepetition taxes

        asserted to be owed by the Debtor;


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              xiv.      Taft addressed, analyzed, assessed and participated in numerous

        meetings regarding Covid testing claims which comprise outstanding Covid-

        19 testing claims with each of the Debtor’s health insurance providers and

        governmental entities that are being pursued by Special Counsel (defined

        below) (“Covid Testing Claims”). The Covid Testing Claims were first

        disclosed in the amended schedules filed by the Debtor four months after the

        Petition Date in order to address their impact on the pending sale and the

        creditors of the estate;

               xv.      Taft reviewed and addressed the employment application of

        special counsel, Only One Hub d/b/a Primus Health (“Special Counsel”),

        retained by the Debtor on a contingent fee basis, to seek recovery of the

        Covid Testing Claims;

              xvi.      Taft regularly communicated with the Committee to advise

        them about all aspects of this chapter 11 case and, among other things, to

        seek their approval on how to proceed;

              xvii.     Taft investigated various transactions between the Debtor and

        its prior members that occurred within two (2) years prior to the Petition

        Date in order to address and to determine whether and to what extent such

        transactions may be subject to avoidance;




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          xviii.        Taft reviewed various insurance policies of the Debtor to

        determine the extent of coverage thereunder; and

              xix.      Taft addressed various other issues consistent with Taft’s duties

        as Committee counsel, as delineated in the invoices, attached as Exhibit 5 to

        this Application.

Accordingly, Taft submits that the time spent and expenses incurred during the

Application Period were necessary and appropriate under the circumstances.

        b.       Taft’s services to the Committee during the Application Period are

grouped into project billing categories, and the attorneys and paraprofessionals

who rendered those services are identified—along with the number of hours spent

by each individual and the total compensation sought for each category—in the

attachments to this Fee Application. Brief descriptions of Taft’s services to the

Committee during the Application Period, by project billing category, are as

follows:

                 i.     Case Administration (B110).

        During the Application Period, Taft spent 61.2 hours related to the

administration of the Debtor’s chapter 11 case. This category includes

communicating with other estate professionals regarding the status of the chapter

11 case and strategy, evaluating and investigating the Debtor’s operations and

requesting related information, reviewing and addressing Debtor’s first day


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motions, as well as other motions by the Debtor and creditors, evaluating

conversion or liquidating plan alternatives, and evaluating various options to

generate a potential distribution to unsecured creditors.

        ii.    Asset Analysis and Recovery (B120).

        Taft spent 84.4 hours related to analyzing the Debtor’s assets. Services

included assessing the Debtor’s proposed sale strategy, consulting with the Debtor

and its professionals regarding the Debtor’s marketing and sale efforts; analyzing

the strategy and recovery of the Debtor’s Covid Testing Claims for the benefit of

unsecured creditors; assessing the Debtor’s potential causes of action, as well as

the Debtor’s avoidance claims under Chapter 5 of the Bankruptcy Code and issues

pertaining to the appropriateness of the Membership Interest Redemption

Agreement event that occurred prior to the Petition Date; analysis of the risks,

benefits and claims strategy, including recoupment and setoff rights as relates to

the qui tam investigation by the USA.

        iii.   Asset Disposition (B130).

        Taft spent 149.9 hours attendant to asset disposition services for the

Committee. Services included, among other things, analyzing and verifying that (i)

the proposed Sale and bid procedures were fair; (ii) the Sale maximized the value

of the assets to be sold for the benefit of the creditors of the estate; (iii) the Debtor

made proper and full disclosure of the terms and conditions governing the sale; and


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(iv) the terms of the Sale were fair and in the best interest of creditors. Taft

professionals also facilitated the Debtor’s filing of amended schedules and

amended sale pleadings to reflect new information regarding the Debtor’s assets

related to the discovery of undisclosed substantial Covid Testing Claims and to

ensure that they were excluded from the Sale.                 Taft also participated in

negotiations over the terms and conditions by which the Sale would be

consummated. Taft also attended numerous hearings in connection with approval

of the bidding procedures and the Sale.

        iv.    Relief from Stay/Adequate Protection Proceedings (B140).

        Taft spent 3.8 hours on services attending to stay relief and adequate

protection proceedings. These services included review and attention to certain

stay relief motions and requests for adequate protection payments.

        v.     Meetings of and Communications with Creditors (B150).

        Taft   spent   15.9     hours    participating   in   creditor     meetings   and

communicating with creditors. In addition to attendance at the Debtor’s first

meeting of creditors, Taft’s services included (i) regularly meeting with and

advising the Committee on key events and issues in the Bankruptcy Case; (ii)

advising the Committee on approval of certain stipulations; (iii) advising the

Committee in determining when and whether to file objections to certain




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motions; and (v) other services in connection with assisting the Committee in

fulfilling its statutory fiduciary duties throughout the Bankruptcy Case.

        vi.    Fee/Employment Applications (B160).

        Taft spent 18.8 hours drafting and preparing employment applications and

fee applications for the Committee’s professionals. These services also included

preparation of regular updates to Taft’s declaration of disinterestedness to

identify Taft affiliations with creditors and parties in interest in matters unrelated

to the Debtor and the Debtor’s chapter 11 case. Services also included review

and oversight of the terms for employment set forth in (i) the Debtor’s

application to retain counsel; (ii) the Debtor’s application to retain a financial

advisor; and (iii) the Debtor’s application to employ Special Counsel for

Debtor’s pursuit of the Covid Testing Claims [ECF No. 216] (“the Special

Counsel Application”) to ensure that the Special Counsel Application was

consistent with the Debtor’s prepetition retention arrangement terms.

        vii.   Assumption/Rejection of Leases and Contracts (B185).

        Applicant spent 37.4 hours on services related to assumption and rejection of

executory contracts. Services included (i) analysis of Debtor’s unexpired leases

and executory contracts; (ii) facilitating the Debtor’s filing of motions to reject and

accept certain leases and executory contracts; and (iii) promoting the resolution of

disputes between and among Debtor, Purchaser, and Debtor’s landlord pertaining


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to the assumption or rejection of Debtor’s commercial lease, Sports Marketing

Agency and McLaren Medical Laboratory (“McLaren”). Taft also spent significant

time facilitating the resolution of terms for rejection and assumption of executory

contracts among Debtor and its vendors. Taft also revised various stipulations and

proposed orders in connection with extending the time to address the executory

contracts and unexpired lease or effectuating resolutions of issues associated with

such executory contracts and unexpired leases. Taft also attended various hearings

conducted by the Court on the treatment to be accorded the executory contracts and

unexpired leases.

        viii.   Financing/Cash Collections (B230).

        Taft spent 63.8 hours performing services related to the negotiations with

Debtor’s secured creditors and certain vendors over terms for Debtor’s authority to

use cash collateral. Services included (i) analysis of Debtor’s proposed cash

collateral budgets to ensure proper allocation of Debtor’s cash to payment of

administrative operating costs; (ii) review and analysis of Debtor’s first day motion

seeking authorization to use cash collateral and proposed interim order issued in

response thereto by the Court; (iii) preparation of an objection to the first interim

cash collateral order entered by the Court; (iv) review and analysis of objections to

use of cash collateral filed by the U.S. Trustee and McLaren; (v) attendance at

hearings over use of cash collateral; (vi) communications with the U.S. Trustee


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over the terms and conditions contained in the various cash collateral orders; (vii)

assessing the validity and priority of the secured claims subject to the cash

collateral orders; and (viii) reviewing, analyzing, revising and negotiating proposed

interim cash collateral orders, the Final Cash Collateral Order, and the Amended

Final Cash Collateral Order. Taft also negotiated terms and conditions under which

Auxo Investment Partners, LLC (“Auxo”), the purchaser at the Sale and the

primary secured creditor of the Debtor by virtue of its acquisition of the secured

claims of Comerica Bank, N.A. (“Comerica”) and The Peninsula Fund VII Limited

Partnership (“Peninsula”), committed to pay all of Debtor’s administrative

expenses necessary to its operations which Debtor was unable to pay due to

cashflow shortages throughout the case through the date of the closing on the Sale.

Taft also negotiated a professional fee carveout with Auxo as part of the Final

Cash Collateral Order and a First Amended Cash Collateral Order to ensure that

the professional fees of the Debtor’s and Committee’s professionals were funded.

        ix.   Claims Administration and Objections (B310).

        Taft spent 6.7 hours attending to the verification of the validity of certain

administrative expense claims and other claims filed by creditors, assessing and

determining the impact of such claims on the estate. Some of the claims reviewed

and analyzed by Taft included (i) the USA’s claims associated in the qui tam

action filed prior to the Petition Date in the United States District Court for the


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Eastern District of Michigan and asserted offset rights; (ii) the claim of the IRS;

and (iii) the claim of the State of Michigan. Taft also reviewed, analyzed, revised

and provided comments to the Debtor concerning its motion to establish an

administrative bar date.

        x.    Plan and Disclosure Statement (B320).

        Taft spent 59.7 hours attending to drafting, reviewing revising, and

preparing, as well as negotiating with the Debor and Auxo, the terms of the Plan.

Services included (i) negotiating an extension of the deadline for the Debtor to file

the Plan; (ii) ensuring that the Disclosure Statement contained full and accurate

information, consistent with the requirements of Section 1125 of the Bankruptcy

Code; (iii) ensuring that the Plan accurately classified all of the classes of creditors

and contained the negotiated terms with Auxo over the treatment to be accorded to

the administrative, priority and unsecured creditors; (iv) reviewing and revising the

preserved Causes of Action, including Avoidance Actions, disclosed in the Plan

and the Debtor’s Plan Supplement to verify that all necessary avoidance actions

under chapter 5 of the Bankruptcy Code and other causes of action were identified;

(v) preparing the Trust Agreement and negotiating with Auxo over the standard by

which the Covid Testing Claims could be resolved, settled or compromised by the

Liquidating Trustee; (vi) addressing, reviewing, analyzing and negotiating with the

USA over their comments to the Plan; (vii) preparing a Committee Support Letter


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and seeking authority from the Court to include it in the Plan Supplement; (viii)

ensuring that all of the Plan documents were properly and timely transmitted to all

creditors and parties in interest entitled to receive notice thereof; and (ix) partaking

in all other requisite actions associated with preparing and filing the Plan and

moving toward confirmation.

        xi. Other Contested Matters (B190), Operations (B210), Nonworking
            Travel (B195).

        Taft spent 1.3, 0.2, and 1 hours, respectively, on other contested matters,

operations, and nonworking travel. Services categorized as contested matters

included work attendant to the Committee’s motion for examination of Debtor’s

responsible person, James Grossi and Debtor’s former members and analysis of the

USA’s qui tam action and related claims. Operations included services for

reviewing and sending Debtor’s monthly operating reports to the Committee.

Nonworking travel included time traveling to appear for and attend one of Debtor’s

only in-person hearings pertaining to the Debtor’s request for interim use of cash

collateral.

        4.    Adversary Proceedings. No adversary proceedings were filed by

Debtor, the Committee or any other party during the Application Period.

        5.    Status of Bankruptcy Proceeding. The Sale closed on or about

October 12, 2023. The Purchaser was the only bidder. Prior to the Sale, the



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Purchaser acquired and succeeded to the rights of Comerica and Peninsula, the two

primary secured creditors of the Debtor.

        The Debtor filed the Plan on September 19, 2023. On September 20, 2023,

the Bankruptcy Court entered the Order Preliminarily Approving the Disclosure

Statement and scheduled the hearing on confirmation of the Plan (the “Scheduling

Order”) [ECF No. 250] and scheduled the confirmation hearing (the “Confirmation

Hearing”) for November 2, 2023. The Committee expects that the Plan will be

confirmed soon after the first date set for the Confirmation Hearing while the

parties seek to resolve informal objections to confirmation of the Plan. Pursuant the

Plan, the Liquidating Trust will be formed, and the Liquidating Trustee will be

appointed under the Plan, both as of the Effective Date of the Plan. Upon

information and belief, Debtor has filed its monthly operating reports for all

periods through August 31, 2023.

        6.    Future Services. Taft anticipates performing additional services for

the Committee through confirmation of the Plan and the Effective Date to ensure

confirmation of the Plan occurs and consummation of the Plan is achieved. A

second and final application for approval of Taft’s fees for services to the

Committee will be filed with the Bankruptcy Court following the conclusion of

Applicant’s services to the Committee within forty-five (45) days of the Effective

Date, as provided in the Plan. The Plan and the Liquidating Trust propose that Taft


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will serve as counsel to the Liquidating Trustee following the Effective Date of the

Plan. Pursuant to the terms of the Liquidating Trust, professional services

including those of Taft that are performed for the Liquidating Trustee on and after

the Effective Date will not be subject to Bankruptcy Court approval.

        7.    Unpaid Administrative Expenses. In addition to Applicant’s fees for

services performed for the Committee after the Application Period, unpaid

administrative expenses include the fees of the Debtor’s legal counsel, Robert

Bassel (“Debtor’s Counsel”), the Debtor’s financial advisor, O’Keefe & Associates

(“Debtor’s Financial Advisor,” and collectively with Debtor’s Counsel, “Debtor’s

Professionals”), and certain administrative expenses necessary to the Debtor’s

operation (“Unpaid Administrative Operating Expenses”).

        Debtor’s Counsel fees are estimated at $135,000, and the fees of Debtor’s

Financial Advisor are approximately $115,000. The total of Debtor’s Unpaid

Administrative Operating Expenses are not yet fully ascertained. Pursuant to the

Debtor’s Motion for Entry of and Order Establishing Bar Date for Requests for

Allowance of Administrative Expense Claims and Approving Notice Thereof [ECF

No. 306] (the “Bar Date Motion”), the Debtor has proposed an administrative

expense claim request bar date of November 27, 2023, which may be extended

based on the hearing initially scheduled on the Bar Date Motion for October 26,

2023, and was adjourned until November 2, 2023 to attempt to resolve some


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informal objections posed to the Bar Date Motion. All allowed Unpaid

Administrative Operating Expenses will be paid by Auxo as part of the Sale and

the Plan. Auxo has also committed under the Final Cash Collateral Order and the

First Amended Final Cash Collateral Order [ECF Nos. 144 and 269] to fund the

fees and expenses of Debtor’s Professionals and Applicant’s fees and expenses on

behalf of the Committee in the amount of $250,000 and $350,000, respectively.

        8.    There are several instances where more than one Taft professional

rendered services to the Committee. Prior to filing this Application, Taft reduced

its fees by more than $10,000 for services where more than one professional

participated in meetings, hearings or attended to the same task. Where more than

one Taft professional has billed and requests reimbursement of fees for

overlapping time, each professional was a necessary participant to the completion

of the task due to the complexity and multitude of issues in this chapter 11 case.

        In some circumstance, the involvement of more than one professional was

determined to be the most efficient and cost-effective way for Taft professionals to

remain informed on the status of the case and decisions to be made by the

Committee in order to adequately and fully represent the Committee’s interests in

the preparation of pleadings, advising the Committee and in performing other

services for the Committee. In other instances, the complexity of the issues and

the multitude of issues addressed in connection with particular services to the


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Committee made it necessary to include the services of more than one of the

Committee’s professionals.

        9.    Prior Compensation Requests. Applicant has not made any prior

requests for compensation and has not received any compensation for services

provided to the Committee.

        10.   Approval of the Fees Requested. Taft provided copies of Taft’s

invoices covering the Application Period to the Chair of the Committee more than

seven days prior to the filing of this Application and he advised Taft that he did not

have any objections and has approved Applicant’s request for fees and expenses in

this Application.    In addition, Taft provided the Committee with a copy of this

Application before it was filed with the Court and, as reflected in the consent and

approval at the end of this Application, the Chair of the Committee has approved

the filing of this Application.

        11.   Attached as Exhibit 1 is a proposed order approving Taft’s fees

requested in this Application.

        12.   Attached as Exhibit 2, to this Application is the Employment Order.

        13.   Exhibit 3, required by Local Rule 2016-1, is inapplicable to

Applicant, and therefore, Exhibit 3 is not attached to this Application.

        14.   Exhibit 4 contains a summary of time spent by each professional and

paraprofessional performing services in connection with this Bankruptcy Case and


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a breakdown of fees requested for those services performed by each professional

and paraprofessional.1

        15.   Attached to this Application as Exhibit 5, are detailed monthly

statements of the fees and expenses incurred by Taft during the Application Period

(the “Monthly Statements”), categorized by project billing category specifying the

hours incurred by each professional. The time described in the Monthly Statements

represents the actual amount of time spent or, in certain instances, less than the

actual amount of time spent by Taft attorneys and paraprofessionals in providing

the services described. Certain time reflected in the Monthly Statements has been

either reduced or eliminated by Taft to reduce the burden related to multi-party

conferences or to other services deemed in hindsight to warrant adjustment.

        16.   A detailed biography each of the attorneys and paralegals that

performed services in this matter is attached as Exhibit 6.

        17.   A summary of Taft’s expenses is attached as Exhibit 7.

        18.   Taft submits that the compensation sought under this Fee Application

represents a fair and reasonable amount for the services rendered during the

Application Period, given the criteria set forth in 11 U.S.C. § 330 for evaluating

applications for compensation, namely:


1 Taft’s hourly rates are reviewed and modified on an annual basis.




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              (A) the time spent on such services;

              (B) the rates charged for such services;

              (C) whether the services were necessary to the administration of, or

        beneficial at the time at which the service was rendered toward the

        completion of, a case under this title;

              (D) whether the services were performed within a reasonable

        amount of time commensurate with the complexity, importance, and

        nature of the problem, issue, or task addressed;

              (E) with respect to a professional person, whether the person is

        board certified or otherwise has demonstrated skill and experience in

        the bankruptcy field; and

              (F) whether the compensation is reasonable based on the

         customary compensation charged by comparably skilled practitioners

         in cases other than cases under this title.

11 U.S.C. § 330(a)(3).

        19.      All expenses incurred by Taft in connection with its representation of

the Committee were ordinary and necessary expenses. All expenses billed were

billed in the same manner Taft bills its non-bankruptcy clients. Taft does not bill its

clients or seek compensation in this Application for certain overhead expenses,




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such as local and long-distance telephone calls, secretarial services and facsimile

transmissions. Such expenses are factored into Taft’s hourly rates.

        20.   In compliance with Bankruptcy Rule 2002(a)(6) and Local

Bankruptcy Rule 9014-1(c)(2), Taft will provide notice of this Application through

the Court’s ECF system to: (a) the Office of the United States Trustee for the

Eastern District of Michigan, (b) parties who have filed a notice of appearance

with the Clerk of the Court and requested notice of filings in these cases, and (c)

creditors listed on the matrix. Taft submits that, in light of the nature of the relief

requested, no other or further notice need be provided.

        WHEREFORE, Taft respectfully requests that this Court enter an order

substantially in the form attached as Exhibit 1 to this Application:

        (a)   Allowing and approving, on an interim basis, an administrative
              expense in the amount of $282,525.70, consisting of $282,188.00 for
              actual and necessary fees and $337.70 for expenses incurred by Taft
              during the Application Period;

        (b)   Authorizing payment of Taft fees in the amount of $282,188.00 and
              expenses in the amount of $337.70 approved by the Court pursuant to
              this Application; and

        (c)   Granting Taft with such additional relief as may be just and
              appropriate under the circumstances.




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                                Respectfully submitted by,

                                TAFT STETTINIUS & HOLLISTER, LLP

Dated: October 30, 2023         /s/ Judith Greenstone Miller
                                Judith Greenstone Miller (P29208)
                                Kimberly Ross Clayson (P69804)
                                27777 Franklin, Suite 2500
                                Southfield, MI 48034
                                (248) 351-3000
                                jgmiller@taftlaw.com
                                kclayson@taftlaw.com

                                Attorneys for the Committee



REVIEWED AND APPROVED:

The OFFICIAL COMMITTEE OF UNSECURED
CREDITORS OF ARK LABORATORY, LLC

By:/s/ Matthew George
Gemini Lab Group, LLC
Chair of the Committee
Dated; October 30, 2023




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                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

In re:                                         Case No. 23-43403-mlo
                                               Chapter 11
Ark Laboratory, LLC,                           Hon. Maria L. Oxholm

                          Debtor.


        NOTICE OF FIRST INTERIM FEE APPLICATION OF TAFT
          STETTINIUS & HOLLISTER, LLP FOR PAYMENT OF
       COMPENSATION AND REIMBURSEMENT OF EXPENSES AS
      COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED
    CREDITORS OF ARK LABORATORY, LLC FOR THE PERIOD FROM
                MAY 11, 2023 TO SEPTEMBER 30, 2023

         The undersigned counsel for the Official Committee of Unsecured Creditors
  of Ark Laboratory, LLC (the “Committee”) has filed papers with the court entitled
  First Interim Fee Application of Taft Stettinius & Hollister, LLP for Payment of
  Compensation and Reimbursement of Expenses as Counsel to the Official
  Committee of Unsecured Creditors of Ark Laboratory, LLC for the period from
  May 11, 2023 to September 30, 2023 (the “Application”). Pursuant to the
  Application, counsel for the Committee seeks allowance and payment of fees and
  expenses incurred in its representation of the Committee the period from May 11,
  2023 through September 30, 2023 as listed below:
   Professional (name and address):         Taft Stettinius & Hollister, LLP
                                            27777 Franklin Road, Suite 2500
                                            Southfield, MI 48034

   Fees requested:                         $282,188.00


   Expenses requested:                     $337.70

   Fees and expenses previously             None. This is the first interim fee
   allowed by Court:                        application filed by counsel.



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      Your rights may be affected. You should read these papers carefully
and discuss them with your attorney, if you have one in this bankruptcy case.
(If you do not have an attorney, you may wish to consult one.)
      If you do not want the court to grant the Application, or if you want the court
to consider your views on the Application, within twenty-one (21) days, you or
your attorney must:
      1.           File with the court a written response or an answer, explaining
your position at:1


                          United States Bankruptcy Court
                          211 West Fort Street
                          Detroit, Michigan 49503

       If you mail your response to the court for filing, you must mail it early
enough so the court will receive it on or before the date stated above. All attorneys
are required to file pleadings electronically.

        You must also send a copy to:
                          Taft Stettinius & Hollister, LLP
                          Kimberly Ross Clayson and Judith Greenstone Miller
                          27777 Franklin, Suite 2500
                          Southfield, Michigan 48034
      2.    If a response or answer is timely filed and served, the clerk will
schedule a hearing on the motion and you will be served with a notice of the date,
time and location of the hearing.

      If you or your attorney do not take these steps, the court may decide
that you do not oppose the relief sought in the motion or objection and may
enter an order granting that relief.




1 Response or answer must comply with F. R. Civ. P. 8(b), (c) and (e)



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                                Respectfully submitted by,
                                TAFT STETTINIUS & HOLLISTER, LLP

Dated: October 30, 2023         /s/ Judith Greenstone Miller
                                Judith Greenstone Miller (P29208)
                                Kimberly Ross Clayson (P69804)
                                27777 Franklin, Suite 2500
                                Southfield, MI 48034
                                (248) 351-3000
                                jgmiller@taftlaw.com
                                kclayson@taftlaw.com
                                Attorneys for the Committee




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                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

In re:                                              Case No. 23-43403-mlo
                                                    Chapter 11
Ark Laboratory, LLC,                                Hon. Maria L. Oxholm

                            Debtor.


                             CERTIFICATE OF SERVICE

          I hereby certify that on October 30, 2023, my office electronically filed the

  First Interim Fee Application of Taft Stettinius & Hollister, LLP for Payment of

  Compensation and Reimbursement of Expenses as Counsel to the Official

  Committee of Unsecured Creditors of Ark Laboratory, LLC for the Period from

  May 11, 2023 through September 30, 2023 with the Clerk of the Court which sends

  notices by operation of the Court’s electronic filing service to all ECF participants

  registered to receive notice in this case.

                                    Respectfully submitted by,
                                    TAFT STETTINIUS & HOLLISTER, LLP

  Dated: October 30, 2023           /s/ Judith Greenstone Miller
                                    Judith Greenstone Miller (P29208)
                                    Kimberly Ross Clayson (P69804)
                                    27777 Franklin, Suite 2500
                                    Southfield, MI 48034
                                    (248) 351-3000
                                    jgmiller@taftlaw.com
                                    kclayson@taftlaw.com
                                    Attorneys for the Committee


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                                    EXHIBIT 1

       (Proposed Order Approving First Interim Application of Taft Stettinius &
      Hollister, LLP for Compensation & Reimbursement of Expenses as Counsel
      to the Official Committee of Unsecured Creditors of Ark Laboratory, LLC)




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                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


In re:                                          Case No. 23-43403-mlo
Ark Laboratory, LLC,                            Chapter 11
                           Debtor.              Hon. Maria L. Oxholm




        ORDER APPROVING FIRST INTERIM APPLICATION OF
             TAFT STETTINIUS & HOLLISTER, LLP FOR
         COMPENSATION & REIMBURSEMENT OF EXPENSES
     AS COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED
          CREDITORS OF ARK LABORATORY, LLC FOR THE
       PERIOD OF MAY 11, 2023 THROUGH SEPTEMBER 30, 2023

         THIS MATTER came before the Court on the First Interim Application of

 Taft Stettinius & Hollister, LLC for Compensation & Reimbursement of Expenses as

 Counsel to the Official Committee of Unsecured Creditors of Ark Laboratory, LLC

 for the Period of May 11, 2023 through September 30, 2023 (the “Fee Application”)1

 filed by Taft Stettinius & Hollister, LLP (“Taft”); notice of the Fee Application is

 sufficient; and no objections to the Fee Application were filed or all such objections



 1
  Capitalized terms not otherwise defined herein shall have the meaning given to
 them in the Application.



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have been resolved, the Court has read the same and is otherwise fully and duly

advised in the premises:

      IT IS HEREBY ORDERED:

      1.     The Fee Application is granted.

      2.     The fees and expenses allowed and paid pursuant to this Order are

allowed and approved on an interim basis.

      3.     Taft is granted an allowed administrative expense under section

503(b)(2) for $282,525.70, consisting of $282,188.00 for actual and necessary fees

and $337.70 for expenses incurred by Taft during the Application Period.

      4.     The Debtor is authorized and directed to promptly pay Taft fees in the

amount of $282,188.00 and expenses in the amount of $337.70 allowed under this

Order from the Professional Fee Escrow Account.

      5.     This Court retains exclusive jurisdiction to resolve any dispute arising

from or related to this Order.




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                                    EXHIBIT 2

                                 (Employment Order)




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                    UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

In re:
                                              Chapter 11
ARK LABORATORY, LLC,                          Case No. 23-43403-MLO
                                              Hon. Maria L. Oxholm
               Debtor.


                 ORDER AUTHORIZING EMPLOYMENT
           OF TAFT STETTINIUS & HOLLSTER, LLP AS COUNSEL
            FOR THE OFFICIAL COMMITTEE OF UNSECURED
                CREDITORS OF ARK LABORATORY, LLC

         Upon the Application for Order Authorizing Employment of Taft Stettinius &

Hollister, LLC as Counsel for the Official Committee of Unsecured Creditors of Ark

Laboratory, LLC (the “Application”) filed by the Official Committee of Unsecured

Creditors (the “Committee”), for entry of an order authorizing the Committee to

employ and retain Taft Stettinius & Hollister, LLP (“Taft”) as its counsel, pursuant

to sections 327(a), 328(a) and 1103 of title 11 of the Bankruptcy Code; and upon the

Declaration of of Disinterestedness and Disclosure Statement of Taft Stettinius &

Hollister, LLP, attached to the Application as Exhibit B; and due and adequate

notice of the Application having been given; and it appearing that Taft neither holds

nor represents an interest adverse to the Debtor’s business; and it appearing that Taft

is “disinterested” as that term is defined in section 101(14) of the Bankruptcy Code;




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and it appearing that the relief requested in the Application is in the best interest of

the Debtor’s business and its creditors; and after due deliberation;

         IT IS HEREBY ORDERED THAT:

         1.   The Committee is authorized to employ Taft as its counsel in the above-

captioned case pursuant to sections 327(a), 328 and 1103 of the Bankruptcy Code, in

accordance with the terms and provisions of the Application as modified herein;

         2.   Taft’s compensation for attorney fees and reimbursement of expenses

(“Compensation”) is subject to Court approval and Taft shall seek approval of

Compensation in accordance with applicable provisions of the Bankruptcy Code, the

Federal Rules of Bankruptcy Procedure, the Local Bankruptcy Rules for the United

States Bankruptcy Court for the Eastern District of Michigan and orders of this

Court.

Signed on May 18, 2023




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                                    EXHIBIT 3

                                          (NA)




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                                    EXHIBIT 4

                           (Summary by Taft Professional)




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DAVID ABROMOWITZ
 DATE                                      HOURS BILLED
 May 2023                                  1.50
 June 2023                                 5.20
 July 2023                                 1.50
 August 2023                               0.00
 September 2023                            0.00

 GRAND TOTAL                               8.20

KIMBERLY ROSS CLAYSON
 DATE                                      HOURS BILLED
 May 2023                                  35.20
 June 2023                                 14.20
 July 2023                                 15.00
 August 2023                               34.50
 September 2023                            49.10

 GRAND TOTAL                               148.00

JOHN P. DECKER
 DATE                                      HOURS BILLED
 May 2023                                  0.30
 June 2023                                 0.00
 July 2023                                 0.00
 August 2023                               0.00
 September 2023                            0.00

 GRAND TOTAL                               0.30

PETER E. DEEGAN
 DATE                                      HOURS BILLED
 May 2023                                  0.00
 June 2023                                 3.40
 July 2023                                 0.00
 August 2023                               0.00
 September 2023                            0.00

 GRAND TOTAL                               3.40




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MARGUERITE M. DONAHUE
 DATE                                         HOURS BILLED
 May 2023                                     0.00
 June 2023                                    0.00
 July 2023                                    10.80
 August 2023                                  0.00
 September 2023                               0.30

 GRAND TOTAL                                  11.10

PAUL R. HAGE
 DATE                                         HOURS BILLED
 May 2023                                     0.00
 June 2023                                    0.00
 July 2023                                    0.00
 August 2023                                  0.70
 September 2023                               0.70

 GRAND TOTAL                                  1.40

RICHARD E. KRUGER
 DATE                                         HOURS BILLED
 May 2023                                     13.40
 June 2023                                    7.60
 July 2023                                    0.00
 August 2023                                  0.00
 September 2023                               7.60

 GRAND TOTAL                                  28.60

ELIZABETH LITTLE
 DATE                                         HOURS BILLED
 May 2023                                     0.00
 June 2023                                    0.00
 July 2023                                    0.00
 August 2023                                  0.00
 September 2023                               0.90

 GRAND TOTAL                                  0.90




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EMILY M. MAYER
 DATE                                      HOURS BILLED
 May 2023                                  7.00
 June 2023                                 0.00
 July 2023                                 0.00
 August 2023                               0.00
 September 2023                            0.00

 GRAND TOTAL                               7.00

JOHN R. MCDONALD
 DATE                                      HOURS BILLED
 May 2023                                  0.00
 June 2023                                 0.20
 July 2023                                 0.00
 August 2023                               0.00
 September 2023                            0.00

 GRAND TOTAL                               0.20

JUDITH GREENSTONE MILLER
 DATE                                      HOURS BILLED
 May 2023                                  92.90
 June 2023                                 42.50
 July 2023                                 27.40
 August 2023                               85.70
 September 2023                            101.00

 GRAND TOTAL                               349.50

ERIC D. NOVETSKY
 DATE                                      HOURS BILLED
 May 2023                                  5.80
 June 2023                                 0.00
 July 2023                                 0.00
 August 2023                               0.00
 September 2023                            0.00

 GRAND TOTAL                               5.80




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LAUREN SELL
 DATE                                         HOURS BILLED
 May 2023                                     4.10
 June 2023                                    0.50
 July 2023                                    0.00
 August 2023                                  0.00
 September 2023                               1.70

 GRAND TOTAL                                  6.30




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                                    EXHIBIT 5

                             (Taft Monthly Statements)




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CASE ADMINISTRATION
 DATE                                      HOURS BILLED
 May 2023                                  25.20
 June 2023                                 1.70
 July 2023                                 11.30
 August 2023                               11.10
 September 2023                            11.90

 GRAND TOTAL HOURS BILLED                  61.20

ASSET ANALYSIS AND RECOVERY
 DATE                                      HOURS BILLED
 May 2023                                  20.30
 June 2023                                 9.20
 July 2023                                 14.40
 August 2023                               12.80
 September 2023                            27.70

 GRAND TOTAL HOURS BILLED                  84.40

ASSET DISPOSITION
 DATE                                      HOURS BILLED
 May 2023                                  31.10
 June 2023                                 39.20
 July 2023                                 17.50
 August 2023                               38.30
 September 2023                            23.80

 GRAND TOTAL HOURS BILLED                  149.9

RELIEF FROM STAY/ADEQUATE PROTECTION PROCEEDINGS
 DATE                           HOURS BILLED
 May 2023                       0.00
 June 2023                      0.00
 July 2023                      3.40
 August 2023                    0.20
 September 2023                 0.20

 GRAND TOTAL HOURS BILLED                  3.80




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MEETINGS OF AND COMMUNICATION WITH CREDITORS
 DATE                          HOURS BILLED
 May 2023                      2.80
 June 2023                     1.30
 July 2023                     0.00
 August 2023                   3.20
 September 2023                8.60

 GRAND TOTAL HOURS BILLED                  15.90

CLAIMS ADMINISTRATION AND OBJECTIONS
 DATE                           HOURS BILLED
 May 2023                       0.00
 June 2023                      1.0
 July 2023                      1.50
 August 2023                    0.80
 September 2023                 3.40

 GRAND TOTAL HOURS BILLED                  6.70

PLAN AND DISCLOSURE STATEMENT
 DATE                                      HOURS BILLED
 May 2023                                  0.00
 June 2023                                 0.00
 July 2023                                 0.20
 August 2023                               5.40
 September 2023                            54.10

 GRAND TOTAL HOURS BILLED                  59.70

FEE/EMPLOYMENT APPLICATION
 DATE                                      HOURS BILLED
 May 2023                                  13.80
 June 2023                                 0.50
 July 2023                                 .20
 August 2023                               2.20
 September 2023                            2.10

 GRAND TOTAL HOURS BILLED                  18.80

ASSUMPTION/REJECTION OF LEASES AND CONTRACTS
 DATE                            HOURS BILLED
 May 2023                        0.00
 June 2023                       0.60
 July 2023                       1.00



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 August 2023                                  14.70
 September 2023                               21.10

 GRAND TOTAL HOURS BILLED                     37.40

FINANCING/CASH COLLECTIONS
 DATE                                         HOURS BILLED
 May 2023                                     0.00
 June 2023                                    20.10
 July 2023                                    5.20
 August 2023                                  31.90
 September 2023                               6.60

 GRAND TOTAL HOURS BILLED                     63.80

OTHER CONTESTED MATTERS
 DATE                                         HOURS BILLED
 May 2023                                     0.40
 June 2023                                    0.00
 July 2023                                    0.00
 August 2023                                  0.00
 September 2023                               0.90

 GRAND TOTAL HOURS BILLED                     1.30

OPERATIONS
 DATE                                         HOURS BILLED
 May 2023                                     0.00
 June 2023                                    0.00
 July 2023                                    0.00
 August 2023                                  0.00
 September 2023                               0.20

 GRAND TOTAL HOURS BILLED                     0.20

NON-WORKING TRAVEL
 DATE                                         HOURS BILLED
 May 2023                                     1.0
 June 2023                                    0.00
 July 2023                                    0.00
 August 2023                                  0.00
 September 2023                               0.00

 GRAND TOTAL HOURS BILLED                     1.00




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   Services provided through        Fees       Costs       Total
May 2023                        $ 77,755.00 $ 171.80 $     77,926.80
June 2023                       $ 38,490.50           $    38,490.50
July 2023                       $ 27,452.50           $    27,452.50
August 2023                     $ 60,153.00           $    60,153.00
September 2023                  $ 78,337.00 $ 165.90 $     78,502.90
                                $ 282,188.00 $ 337.70 $   282,525.70




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                                                                                        Taft Stettinius & Hollister LLP
                                                         27777 Franklin Road, Suite 2500 / Southfield, MI 48034-8214
                                                                              Tel: 248.351.3000 / Fax: 248.351.3082
                                                                                                       www.taftlaw.com
                                                                                                   FEIN#: XX-XXXXXXX
                                                                                                     October 11, 2023
                                                                                                   Invoice # 6155201
          The Official Committee of
          Unsecured Creditors
          ATTN: Matthew George
          Gemini Lab Group, LLC
          8470 S. Shore Drive
          Clarkston, MI 48348

_____________________________________________________________________

                                           INVOICE SUMMARY
Client/File #110698/00001 JGM

For professional services rendered and costs advanced through May 31, 2023:

RE:   Ark Laboratory Creditor Committee



                       Professional Services                                         $ 77,755.00

                       Costs Advanced                                                   $ 171.80

                       TOTAL THIS INVOICE                                            $ 77,926.80




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                                                                                         Taft Stettinius & Hollister LLP

Client/File #110698/00001                                                                           Invoice #: 6155201

PROFESSIONAL SERVICES RENDERED



B110 Case Administration



     Date   Task       Atty           Hours      Rate          Amount    Descrip Of Services
  5/04/23   B110       JGM              .20    550.00           110.00   Address retention with Bob Bassel and
                                                                         scheduling meeting with Russ Long and him
                                                                         to address status of case.
  5/04/23   B110       JGM              .20    550.00           110.00   Address docketing all key dates in case.
  5/04/23   B110       JGM             1.00    550.00           550.00   Preparation of Committee bylaws.
  5/04/23   B110       JGM             2.00    550.00         1,100.00   Review pleadings to understand background
                                                                         of case and nature of debtor.
  5/04/23   B110       KRC             1.80    370.00           666.00   Committee meeting discussing case and
                                                                         Committee strategy.
  5/05/23   B110       LES              .50    235.00           117.50   Draft contact list containing all Committee
                                                                         members.
  5/05/23   B110       LES              .50    235.00           117.50   Draft Notice of Appearance for Judy Miller
                                                                         and Kim Clayson.
  5/05/23   B110       JGM             1.80    550.00           990.00   Email to Bob Bassel about
                                                                         documents/information sought, status of
                                                                         case and proposed action to be taken (.50),
                                                                         conference call with Bob Bassel, Russ Long
                                                                         and Kim Clayson about status of case, cash
                                                                         collateral issues and hearing and action to
                                                                         be taken (.80), follow up calls with Bob and
                                                                         Russ about same (.20); address cash
                                                                         collateral and upcoming hearing with Bob
                                                                         Diehl (.20); email to Bob Diehl requesting
                                                                         loan documents (.10).
  5/05/23   B110       JGM              .80    550.00           440.00   Emails to Lauren Sell to create contact list
                                                                         for case (.20); review and revise contact list
                                                                         (.20); transmit contact list to clients to review
                                                                         and to approve (.20), direct Lauran Sell to
                                                                         prepare notices of appearance for case
                                                                         (.20).
  5/05/23   B110       JGM              .60    550.00           330.00   Review and address finalizing bylaws for
                                                                         Committee (.30); transmit same to
                                                                         Committee with explanation of same (.30).
  5/05/23   B110       KRC              .50    370.00           185.00   Read and revise Committee bylaws.
  5/07/23   B110       KRC              .40    370.00           148.00   Review of weekly cash flow report from FA.
  5/07/23   B110       KRC             1.00    370.00           370.00   Reviewed Comerica loan documents.
  5/08/23   B110       JGM             1.60    550.00           880.00   Address and respond to emails about
                                                                         scheduling Committee meeting (.30);
                                                                         prepare for Committee meeting (.50);
                                                                         participate in Committee meeting to address
                                                                         budget, cash collateral, bylaws and contact
                                                                         list (.80).
  5/08/23   B110       KRC             1.30    370.00           481.00   Preparation for Committee meeting (.50).
                                                                         Committee meeting (.80).
  5/09/23   B110       JGM              .30    550.00           165.00   Address finalizing bylaws for Committee.




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                                                       2
                                                                                        Taft Stettinius & Hollister LLP

Client/File #110698/00001                                                                         Invoice #: 6155201

     Date   Task       Atty           Hours      Rate          Amount    Descrip Of Services
  5/11/23   B110       JGM             1.00    550.00           550.00   Conference call with Mary Schmergel,
                                                                         counsel for DOJ, Ronna Jackson, Bob
                                                                         Bassel and Kim Clayson about in depth
                                                                         analysis of claims of government and action
                                                                         to be taken.
  5/11/23   B110       KRC             1.00    370.00           370.00   Conference with UST attorney, Debtor's
                                                                         attorney and co-counsel with counsel for
                                                                         government about qui tam investigation and
                                                                         potential claims.
  5/12/23   B110       JGM              .30    550.00           165.00   Review and consider email from Julie
                                                                         Teicher regarding impact of government
                                                                         claim on case (.20), confer with Julie about
                                                                         same (.10).
  5/12/23   B110       JGM              .40    550.00           220.00   Confer with Matt, Chair of the Committee
                                                                         about scheduling Creditors' Committee
                                                                         meeting, status of case and framework for
                                                                         moving forward (.30); address scheduling of
                                                                         meeting (.10).
  5/12/23   B110       KRC              .40    370.00           148.00   Reviewed memo analyzing potential claims
                                                                         under loan documents.
  5/15/23   B110       JGM              .90    550.00           495.00   Prepare for and attend Creditors' Committee
                                                                         meeting and follow up with Chair of the
                                                                         Committee.
  5/15/23   B110       JGM              .20    550.00           110.00   Address posture of case and options on how
                                                                         to proceed post-sale with Bob Bassel and
                                                                         dealing with government issues.
  5/15/23   B110       KRC             1.00    370.00           370.00   Telephone conference with Committee
                                                                         regarding update on sale process, claims
                                                                         and issues.
  5/16/23   B110       JGM              .20    550.00           110.00   Address docketing of upcoming initial
                                                                         chapter 11 status conference (.10); address
                                                                         handling of 341 meeting and initial chapter
                                                                         11 status conference (.10).
  5/16/23   B110       KRC              .30    370.00           111.00   Attention to adjournment of cash collateral
                                                                         hearing and email updates regarding
                                                                         progress of case.
  5/17/23   B110       JGM              .20    550.00           110.00   Address status of case and proposed
                                                                         refinancing and Taft's retention application
                                                                         with Ronna Jackson.
  5/17/23   B110       JGM              .20    550.00           110.00   Emails to and from Bob Wolford to address
                                                                         status of refinancing, sale motion and
                                                                         budget for final cash collateral order.
  5/22/23   B110       KRC              .50    370.00           185.00   Attended Committee meeting for decision on
                                                                         sign off of waiver of claims against Comerica
                                                                         Bank.
  5/22/23   B110       KRC             1.50    370.00           555.00   Appear for and attended Sec. 341 creditor
                                                                         meeting.
  5/22/23   B110       KRC              .40    370.00           148.00   Summary of 341 notes for Committee.
  5/23/23   B110       JGM             1.50    550.00           825.00   Attend hearing on entry of Third Interim
                                                                         Cash Collateral Order and Initial Chapter 11
                                                                         Status Conference.
  5/23/23   B110       JGM              .20    550.00           110.00   Address docketing dates set at initial
                                                                         chapter 11 status conference.
  5/24/23   B110       KRC              .20    370.00            74.00   Reviewed Committee emails and updates.



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     Date   Task       Atty           Hours       Rate         Amount     Descrip Of Services
  5/25/23   B110       JGM              .30     550.00          165.00    Review and revised contact list for chapter
                                                                          11 case (.10); email to client about status of
                                                                          sale, bar date for filing claims and new
                                                                          contact list (.20).
                                      25.20                 $ 11,691.00   Sub Total




Name                              Staff Level                      Hours               Rate                       Total
Lauren E. Sell                    Paralegal                          1.00            235.00                      235.00
Judith G. Miller                  Of Counsel                        13.90            550.00                    7,645.00
Kimberly Clayson                  Of Counsel                        10.30            370.00                    3,811.00
TOTALS                                                              25.20                                   $ 11,691.00




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B120 Asset Analysis and Recovery


     Date   Task       Atty           Hours      Rate          Amount    Descrip Of Services
  5/11/23   B120       EDN              .60    450.00           270.00   Cf and email with Ms. Clayson regarding
                                                                         loan and lender liability review.
  5/11/23   B120       JGM              .30    550.00           165.00   Address potential causes of action and
                                                                         production of corporate and redemption
                                                                         documents by debtor with Bob Bassel.
  5/11/23   B120       KRC              .80    370.00           296.00   Conference with co-counsel about
                                                                         investigation of lender liability claims in loan
                                                                         documents and follow up email
                                                                         correspondence.
  5/12/23   B120       EDN             4.60    450.00         2,070.00   Review and draft summary of findings
                                                                         regarding Comerica loan documents for
                                                                         potential errors, defenses and lender
                                                                         liability.
  5/12/23   B120       JGM              .30    550.00           165.00   Review and respond to email from Mary
                                                                         Schmergel about information that can be
                                                                         provided about qui tam case and related
                                                                         matters (.20); address scheduling a call with
                                                                         Mary to address framework on how to
                                                                         proceed and deal with potential claim of
                                                                         government in light of status of case (.10).
  5/12/23   B120       KRC              .40    370.00           148.00   Follow up with Debtor's counsel and with
                                                                         purchaser counsel about documents and
                                                                         information needed for analysis in
                                                                         settlement of secured creditor's debt.
  5/15/23   B120       JGM              .40    550.00           220.00   Review D&O insurance policy (20); direct
                                                                         Emily Mayer to review (.10); address
                                                                         payment of premiums and inclusion in
                                                                         budget with Bob Bassel (.10).
  5/15/23   B120       JGM             1.00    550.00           550.00   Conference call with Jim Grossi, Bob Bassel
                                                                         and Kim Clayson about background
                                                                         attendant to bank financing and potential
                                                                         causes of action and redemption of two prior
                                                                         members (.80); follow up call with Kim
                                                                         Clayson about same and next steps (.20)
  5/15/23   B120       KRC              .50    370.00           185.00   Review of UCC filing and analysis of
                                                                         perfection of security interest in Medicare
                                                                         receivables.
  5/15/23   B120       KRC             1.00    370.00           370.00   Interview with Jim Grossi to discuss
                                                                         Comerica Bank loan.
  5/17/23   B120       JGM              .30    550.00           165.00   Confer with Tamara Dolcourt about
                                                                         obtaining Peninsula documents,
                                                                         confidentiality and limitations associated
                                                                         with therewith.
  5/21/23   B120       EDN              .60    450.00           270.00   Review and comment regarding Comerica
                                                                         questions.
  5/22/23   B120       JPD              .30    600.00           180.00   Review LLC Agreement and analyze
                                                                         authority question.
  5/22/23   B120       KRC             1.40    370.00           518.00   Attended to investigation of issues on waiver
                                                                         of claims against Comerica Bank for final
                                                                         sign off by Committee.

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     Date   Task       Atty             Hours         Rate      Amount      Descrip Of Services
  5/25/23   B120       EMM               6.00       375.00      2,250.00    Address potential claims under D&O
                                                                            insurance policy (.50); review of insurance
                                                                            policy (2.5); draft memo regarding rights
                                                                            thereunder (3.0).
  5/25/23   B120       JGM                 .50      550.00        275.00    Review and consider limitations in D&O
                                                                            insurance policy to pursuing coverage
                                                                            thereunder.
  5/26/23   B120       EMM                1.00      375.00        375.00    Prepare correspondence regarding
                                                                            coverage under policy.
  5/26/23   B120       JGM                 .30      550.00        165.00    Consider and address limitations concerning
                                                                            seeking coverage under D&O insurance
                                                                            policy.
                                         20.30                 $ 8,637.00   Sub Total




Name                                  Staff Level                      Hours              Rate                    Total
Eric D. Novetsky                      Partner                            5.80           450.00                 2,610.00
Emily M. Mayer                        Partner                            7.00           375.00                 2,625.00
John P. Decker                        Partner                             .30           600.00                   180.00
Judith G. Miller                      Of Counsel                         3.10           550.00                 1,705.00
Kimberly Clayson                      Of Counsel                         4.10           370.00                 1,517.00
TOTALS                                                                  20.30                                $ 8,637.00




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B130 Asset Disposition


     Date   Task         Atty         Hours      Rate          Amount    Descrip Of Services
  5/22/23   B130         JGM            .20    550.00           110.00   Address status of circulation of sale
                                                                         pleadings/documents with Bob Wolford
                                                                         (.10); emails from Jacob Carlton about same
                                                                         (.10).
  5/23/23   B130         JGM            .30    550.00           165.00   Email transmitting sale pleadings/documents
                                                                         to Committee to review and to schedule a
                                                                         Committee meeting.
  5/23/23   B130         JGM           1.00    550.00           550.00   Review draft sale pleadings and APA.
  5/23/23   B130         JGM            .30    550.00           165.00   Address sale pleadings and action to be
                                                                         taken with Bob Bassel (.20); advise to Bob
                                                                         Wolford about same ().10).
  5/24/23   B130         REK           2.00    475.00           950.00   Review proposed asset purchase
                                                                         agreement (.1.3); outline issues relative to
                                                                         credit bid or DIP loan and closing concerns
                                                                         (.7).
  5/24/23   B130         JGM           2.50    550.00         1,375.00   Review sale documents/pleadings.
  5/24/23   B130         JGM            .30    550.00           165.00   Address sale transaction, background and
                                                                         review and mark up of APA with Rick
                                                                         Kruger.
  5/24/23   B130         JGM           1.70    550.00           935.00   Attend Creditors' Committee to address
                                                                         proposed sale transaction (.70); email to
                                                                         client setting forth summary of proposed
                                                                         sale transaction (1.0).
  5/24/23   B130         JGM            .10    550.00            55.00   Address scheduling a call with Bob Bassel
                                                                         and Russ Long with Bob Wolford.
  5/25/23   B130         REK           1.10    475.00           522.50   Telephone conference with purchaser and
                                                                         debtor professionals regarding pending sale,
                                                                         change to credit bid and financing and
                                                                         related sale issues.
  5/25/23   B130         REK            .90    475.00           427.50   Review pleadings and agreements relative
                                                                         to change to credit bid scenario and related
                                                                         matters.
  5/25/23   B130         JGM           1.00    550.00           550.00   Participate in conference call with Bob
                                                                         Wolford, Bob Bassel, Russ Long and Rick
                                                                         Kruger about proposed sales transaction.
  5/25/23   B130         JGM            .30    550.00           165.00   Address proposed sale transaction with Matt
                                                                         George, Chair of the Committee.
  5/25/23   B130         JGM           4.00    550.00         2,200.00   Review and revise sale pleadings.
  5/26/23   B130         REK           1.80    475.00           855.00   Review proposed sale pleadings, revisions
                                                                         and related issues.
  5/26/23   B130         REK           2.20    475.00         1,045.00   Review and revise the proposed asset
                                                                         purchase agreement, credit bid issues and
                                                                         related matters.
  5/26/23   B130         JGM           2.00    550.00         1,100.00   Continue to review and revise sale
                                                                         pleadings.
  5/30/23   B130         DMA           1.00    595.00           595.00   Address health care issues to be dealt with
                                                                         iin connection with sale of assets and
                                                                         receivable issues (.80); follow-up on TSA to
                                                                         be sent from opposing counsel (.20).



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     Date   Task       Atty           Hours        Rate       Amount      Descrip Of Services
  5/30/23   B130       REK             2.80      475.00       1,330.00    Review and revise proposed asset purchase
                                                                          agreement (1.9); various communications
                                                                          with purchaser regarding same (.9).
  5/30/23   B130       JGM               .20     550.00         110.00    Review mark-up of APA.
  5/30/23   B130       JGM               .70     550.00         385.00    Address and consider issues related to sale
                                                                          and operations post-sale in connection with
                                                                          healthcare contracts (.20); address
                                                                          transaction, revised APA and sale pleadings
                                                                          (.20); participate in conference call with
                                                                          David Abramowitz and Rick Kruger to
                                                                          address healthcare aspects of transaction
                                                                          and revisions needed to APA (.50).
  5/30/23   B130       JGM               .60     550.00         330.00    Emails to and from regarding status of sale,
                                                                          cash collateral and budget as part of
                                                                          transaction with Bob Bassel and Russ Long
                                                                          (.30); email to Bob Wolford and Bob Bassel
                                                                          about revised sale pleadings (.30).
  5/30/23   B130       KRC               .40     370.00         148.00    Review of purchase agreement and
                                                                          revisions by co-counsel.
  5/31/23   B130       DMA               .50     595.00         297.50    Follow-up on TSA issue (.20) outline and
                                                                          research issue regarding the receivable
                                                                          issue to be looked at (.30).
  5/31/23   B130       REK             2.60      475.00       1,235.00    Review proposed revisions to sale
                                                                          documents and status (.8); telephone
                                                                          conference with purchaser counsel
                                                                          regarding asset purchase agreement,
                                                                          transition services agreement, debt
                                                                          purchase status and related matters (.7);
                                                                          revise proposed asset purchase agreement
                                                                          and related agreements (.9); prepare email
                                                                          to parties regarding same and issues (.2).
  5/31/23   B130       JGM               .20     550.00         110.00    Email to David Abramowitz and Rick Kruger
                                                                          about sale documents, APA and carve out
                                                                          (.20).
  5/31/23   B130       JGM               .40     550.00         220.00    Participate in conference call with Bob
                                                                          Wolford and Rick Kruger about sale
                                                                          transaction issues.
                                      31.10                 $ 16,095.50   Sub Total




Name                                   Staff Level                   Hours              Rate                     Total
David M. Abromowitz                    Partner                         1.50           595.00                    892.50
Richard E. Kruger                      Partner                        13.40           475.00                  6,365.00
Judith G. Miller                       Of Counsel                     15.80           550.00                  8,690.00
Kimberly Clayson                       Of Counsel                       .40           370.00                    148.00
TOTALS                                                                31.10                                $ 16,095.50




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B150 Meetings of and Communications with Creditors


     Date    Task      Atty           Hours       Rate         Amount     Descrip Of Services
  5/04/23    B150      JGM             1.00     550.00          550.00    Conference call with Committee to address
                                                                          status of case, background facts and action
                                                                          to be taken.
  5/11/23    B150      JGM             1.00     550.00          550.00    Review and respond to client with report on
                                                                          cash collateral hearing, status of case,
                                                                          government claims, action to be taken and
                                                                          scheduling next meeting.
  5/16/23    B150      JGM               .60    550.00          330.00    Address status of refinancing transaction
                                                                          with Matt (chair of Committee) (.10);
                                                                          extensive email to Committee about cash
                                                                          collateral, refinancing, initial chapter 11
                                                                          status conference, 341 meeting and other
                                                                          pending matters (.50).
  5/22/23    B150      JGM               .20    550.00          110.00    Review summary analysis of testimony
                                                                          taken at 341 First meeting of Creditors
                                                                          circulated by Kim Clayson.
                                       2.80                  $ 1,540.00   Sub Total




Name                            Staff Level                        Hours               Rate                      Total
Judith G. Miller                Of Counsel                          2.80             550.00                   1,540.00
TOTALS                                                              2.80                                    $ 1,540.00




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B160 Fee/Employment Applications


     Date   Task       Atty           Hours      Rate       Amount     Descrip Of Services
  5/04/23   B160       JGM              .20    550.00        110.00    Direct Lauren Sell to prepare retention
                                                                       application, proposed order and declaration
                                                                       of disinterestedness.
  5/08/23   B160       LES             2.20    235.00         517.00   Draft Taft Retention Application and Order.
  5/08/23   B160       JGM             2.20    550.00       1,210.00   Address and direct Lauren Sell about
                                                                       preparation of retention application,
                                                                       proposed order and affidavit of
                                                                       disinterestedness (multiple emails and
                                                                       phone call concerning same) (1.2); review
                                                                       and revise application and order for
                                                                       retention of Taft as counsel for the
                                                                       Committee and email to Lauren Sell about
                                                                       same (1.0).
  5/09/23   B160       JGM             3.10    550.00       1,705.00   Address and direct Lauren Sell about
                                                                       retention pleadings (multiple calls) (.60);
                                                                       review and revise declaration of
                                                                       disinterestedness (1.5); review and exhibit
                                                                       with disclosure of connections and direct
                                                                       Lauren Sell about same (1.0).
  5/09/23   B160       JGM              .40    550.00        220.00    Review retention pleadings for Bob Bassel
                                                                       and Russ Long.
  5/10/23   B160       JGM             2.30    550.00       1,265.00   Review, revise and finalize retention
                                                                       pleadings and preparation of proposed order
                                                                       approving engagement (1.5); emails to
                                                                       internal counsel about facts and
                                                                       circumstances relating to disclosure of
                                                                       connections (multiple emails) (.60); further
                                                                       revision of disclosure of connections in light
                                                                       of disclosures during Comerica depositions
                                                                       (.20).
  5/10/23   B160       KRC              .80    370.00        296.00    Attention to employment application and
                                                                       affidavit.
  5/18/23   B160       JGM              .50    550.00        275.00    Direct Lauren Sell to prepare amended
                                                                       declaration of disinterestedness with respect
                                                                       to same (.20); address questions by Ronna
                                                                       Jackson with respect to retention application
                                                                       (.10); review consent by UST (.10); review
                                                                       entered order approving retention (.10).
  5/18/23   B160       JGM              .20    550.00        110.00    Address question about engagement letter
                                                                       raised by Ronna Jackson (.10); confer with
                                                                       Ronna Jackson about same (.10).
  5/18/23   B160       JGM              .20    550.00        110.00    Address filing of concurrence by the UST to
                                                                       the retention application (.10); address entry
                                                                       of order approving Taft's retention as
                                                                       counsel to the Committee (.10).
  5/19/23   B160       LES              .90    235.00        211.50    Draft Amended Declaration of
                                                                       Disinterestedness.
  5/19/23   B160       JGM              .20    550.00        110.00    Direct Lauren Sell to prepare Amended
                                                                       Declaration for Taft to disclose Detroit
                                                                       Pistons (.20).

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     Date   Task       Atty             Hours         Rate       Amount     Descrip Of Services
  5/22/23   B160       JGM                .60       550.00        330.00    Prepare First Amended Declaration (.50);
                                                                            direct Lauren Sell to file same (.10).
                                         13.80                 $ 6,469.50   Sub Total




Name                                  Staff Level                      Hours              Rate                    Total
Lauren E. Sell                        Paralegal                          3.10           235.00                   728.50
Judith G. Miller                      Of Counsel                         9.90           550.00                 5,445.00
Kimberly Clayson                      Of Counsel                          .80           370.00                   296.00
TOTALS                                                                  13.80                                $ 6,469.50




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B190 Other Contested Matters


     Date    Task      Atty           Hours      Rate       Amount     Descrip Of Services
  5/10/23    B190      JGM              .40    550.00        220.00    Review, analyze and consider false
                                                                       claims/kick back investigation by
                                                                       government as a result of the
                                                                       commencement of a proceeding in the
                                                                       Eastern District of Michigan.
                                         .40                $ 220.00   Sub Total




Name                             Staff Level                      Hours               Rate                  Total
Judith G. Miller                 Of Counsel                         .40             550.00                 220.00
TOTALS                                                              .40                                  $ 220.00




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B195 Non-Working Travel


     Date    Task      Atty           Hours      Rate       Amount     Descrip Of Services
  5/11/23    B195      JGM             1.00    550.00        550.00    Travel to and from court after cash collateral
                                                                       hearing.
                                       1.00                 $ 550.00   Sub Total




Name                             Staff Level                      Hours                 Rate                   Total
Judith G. Miller                 Of Counsel                        1.00               550.00                  550.00
TOTALS                                                             1.00                                     $ 550.00




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B230 Financing/Cash Collections


     Date   Task       Atty           Hours      Rate       Amount     Descrip Of Services
  5/04/23   B230       JGM              .20    550.00        110.00    Address discovery and depositions sought
                                                                       by Comerica.
  5/05/23   B230       JGM             5.00    550.00       2,750.00   Preparation of objection to cash collateral.
  5/05/23   B230       KRC             1.00    370.00         370.00   Conference with Debtor's counsel and FA
                                                                       about outstanding records to review for
                                                                       Creditors' Committee.
  5/07/23   B230       JGM             3.30    550.00       1,815.00   Address scheduling of depositions with Bob
                                                                       Bassel (.30); address budget for debtor with
                                                                       Russ Long and Kim Clayson (.20); address
                                                                       revisions to objection to cash collateral (.30);
                                                                       review, revise and finalize same (2.0);
                                                                       transmit proposed objection to Committee to
                                                                       review and to approve (.30), email from
                                                                       Dorian Wright about meeting (.10).
  5/07/23   B230       KRC             3.50    370.00       1,295.00   Review, revise and cite checked objection to
                                                                       order authorizing use of cash collateral.
  5/08/23   B230       JGM             2.90    550.00       1,595.00   Address cash collateral issues with Bob
                                                                       Bassel and upcoming depositions about
                                                                       same (multiple emails and phone
                                                                       conferences) (1.2); address budget
                                                                       reconciliation for first 2 weeks (.30); review
                                                                       supplemental objection of Comerica to cash
                                                                       collateral (.30); review objection of McLaren
                                                                       Medical to cash collateral (.50); transmit
                                                                       objections to Committee to review (.20);
                                                                       address and docket entry of order approving
                                                                       stipulation for live hearing on entry of final
                                                                       order on cash collateral (.10); address status
                                                                       of depositions and scheduling call to
                                                                       address 13-week budget with Bob Bassel
                                                                       and Russ Long and confirmatory email
                                                                       about same (.30).
  5/08/23   B230       KRC              .50    370.00        185.00    Attend first day hearing regarding cash
                                                                       collateral.
  5/08/23   B230       KRC             1.00    370.00        370.00    Review first day pleadings and interim cash
                                                                       collateral order in preparation for objection.
  5/08/23   B230       KRC             1.00    370.00        370.00    Review McLaren objection to use of cash
                                                                       collateral and supplemental objection by
                                                                       Comerica.
  5/09/23   B230       JGM             2.00    550.00       1,100.00   Prepare for and participate in conference
                                                                       call with Bob Bassel, Russ Long, Kim
                                                                       Clayson and Ronna Jackson about status of
                                                                       case, analysis of draft 13-week budget,
                                                                       Comerica depositions and evidentiary
                                                                       hearing on cash collateral.
  5/09/23   B230       JGM              .60    550.00        330.00    Advise Committee about cash collateral and
                                                                       budget issues (.40); follow up call with Matt
                                                                       (chair of Committee) about same (.20).
  5/09/23   B230       JGM              .30    550.00        165.00    Address revised 13-week budget and
                                                                       changes from draft.

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     Date   Task       Atty           Hours      Rate       Amount     Descrip Of Services
  5/09/23   B230       JGM              .30    550.00        165.00    Address cash collateral issues and
                                                                       Comerica depositions with Julie Teicher,
                                                                       counsel for McLaren.
  5/09/23   B230       JGM              .30    550.00        165.00    Review order of court on evidentiary hearing
                                                                       requirements on cash collateral hearing.
  5/09/23   B230       JGM              .20    550.00        110.00    Review objections to discovery filed by
                                                                       Debtor.
  5/09/23   B230       JGM              .40    550.00        220.00    Review supplemental objections to cash
                                                                       collateral filed by Comerica, UST and
                                                                       McLaren.
  5/09/23   B230       JGM             1.00    550.00        550.00    Address preparation for depositions and
                                                                       cash collateral evidentiary hearing.
  5/09/23   B230       JGM              .30    550.00        165.00    Review multiple emails to and from Bob
                                                                       Diehl about deposition, discovery and
                                                                       evidentiary hearing.
  5/09/23   B230       JGM              .10    550.00         55.00    Review re-notices of depositions noticed by
                                                                       Comerica.
  5/09/23   B230       JGM              .20    550.00        110.00    Review and address designation of exhibits
                                                                       and witnesses for Committee for cash
                                                                       collateral evidentiary hearing.
  5/09/23   B230       KRC              .40    370.00        148.00    Prepared witness list for cash collateral
                                                                       evidentiary hearing.
  5/09/23   B230       KRC             1.50    370.00        555.00    Preparation for cash collateral depositions.
  5/09/23   B230       KRC             1.00    370.00        370.00    Video conference with Debtor's counsel, FA
                                                                       and US Trustee about 13 week cash flow
                                                                       analysis.
  5/10/23   B230       JGM             3.70    550.00       2,035.00   Prepare for depositions of Russ Long and
                                                                       Jim Grossi (1.0); attend deposition of Russ
                                                                       Long (2.0); attend deposition of Jim Grossi
                                                                       (.70).
  5/10/23   B230       JGM             1.20    550.00        660.00    Conference calls (multiple calls) with
                                                                       Committee about cash collateral issues,
                                                                       proposed interim extension of cash collateral
                                                                       to evaluate buyout of Comerica debt and
                                                                       options/analysis of how to proceed (1.2).
  5/10/23   B230       JGM             1.00    550.00        550.00    Review and analyze 13-week budget and
                                                                       reconciliation of actual to budget for third
                                                                       week of operations.
  5/10/23   B230       JGM              .60    550.00        330.00    Multiple calls with Julie Teicher, counsel for
                                                                       McLaren about status, and potential short
                                                                       term extension of cash collateral to evaluate
                                                                       offer to buy out Comerica debt.
  5/10/23   B230       JGM             1.00    550.00        550.00    Meeting with Bob Diehl, Tamara Dolcourt,
                                                                       Ronna Jackson, Bob Bassel and Kim
                                                                       Clayson to address proposed offer by Bob
                                                                       Wolford's client to buy out Comerica and to
                                                                       fund case on short term basis to get to sale
                                                                       (.30); confer with Bob Wolford (multiple
                                                                       times) to address parameters of proposed
                                                                       deal (.70).
  5/10/23   B230       JGM              .30    550.00        165.00    Address cash collateral issues and budget
                                                                       and how to proceed with evidentiary hearing
                                                                       with Bob Bassel.




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     Date   Task       Atty           Hours      Rate       Amount    Descrip Of Services
  5/10/23   B230       JGM              .20    550.00        110.00   Review email from email from Brian
                                                                      Trumbauer about status of negotiations over
                                                                      Comerica debt and proposed order
                                                                      extending use of cash collateral for one
                                                                      additional week.
  5/10/23   B230       JGM              .20    550.00        110.00   Address status of negotiations and
                                                                      extension of cash collateral for an additional
                                                                      week with Bob Diehl, counsel for Comerica.
  5/10/23   B230       JGM              .50    550.00        275.00   Prepare for cash collateral hearing.
  5/10/23   B230       JGM              .50    550.00        275.00   Address proposed bridge order with Bob
                                                                      Bassel and reservation of right of Committee
                                                                      to review Bank's claim.
  5/10/23   B230       KRC             1.50    370.00        555.00   Preparations for cash collateral hearing.
  5/10/23   B230       KRC             2.70    370.00        999.00   Attendance at cash collateral depositions.
  5/11/23   B230       JGM              .20    550.00        110.00   Review and address updated witness list
                                                                      filed by Debtor for evidentiary hearing.
  5/11/23   B230       JGM              .50    550.00        275.00   Review and analyze updated 5-week budget
                                                                      in connection with bridge order extending
                                                                      use of cash collateral.
  5/11/23   B230       JGM              .60    550.00        330.00   Review and address updated budget (.30);
                                                                      exchange emails with Bob Bassel about
                                                                      same (multiple emails) (.30).
  5/11/23   B230       JGM              .30    550.00        165.00   Address amended interim cash collateral
                                                                      order with Bob Diehl and Bob Bassel.
  5/11/23   B230       JGM             1.40    550.00        770.00   Attend hearing on entry of entry of amended
                                                                      interim cash collateral hearing.
  5/11/23   B230       JGM              .20    550.00        110.00   Address obtaining bank documents with Bob
                                                                      Diehl and Brian Trumbauer.
  5/11/23   B230       JGM              .20    550.00        110.00   Email to Bob Wolford to address next steps
                                                                      with respect to proposed refinancing of
                                                                      Comerica debt.
  5/11/23   B230       JGM              .50    550.00        275.00   Address and consider proposed terms of
                                                                      refinancing with Auxo and moving case
                                                                      forward.
  5/11/23   B230       KRC             2.40    370.00        888.00   Prepare for hearing on cash collateral and
                                                                      review and negotiate terms of bridge budget
                                                                      and terms of extended interim order.
  5/11/23   B230       KRC             1.40    370.00        518.00   Attend hearing on cash collateral.
  5/12/23   B230       JGM              .50    550.00        275.00   Call with Bob Wolford about proposed
                                                                      refinancing and sale transaction and how to
                                                                      proceed.
  5/12/23   B230       JGM              .20    550.00        110.00   Address information needed by Bob Wolford
                                                                      to validate Comerica's liens and proposed
                                                                      budget.
  5/12/23   B230       JGM              .50    550.00        275.00   Address and consider parameters of
                                                                      refinancing and sale transaction in light of
                                                                      pending government claims and how to
                                                                      proceed.
  5/15/23   B230       JGM              .20    550.00        110.00   Address validity, priority and amount of
                                                                      Comerica's liens and claims.
  5/15/23   B230       JGM              .60    550.00        330.00   Exchange information with Bob Bassel
                                                                      about new weekly budget and another
                                                                      bridge order (multiple exchanges) (.30);
                                                                      follow up discussion with Bob Bassel about
                                                                      new hearing date and potential status
                                                                      conference on issues (.30).
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     Date   Task       Atty           Hours      Rate       Amount    Descrip Of Services
  5/16/23   B230       JGM             1.70    550.00        935.00   Multiple emails and text messages with Bob
                                                                      Bassel about bridge order, hearing and new
                                                                      budget (1.0); multiple emails from Brian
                                                                      Trumbauer about extension of cash
                                                                      collateral and bridge order (.30); multiple
                                                                      emails from Julie Teicher about same (.20);
                                                                      multiple emails from Ronna Jackson about
                                                                      same (.20).
  5/16/23   B230       JGM              .90    550.00        495.00   Review proposed new budget (.40); email to
                                                                      Bob Bassel and Russ Long about same
                                                                      (.20); confer with Russ Long about budget
                                                                      (multiple calls) (.30).
  5/16/23   B230       JGM              .60    550.00        330.00   Advice to Bob Wolford about status of
                                                                      refinancing transaction and impact on
                                                                      hearing dates (.20); communications with
                                                                      Bob Bassel about same (multiple
                                                                      exchanges) (.40).
  5/16/23   B230       JGM              .90    550.00        495.00   Conference call with Bob Bassel, Russ Long
                                                                      and Julie Teicher about budget and hearing
                                                                      (.30); email approving budget and pleadings
                                                                      to Bob Bassel (.10), address email from Bob
                                                                      Bassel about proposed modifications to
                                                                      second order extending use of cash
                                                                      collateral by court (.20); address same with
                                                                      Bob Bassel (.10); review emails from other
                                                                      counsel regarding same (.10); advise Bob
                                                                      Bassel of consent of Committee to revised
                                                                      order (.10).
  5/18/23   B230       JGM              .50    550.00        275.00   Conference call with Bob Wolford and Kim
                                                                      Clayson about status of refinancing
                                                                      transaction, terms and conditions associated
                                                                      therewith and sale documents.
  5/21/23   B230       JGM             1.20    550.00        660.00   Address and consider issues attendant to
                                                                      Comerica's claim, potential causes of action
                                                                      and proposed release requested in
                                                                      preparation for call with Bob Wolford and
                                                                      Bob Diehl.
  5/22/23   B230       JGM              .40    550.00        220.00   Conference call with Bob Wolford and Bob
                                                                      Diehl about waiver of claims and potential
                                                                      causes of action against Comerica.
  5/22/23   B230       JGM              .40    550.00        220.00   Review and analyze email from Eric
                                                                      Novetsky about review of Comerica loan
                                                                      documents in preparation for call with Bob
                                                                      Wolford and Bob Diehl as relates to waiver
                                                                      of claims against Comerica.
  5/22/23   B230       JGM              .40    550.00        220.00   Address and consider remaining issues with
                                                                      respect to waiver of claims against
                                                                      Comerica.




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     Date   Task       Atty           Hours      Rate       Amount    Descrip Of Services
  5/22/23   B230       JGM             1.20    550.00        660.00   Address need for emergency Committee call
                                                                      with Matt George, Committee Chair, to
                                                                      address Comerica waiver request (.20);
                                                                      email to Committee to address requested
                                                                      waiver and background attendant to it in
                                                                      preparation for upcoming meeting (.50);
                                                                      participate in meeting of Committee to
                                                                      address requested waiver, proposed sale
                                                                      and review of sale pleadings/documents,
                                                                      341 meeting and initial chapter 11 status
                                                                      conference (.50).
  5/22/23   B230       JGM              .20    550.00        110.00   Address sale pleadings/documents, updated
                                                                      budget and consent of Committee to waive
                                                                      claims against Comerica with Bob Wolford.
  5/22/23   B230       JGM              .20    550.00        110.00   Address updated budget with Russ Long
                                                                      and timing associated therewith.
  5/23/23   B230       JGM             1.00    550.00        550.00   Review third interim order extending cash
                                                                      collateral and advise Brian Trumbauer about
                                                                      same (.20); review new 7-week budget for
                                                                      third interim cash collateral (.40); advise to
                                                                      Russ Long and Bob Bassel about same
                                                                      (.10); email from Bob Bassel about budget
                                                                      issues (.10); review and address stipulation
                                                                      for entry of third interim cash collateral order
                                                                      (.10)advise Bob Bassel of approval of
                                                                      budget (.10)
  5/23/23   B230       JGM              .30    550.00        165.00   Transmit new 7-week budget to Committee
                                                                      for review and approval (.10); address same
                                                                      with Matt George (.10); email from Dorian
                                                                      Wright about same (.10).
  5/24/23   B230       JGM              .10    550.00         55.00   Email to client about entry of third interim
                                                                      cash collateral order.
  5/24/23   B230       JGM              .50    550.00        275.00   Address long term budget for final cash
                                                                      collateral order with Bob Bassel and
                                                                      proposed carve out (.20); address budget
                                                                      with Russ Long (.10); address proposed
                                                                      carve out with Ronna Jackson and position
                                                                      of UST (.20).
  5/30/23   B230       JGM              .20    550.00        110.00   Review proposed 4th Interim Cash
                                                                      Collateral Order and stipulation for entry of
                                                                      same.
  5/30/23   B230       JGM              .50    550.00        275.00   Email to Brian Trumbauer about pleadings
                                                                      to extend cash collateral on an interim basis
                                                                      (.10); emails with Russ Long and Bob
                                                                      Bassel about new budget to accompany
                                                                      interim order (.20); address email from Russ
                                                                      Long about new 7-week budget (.10);
                                                                      address email from Julie Teicher about
                                                                      status of cash collateral (.10).
  5/30/23   B230       JGM              .20    550.00        110.00   Email to Committee to address 4th
                                                                      extension of cash collateral on interim basis.
  5/30/23   B230       KRC              .40    370.00        148.00   Reviewed cash collateral budget (.20);
                                                                      corresponded with counsel and financial
                                                                      advisor about proposed draft budget (.20).



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     Date   Task       Atty           Hours       Rate         Amount     Descrip Of Services
  5/31/23   B230       JGM             1.20     550.00          660.00    Emails to and from Bob Bassel and Russ
                                                                          Long about updated budget for 4th interim
                                                                          cash collateral order (.20); address emails
                                                                          from Julie Teicher about budget (.10);
                                                                          address email from Alex Calderone about
                                                                          budget (.10); review and respond to email
                                                                          from Ronna Jackson about cash collateral
                                                                          order, professional fees and carve out (.10);
                                                                          address cash collateral and budget issues
                                                                          with Bob Bassel and need to schedule a call
                                                                          with Russ Long and him (.30); conference
                                                                          call with Bob Bassel, Russ Long and Kim
                                                                          Clayson about budget and waiver issues
                                                                          (.40).
  5/31/23   B230       JGM              .70     550.00          385.00    Address interim budget, 4th interim order
                                                                          and action to be taken (.20); address and
                                                                          analyze proposed 7-week budget for final
                                                                          cash collateral order and identify issues
                                                                          (.50).
  5/31/23   B230       JGM              .20     550.00          110.00    Review and revise proposed final cash
                                                                          collateral order.
  5/31/23   B230       KRC              .80     370.00          296.00    Review of updated cash collateral budget
                                                                          (.40); pleadings and communications with
                                                                          Committee about approval of the same
                                                                          (.40).
  5/31/23   B230       KRC              .50     370.00          185.00    Telephone conference with Debtor's counsel
                                                                          and financial advisor about post-Auxo cash
                                                                          collateral budget.
                                      65.30                 $ 32,387.00   Sub Total




Name                              Staff Level                      Hours               Rate                      Total
Judith G. Miller                  Of Counsel                        45.70            550.00                  25,135.00
Kimberly Clayson                  Of Counsel                        19.60            370.00                   7,252.00
TOTALS                                                              65.30                                  $ 32,387.00




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B 310 Claims Administration and Objections


     Date    Task      Atty           Hours      Rate       Amount     Descrip Of Services
  5/05/23    B310      JGM              .30    550.00        165.00    Address newly filed proof of claim by the
                                                                       IRS and emails in connection therewith.
                                         .30                $ 165.00   Sub Total




Name                             Staff Level                      Hours                 Rate                  Total
Judith G. Miller                 Of Counsel                         .30               550.00                 165.00
TOTALS                                                              .30                                    $ 165.00




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COSTS ADVANCED



TITLE LIEN SEARCH FEES

       Date   Description                                                                             Amount
    4/19/23   STATE OF MICHIGAN, UCC -11- SEARCH                                                        122.00
    4/19/23   STATE OF MICHIGAN, UCC-11 SEARCH                                                            6.00
    4/19/23   Search, STATE OF MICHIGAN, UCC-11 SEARCH                                                   12.00
              Sub-Total of Expenses:                                                                  $ 140.00


COPYING

       Date   Description                                                                              Amount
    5/11/23   Copying/printing                                                                            31.80
              Sub-Total of Expenses:                                                                    $ 31.80


                                       TOTAL COSTS ADVANCED                                           $ 171.80




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SUMMARY OF PROFESSIONAL SERVICES

Name                                  Staff Level                Hours          Rate                    Total
David M. Abromowitz                   Partner                      1.50       595.00                   892.50
Eric D. Novetsky                      Partner                      5.80       450.00                 2,610.00
Emily M. Mayer                        Partner                      7.00       375.00                 2,625.00
John P. Decker                        Partner                       .30       600.00                   180.00
Richard E. Kruger                     Partner                     13.40       475.00                 6,365.00
Lauren E. Sell                        Paralegal                    4.10       235.00                   963.50
Judith G. Miller                      Of Counsel                  92.90       550.00                51,095.00
Kimberly Clayson                      Of Counsel                  35.20       370.00                13,024.00
TOTALS                                                           160.20                           $ 77,755.00




                                      TOTAL PROFESSIONAL SERVICES                                $ 77,755.00
                                      TOTAL COSTS ADVANCED                                          $ 171.80

                                      TOTAL THIS INVOICE                                         $ 77,926.80




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                                                         27777 Franklin Road, Suite 2500 / Southfield, MI 48034-8214
                                                                              Tel: 248.351.3000 / Fax: 248.351.3082
                                                                                                       www.taftlaw.com
                                                                                                   FEIN#: XX-XXXXXXX
                                                                                                      October 11, 2023
                                                                                                    Invoice # 6155202
          The Official Committee of
          Unsecured Creditors
          ATTN: Matthew George
          Gemini Lab Group, LLC
          8470 S. Shore Drive
          Clarkston, MI 48348

_____________________________________________________________________

                                           INVOICE SUMMARY
Client/File #110698/00001 JGM

For professional services rendered and costs advanced through June 30, 2023:

RE:   Ark Laboratory Creditor Committee



                       Professional Services                                         $ 38,490.50

                       Costs Advanced                                                       $ .00

                       TOTAL THIS INVOICE                                            $ 38,490.50




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PROFESSIONAL SERVICES RENDERED



B110 Case Administration


     Date   Task       Atty            Hours          Rate       Amount     Descrip Of Services
  6/06/23   B110       JGM               .10        550.00         55.00    Direct Kim Clayson to address status of
                                                                            motion to compel assumptions/rejection of
                                                                            executory contract.
  6/07/23   B110       KRC                .20       370.00         74.00    Follow up on motion to assume/reject and
                                                                            deadline extension.
  6/16/23   B110       JGM                .50       550.00        275.00    Address and consider status of case and
                                                                            action to be taken.
  6/16/23   B110       KRC                .50       370.00        185.00    Address Committee strategy for sale and
                                                                            investigation.
  6/22/23   B110       KRC                .40       370.00        148.00    Telephone conference with Russ Long
                                                                            about status of weekly financials and admin
                                                                            fee account.
                                         1.70                   $ 737.00    Sub Total




Name                                  Staff Level                          Hours             Rate                  Total
Judith G. Miller                      Of Counsel                             .60           550.00                 330.00
Kimberly Clayson                      Of Counsel                            1.10           370.00                 407.00
TOTALS                                                                      1.70                                $ 737.00




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B120 Asset Analysis and Recovery


     Date   Task       Atty            Hours          Rate       Amount     Descrip Of Services
  6/15/23   B120       PED              1.00        850.00        850.00    Address DOJ claims.
  6/15/23   B120       JGM              1.00        550.00        550.00    Address and consider options in connection
                                                                            with negotiating a resolution with the
                                                                            government to facilitate a consensual
                                                                            liquidating plan.
  6/15/23   B120       JGM                .20       550.00        110.00    Address and consider status of analysis of
                                                                            D&O insurance policy.
  6/15/23   B120       KRC               1.10       370.00        407.00    Address and consider qui tam claims and
                                                                            impact on estate.
  6/16/23   B120       PED                .90       850.00        765.00    Address and consider strategy for objecting
                                                                            to DOJ claims.
  6/19/23   B120       PED                .50       850.00        425.00    Review sealed Qui Tam document
  6/20/23   B120       PED               1.00       850.00        850.00    Further consideration of qui tam claims.
  6/20/23   B120       JRMX               .20       750.00        150.00    Address strategy for D&O claims
  6/20/23   B120       JGM                .80       550.00        440.00    Address and consider limitations under D&O
                                                                            insurance policy and options on how to
                                                                            proceed (.40); address qui tam action and
                                                                            how to address as part of liquidating plan
                                                                            (.40).
  6/21/23   B120       JGM               1.00       550.00        550.00    Address and consider issues related to
                                                                            government qui tam claim and analysis of
                                                                            setoff/recoupment and priority issues.
  6/30/23   B120       KRC               1.50       370.00        555.00    Reviewed and analyzed Gardens Hospital
                                                                            opinion regarding recoupment versus setoff
                                                                            (1.00), email correspondence to Debtor's
                                                                            counsel about status of stock redemption
                                                                            documents and regarding concern about
                                                                            potential misuse of recoupment versus
                                                                            setoff in government qui tam claims (.50).
                                         9.20                  $ 5,652.00   Sub Total




Name                                  Staff Level                      Hours              Rate                    Total
Peter E. Deegan                       Partner                           3.40            850.00                 2,890.00
John R. McDonald                      Partner                            .20            750.00                   150.00
Judith G. Miller                      Of Counsel                        3.00            550.00                 1,650.00
Kimberly Clayson                      Of Counsel                        2.60            370.00                   962.00
TOTALS                                                                  9.20                                 $ 5,652.00




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B130 Asset Disposition


     Date   Task         Atty         Hours      Rate          Amount    Descrip Of Services
  6/01/23   B130         REK           1.10    475.00           522.50   Review updated information and issues for
                                                                         asset sale, new licensing and related
                                                                         matters.
  6/02/23   B130         DMA           1.00    595.00           595.00   Receive and review Management and
                                                                         Transition Services Agreement to review in
                                                                         relation to pending asset sale.
  6/02/23   B130         REK           1.80    475.00           855.00   Review revised sale documents and
                                                                         pleadings (.7); review and revise comments
                                                                         on asset purchase agreement (.4); review
                                                                         cash collateral and related pleadings to
                                                                         match sale pleadings and issues (.7).
  6/05/23   B130         DMA           1.30    595.00           773.50   Receive and review Management and
                                                                         Transition Services Agreement (1.0); follow-
                                                                         up with Attorney Clayson and begin to
                                                                         review document (.30).
  6/05/23   B130         KRC            .30    370.00           111.00   Telephone conference with D. Abromowitz
                                                                         to discuss issues in post-sale management
                                                                         agreement of lab operation.
  6/06/23   B130         DMA           1.40    595.00           833.00   Work on revisions to the MSA (1.00); make
                                                                         changes and forward to Attorney Miller (.20);
                                                                         call Attorney Miller regarding comments and
                                                                         additional changes necessary for the
                                                                         document (.20).
  6/06/23   B130         JGM            .20    550.00           110.00   Address status of sale pleadings with Bob
                                                                         Wolford (.20).
  6/06/23   B130         JGM            .60    550.00           330.00   Address status of review of management
                                                                         services agreement (.10); address
                                                                         management services agreement with David
                                                                         Abromowitz and Bob Bassel (.50).
  6/06/23   B130         JGM            .50    550.00           275.00   Review and address management services
                                                                         agreement.
  6/07/23   B130         DMA           1.00    595.00           595.00   Review MSA Agreement forwarded new
                                                                         changes and revisions to Attorney Miller for
                                                                         her review.
  6/07/23   B130         JGM           1.60    550.00           880.00   Conference call with Ronna Jackson and
                                                                         Bob Bassel about sale transaction and final
                                                                         cash collateral order and concerns/issues of
                                                                         the UST (1.0); call with Bob Bassel and Bob
                                                                         Wolford about same (.50); follow up call with
                                                                         Bob Bassel about next steps (.10).
  6/07/23   B130         JGM            .20    550.00           110.00   Review revised management transition
                                                                         services agreement (.10), transmit to Bob
                                                                         Wolford (.10).
  6/09/23   B130         JGM            .10    550.00            55.00   Review and respond to email from Neil
                                                                         Williams about Transition Management
                                                                         Services Agreement.
  6/12/23   B130         DMA            .50    595.00           297.50   Correspondence on Management Services
                                                                         Agreement and revisions to same (.30);
                                                                         receive comments from opposing counsel
                                                                         and from Judy Miller (.20).

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     Date   Task       Atty           Hours      Rate          Amount    Descrip Of Services
  6/12/23   B130       JGM              .30    550.00           165.00   Address status with Bob Bassel (.10); follow
                                                                         up email to Bob Wolford about status of sale
                                                                         pleadings/documents (.10); follow up emails
                                                                         from Bob Bassel and Bob Wolford (.10).
  6/13/23   B130       REK              .80    475.00           380.00   Review revised asset purchase agreement
                                                                         and pending sale issues.
  6/13/23   B130       JGM              .20    550.00           110.00   Review and respond to email from Bob
                                                                         Bassel about revised APA.
  6/14/23   B130       JGM             5.00    550.00         2,750.00   Review revised sale pleadings and provide
                                                                         comments to counsel about same.
  6/14/23   B130       JGM              .20    550.00           110.00   Address revised APA with Rick Kruger.
  6/14/23   B130       JGM              .50    550.00           275.00   Calls with Jacob Carlson (multiple calls)
                                                                         about revised sale pleadings.
  6/14/23   B130       JGM              .20    550.00           110.00   Email to Creditors' Committee about revised
                                                                         sale pleadings.
  6/14/23   B130       KRC             1.00    370.00           370.00   Review of asset purchase agreement
                                                                         revisions, cash collateral status and support
                                                                         documents.
  6/15/23   B130       JGM              .50    550.00           275.00   Review and revise assumption notice (.40);
                                                                         provide comments to counsel (.10).
  6/15/23   B130       JGM              .30    550.00           165.00   Address status of sale pleadings with Bob
                                                                         Bassel (.20); address sale order and missing
                                                                         documents with Bob Wolford (.10).
  6/15/23   B130       KRC              .60    370.00           222.00   Review of sale procedures motion and
                                                                         correspondence regarding the same.
  6/16/23   B130       REK              .90    475.00           427.50   Review sale pleadings and agreements
                                                                         status; outline issues for bidding procedures
                                                                         and related matters.
  6/16/23   B130       JGM              .70    550.00           385.00   Email to Bob Bassel and Bob Wolford about
                                                                         modification of documents/pleadings to
                                                                         include retention and access to documents
                                                                         provision (.20); email from Bob Bassel about
                                                                         same (.10); follow up call with Bob Wolford
                                                                         about same (.10); follow up call with Bob
                                                                         Bassel about sale pleadings (.30).
  6/20/23   B130       REK             1.10    475.00           522.50   Review revised sale pleadings and issues;
                                                                         review UST comments and issues on same;
                                                                         review open matters.
  6/20/23   B130       REK              .70    475.00           332.50   Review revisions and issues regarding UST
                                                                         sale pleading issues with UST and
                                                                         purchaser counsel.
  6/20/23   B130       JGM              .50    550.00           275.00   Review email and proposed revisions to sale
                                                                         pleadings transmitted by Ronna Jackson.
  6/20/23   B130       JGM             1.50    550.00           825.00   Email to Ronna Jackson, Bob Bassel and
                                                                         Bob Wolford about proposed changes to
                                                                         sale order (.30); review and respond to
                                                                         multiple emails from parties on how to
                                                                         proceed to address proposed changes (.30);
                                                                         call with Bob Bassel and Bob Wolford to
                                                                         address and consider position of UST on
                                                                         sale order (.40); conference call with Bob
                                                                         Bassel, Bob Wolford, Jacob Carlton, Rick
                                                                         Kruger and Ronna Jackson about sale order
                                                                         issues (.50).



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     Date   Task       Atty           Hours      Rate          Amount    Descrip Of Services
  6/21/23   B130       JGM             1.20    550.00           660.00   Review and revise proposed sale order
                                                                         (1.0); advise and address changes with
                                                                         Jacob Carlton (.20).
  6/21/23   B130       JGM              .20    550.00           110.00   Advice from and to Bob Bassel about
                                                                         expedited hearing on bidding procedures
                                                                         and advise Rick Kruger about same.
  6/22/23   B130       JGM              .40    550.00           220.00   Review email and proposed ex parte motion
                                                                         and order seeking expedited hearing on
                                                                         bidding procedures motion and advise Bob
                                                                         Bassel about same(.20); review and
                                                                         respond to email and changes to sale order
                                                                         from Ronna Jackson (.20).
  6/22/23   B130       JGM              .20    550.00           110.00   Email from Bob Bassel about extended date
                                                                         to respond to motion to compel assumption
                                                                         or rejection of Orchard Software executory
                                                                         contract and docket new response date.
  6/22/23   B130       JGM              .60    550.00           330.00   Review email and cover sheet for sale
                                                                         motion transmitted by Bob Bassel (.20);
                                                                         email to Bob Bassel about same (.10);
                                                                         review revised ex parte motion and order for
                                                                         expedited hearing on bidding procedures
                                                                         and provide comments to Bob Bassel (.20);
                                                                         address status of filing sale pleadings with
                                                                         Bob Bassel (.10).
  6/23/23   B130       JGM              .20    550.00           110.00   Review order granting expedited hearing on
                                                                         bidding procedures motion (.10); docket
                                                                         same (.10).
  6/24/23   B130       JGM              .50    550.00           275.00   Advise Committee about filing of sale
                                                                         pleadings and scheduling of hearing on
                                                                         bidding procedures motion.
  6/26/23   B130       JGM              .70    550.00           385.00   Review and respond to email from Julie
                                                                         Teicher about sale issues (.20); follow up
                                                                         call with Julie Teicher about same (.30);
                                                                         review emails from Bob Bassel about issues
                                                                         raised by Julie (.20).
  6/27/23   B130       JGM              .30    550.00           165.00   Address various sale and other pending
                                                                         matters with Bob Bassel.
  6/27/23   B130       JGM              .30    550.00           165.00   Address status, action to be taken with sale
                                                                         and other pending issues with Rick Kruger.
  6/28/23   B130       JGM              .40    550.00           220.00   Review and respond to emails from Bob
                                                                         Bassel about notice and sale issues and
                                                                         scheduling a call to address same (.30);
                                                                         conference call with Bob Bassel, Bob
                                                                         Wolford and Kim Clayson about sale notice,
                                                                         assumption and assignment issues (.40).
  6/28/23   B130       JGM              .40    550.00           220.00   Address and direct Kim Clayson about
                                                                         notice, assignment, assumption, cure and
                                                                         rejection issues and how to address with
                                                                         Bob Bassel in preparation for bidding
                                                                         procedures hearing.
  6/28/23   B130       KRC             1.00    370.00           370.00   Call with Debtor's counsel about executory
                                                                         contracts and bid procedures order (.5).
                                                                         Email to Bob Bassel regarding revisions to
                                                                         proposed bid procedures order and
                                                                         addressing issues on executory contracts
                                                                         (.5).
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     Date   Task       Atty           Hours        Rate        Amount     Descrip Of Services
  6/29/23   B130       REK             1.20      475.00         570.00    Tend to sale and bidding procedures order
                                                                          revisions (.4); prepare for and attend hearing
                                                                          on same (.8).
  6/29/23   B130       JGM             1.00      550.00         550.00    Review email from Bob Bassel about
                                                                          revised bidding procedure order and action
                                                                          to be taken at hearing (.20); review revised
                                                                          bidding procedures order (.20)' address
                                                                          revised bidding procedures with Bob Bassel
                                                                          and Kim Clayson (.30); address revised
                                                                          bidding procedures with Kim Clayson and
                                                                          Ronna Jackson (.20); review and respond to
                                                                          emails from Ronna Jackson and Bob Bassel
                                                                          approving Committee's changes to order
                                                                          (.10).
  6/29/23   B130       JGM               .40     550.00         220.00    Review revised bidding procedures and
                                                                          changes to pleadings as a result of deleting
                                                                          provisions related to assumption and
                                                                          assignment of executory contracts and
                                                                          unexpired leases.
  6/29/23   B130       JGM               .30     550.00         165.00    Call with Matt George and Kim Clayson
                                                                          about proposed changes to bidding
                                                                          procedures order, impact and effect of
                                                                          changes and how to proceed.
  6/29/23   B130       JGM               .20     550.00         110.00    Address and direct Kim Clayson how to
                                                                          proceed and to address issues related to
                                                                          bidding procedures and changes to sale.
  6/29/23   B130       KRC             1.80      370.00         666.00    Negotiated revised bid procedures order and
                                                                          update to Committee.
  6/29/23   B130       KRC             1.00      370.00         370.00    Appeared for and attended bid procedures
                                                                          hearing, reviewed and approved bid
                                                                          procedures order for entry.
  6/30/23   B130       KRC               .30     370.00         111.00    Reviewed Debtor's revisions to bid
                                                                          procedures document for approval prior to
                                                                          Debtor's service on matrix.
                                      39.20                 $ 20,144.00   Sub Total




Name                                   Staff Level                   Hours              Rate                     Total
David M. Abromowitz                    Partner                         5.20           595.00                  3,094.00
Richard E. Kruger                      Partner                         7.60           475.00                  3,610.00
Judith G. Miller                       Of Counsel                     20.40           550.00                 11,220.00
Kimberly Clayson                       Of Counsel                      6.00           370.00                  2,220.00
TOTALS                                                                39.20                                $ 20,144.00




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B150 Meetings of and Communications with Creditors


     Date    Task      Atty           Hours       Rate         Amount    Descrip Of Services
  6/06/23    B150      JGM              .50     550.00          275.00   Attend Creditors' Committee meeting to
                                                                         address cash collateral and sale issues.
  6/09/23    B150      JGM               .80    550.00          440.00   Attend Creditors' Committee meeting to
                                                                         address final cash collateral hearing and
                                                                         sale procedures and motion (.40); email to
                                                                         Committee to address same and bar date to
                                                                         file claims (.40).
                                       1.30                   $ 715.00   Sub Total




Name                             Staff Level                        Hours                Rate                  Total
Judith G. Miller                 Of Counsel                          1.30              550.00                 715.00
TOTALS                                                               1.30                                   $ 715.00




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B160 Fee/Employment Applications


     Date   Task       Atty           Hours      Rate         Amount     Descrip Of Services
  6/06/23   B160       LES              .50    235.00           117.50   Draft supplemental declaration.
                                        .50                   $ 117.50   Sub Total




Name                            Staff Level                         Hours                Rate                   Total
Lauren E. Sell                  Paralegal                             .50              235.00                  117.50
TOTALS                                                                .50                                    $ 117.50




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B185 Assumption/Rejection of Leases and Contracts


     Date   Task       Atty            Hours          Rate       Amount     Descrip Of Services
  6/07/23   B185       JGM               .40        550.00        220.00    Emails to and from Bob Bassel and Jacob
                                                                            Carlson about pending motion by Orchard
                                                                            Software to compel assumption/rejection
                                                                            and action to be taken thereon (.30); advice
                                                                            from Bob Bassel about same and action to
                                                                            be taken (.10).
  6/21/23   B185       KRC                .20       370.00         74.00    Follow up email to Bob Bassel about status
                                                                            of deadline to respond to motion to compel
                                                                            assumption or rejection of lease.
                                          .60                   $ 294.00    Sub Total




Name                                  Staff Level                          Hours             Rate                  Total
Judith G. Miller                      Of Counsel                             .40           550.00                 220.00
Kimberly Clayson                      Of Counsel                             .20           370.00                  74.00
TOTALS                                                                       .60                                $ 294.00




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B230 Financing/Cash Collections


     Date   Task       Atty           Hours      Rate       Amount     Descrip Of Services
  6/01/23   B230       JGM             4.30    550.00       2,365.00   Review and address revised 4th interim
                                                                       cash collateral order (.10); review and
                                                                       address joinder and release of claims by
                                                                       debtor and Grossi (.20); review and revise
                                                                       draft final cash collateral stipulation and
                                                                       order (4.0).
  6/01/23   B230       JGM              .20    550.00        110.00    Address revised 4th interim cash collateral
                                                                       order, stipulation and joinder.
  6/01/23   B230       JGM              .90    550.00        495.00    Review emails from counsel for debtor,
                                                                       creditors, bank and UST as relates to 4th
                                                                       interim cash collateral order and proposed
                                                                       release (multiple emails (.40); address same
                                                                       with Bob Bassel (multiple calls) (.40);
                                                                       address final cash collateral order with Bob
                                                                       Wolford (.10).
  6/01/23   B230       JGM              .20    550.00        110.00    Address proposed revisions relating to carve
                                                                       out and payment of administrative claims
                                                                       under final cash collateral order with Rick
                                                                       Kruger.
  6/02/23   B230       JGM              .50    550.00        275.00    Address status of final cash collateral order
                                                                       and direct Kim Clayson regarding action to
                                                                       be taken thereon (.30); email to Rick Kruger
                                                                       about same (.20).
  6/04/23   B230       JGM              .20    550.00        110.00    Email to Kim Clayson and Rick Kruger about
                                                                       final cash collateral order and other related
                                                                       matters.
  6/04/23   B230       JGM              .30    550.00        165.00    Email to Russ Long and Bob Bassel about
                                                                       revised budget and cash collateral issues
                                                                       (.20); review email to Bob Bassel about
                                                                       revised cash collateral order (.10).
  6/05/23   B230       JGM              .50    550.00        275.00    Address cash collateral order with Bob
                                                                       Bassel (multiple calls) (.40); address revised
                                                                       budget with Russ Long (.10).
  6/05/23   B230       JGM             2.50    550.00       1,375.00   Review, revise and finalize proposed final
                                                                       cash collateral order.
  6/05/23   B230       JGM              .40    550.00        220.00    Transmit revised final cash collateral order
                                                                       to Bob Bassel (.20); transmit revised cash
                                                                       collateral order to Bob Wolford (.20).
  6/05/23   B230       JGM              .70    550.00        385.00    Address scheduling a Committee call and
                                                                       status of cash collateral with Matt George
                                                                       (.20); review and respond to email from
                                                                       Committee members about same (.10);
                                                                       email to Committee about revised draft final
                                                                       cash collateral order and budget (.30);
                                                                       review emails from Committee members
                                                                       and schedule call (.10).
  6/05/23   B230       KRC             3.30    370.00       1,221.00   Attention to cash collateral edits and related
                                                                       issues (2.5). Review of budget (.30). Emails
                                                                       with Debtor's counsel about the same (.50).



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     Date   Task       Atty           Hours      Rate          Amount     Descrip Of Services
  6/06/23   B230       JGM              .90    550.00           495.00    Address status of cash collateral and new
                                                                          financing order with Bob Wolford (.20);
                                                                          address same with Bob Bassel and advising
                                                                          Court about need for status conference
                                                                          instead of evidentiary hearing and reaching
                                                                          out to Ronna Jackson to address status
                                                                          (.20); email from Bob Bassel about June 8th
                                                                          hearing (.10); address email from Bob
                                                                          Bassel about June 8th hearing (.10); email
                                                                          to Bob Bassel and Bob Wolford about
                                                                          revised budget, cash collateral and sale
                                                                          issues (.30).
  6/08/23   B230       JGM              .90    550.00           495.00    Address status of final cash collateral order
                                                                          and sale with Bob Bassel (.20); email to
                                                                          Ronna Jackson about revised cash
                                                                          collateral order(.20); email from Tamar
                                                                          Dolcourt about stipulation and order (.10);
                                                                          address cash collateral order with Julie
                                                                          Teicher (.10); review email from Julie
                                                                          Teicher about cash collateral order and
                                                                          budget (.10); call with Bob Bassel and Bob
                                                                          Wolford about cash collateral order and
                                                                          budget (.20).
  6/08/23   B230       JGM              .20    550.00           110.00    Review email from Ronna Jackson with
                                                                          revised final cash collateral order and review
                                                                          proposed changes thereto (.10), review
                                                                          revised budget circulated by Bob Bassel
                                                                          (.10).
  6/08/23   B230       JGM             1.40    550.00           770.00    Attend status conference/hearing on cash
                                                                          collateral with Court and adjourned hearing
                                                                          on same.
  6/08/23   B230       JGM             1.60    550.00           880.00    Review, revise and circulate revised final
                                                                          cash collateral order (multiple times) (1.3);
                                                                          review revised budget (.30).
  6/08/23   B230       JGM              .40    550.00           220.00    Transmit revised final cash collateral order
                                                                          and budget to Committee for review and
                                                                          approval (.10); address order and budget
                                                                          with Matt George (.20); emails from Matt
                                                                          George and Dorian Wright approving same
                                                                          (.10).
  6/22/23   B230       JGM              .20    550.00           110.00    Address budget, reconciliation and
                                                                          establishing DIP account for carve out with
                                                                          Russ Long.
  6/23/23   B230       JGM              .10    550.00            55.00    Review email to Russ Long about status of
                                                                          opening up DIP account for carve out and
                                                                          weekly financials.
  6/26/23   B230       JGM              .20    550.00           110.00    Address and respond to email from Russ
                                                                          Long about weekly reconciliation and
                                                                          opening up of DIP account for professional
                                                                          carve out.
  6/27/23   B230       JGM              .20    550.00           110.00    Review and respond to emails from Russ
                                                                          Long about opening up of DIP professional
                                                                          carve out account, funding of same and
                                                                          reconciliation.
                                      20.10                 $ 10,461.00   Sub Total

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Name                              Staff Level                  Hours           Rate                     Total
Judith G. Miller                  Of Counsel                    16.80        550.00                  9,240.00
Kimberly Clayson                  Of Counsel                     3.30        370.00                  1,221.00
TOTALS                                                          20.10                             $ 10,461.00




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B310 Claims Administration and Objections


     Date   Task       Atty            Hours          Rate       Amount     Descrip Of Services
  6/21/23   B310       KRC              1.00        370.00        370.00    Analysis of government qui tam claims -
                                                                            review of article and other issues (.6). Call
                                                                            with Peter Deegan and Judy Miller about the
                                                                            government claims strategy (.4).
                                         1.00                   $ 370.00    Sub Total




Name                                  Staff Level                          Hours             Rate                  Total
Kimberly Clayson                      Of Counsel                            1.00           370.00                 370.00
TOTALS                                                                      1.00                                $ 370.00




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SUMMARY OF PROFESSIONAL SERVICES

Name                                   Staff Level               Hours          Rate                    Total
David M. Abromowitz                    Partner                     5.20       595.00                 3,094.00
Peter E. Deegan                        Partner                     3.40       850.00                 2,890.00
Richard E. Kruger                      Partner                     7.60       475.00                 3,610.00
John R. McDonald                       Partner                      .20       750.00                   150.00
Lauren E. Sell                         Paralegal                    .50       235.00                   117.50
Judith G. Miller                       Of Counsel                 42.50       550.00                23,375.00
Kimberly Clayson                       Of Counsel                 14.20       370.00                 5,254.00
TOTALS                                                            73.60                           $ 38,490.50




                                      TOTAL PROFESSIONAL SERVICES                                $ 38,490.50


                                      TOTAL THIS INVOICE                                         $ 38,490.50




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                                                          27777 Franklin Road, Suite 2500 / Southfield, MI 48034-8214
                                                                               Tel: 248.351.3000 / Fax: 248.351.3082
                                                                                                        www.taftlaw.com
                                                                                                    FEIN#: XX-XXXXXXX
                                                                                                       October 11, 2023
                                                                                                     Invoice # 6155205
          The Official Committee of
          Unsecured Creditors
          ATTN: Matthew George
          Gemini Lab Group, LLC
          8470 S. Shore Drive
          Clarkston, MI 48348

_____________________________________________________________________

                                            INVOICE SUMMARY
Client/File #110698/00001 JGM

For professional services rendered and costs advanced through July 31, 2023:

RE:   Ark Laboratory Creditor Committee



                       Professional Services                                          $ 27,452.50

                       Costs Advanced                                                        $ .00

                       TOTAL THIS INVOICE                                             $ 27,452.50




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PROFESSIONAL SERVICES RENDERED



B110 Case Administration


     Date   Task       Atty           Hours      Rate          Amount    Descrip Of Services
  7/10/23   B110       KRC              .10    370.00            37.00   Follow up regarding week-end cash flow
                                                                         report.
  7/10/23   B110       KRC              .20    370.00            74.00   Follow up on week over week budget report
                                                                         (.10). Review of bid procedures order
                                                                         regarding executory contracts schedule
                                                                         (.10).
  7/11/23   B110       JGM             1.40    550.00           770.00   Address and consider proposed stipulation
                                                                         and order extending bar date to file
                                                                         dischargeability action by government (.50);
                                                                         address and consider same and action to be
                                                                         taken (.50); address same with Bob Bassel
                                                                         (.40).
  7/11/23   B110       KRC              .60    370.00           222.00   Review of stipulation to extend USDOJ
                                                                         deadline to object to discharge under 523
                                                                         (.20), reviewed analysis of effect of
                                                                         liquidation on discharge of chapter 11 claims
                                                                         (.30), emailed Committee advising on
                                                                         request for extension to obtain approval to
                                                                         the extension (.10).
  7/12/23   B110       KRC              .40    370.00           148.00   Reviewed week-end budget 6/30 and 7/7
                                                                         and emailed notes to Committee regarding
                                                                         the same.
  7/13/23   B110       JGM              .10    550.00            55.00   Address docketing of statute of limitations
                                                                         date for challenging redemption.
  7/13/23   B110       JGM              .20    550.00           110.00   Address various issues regarding
                                                                         administration of estate.
  7/17/23   B110       JGM              .80    550.00           440.00   Review and revise stipulation and order to
                                                                         extend date for USDOJ to file
                                                                         dischargeability action (.40); transmits same
                                                                         to Bob Bassel along with agenda of issues
                                                                         for upcoming call (.20); further revisions of
                                                                         pleadings and transmittal to Bob Bassel
                                                                         (.20).
  7/17/23   B110       JGM              .30    550.00           165.00   Review and respond to emails from Mary
                                                                         Schmergel about proposed stipulation and
                                                                         order (.20); review email from Kevin Erskine
                                                                         about same (.10).
  7/17/23   B110       JGM              .50    550.00           275.00   Conference call with Bob Bassel and Kim
                                                                         Clayson about proposed stipulation and
                                                                         order to extend dischargeability bar date,
                                                                         status of sale, assumption and assignment
                                                                         of executory contracts and budget issues.
  7/17/23   B110       JGM              .30    550.00           165.00   Email to Committee about status of case
                                                                         and proposed action to be taken to extend
                                                                         date for government to file dischargeability
                                                                         action.




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     Date   Task       Atty           Hours       Rate         Amount       Descrip Of Services
  7/17/23   B110       KRC              .70     370.00          259.00      Reviewed membership documents and
                                                                            resolution concerning redemption (.50),
                                                                            follow up to Debtor's counsel for remaining
                                                                            documents (.20).
  7/17/23   B110       KRC              .60     370.00          222.00      Call with Debtor's counsel regarding current
                                                                            budget, 523 claims by USDOJ and sale
                                                                            issues.
  7/18/23   B110       JGM              .10     550.00           55.00      Email from Ronna Jackson approving
                                                                            stipulation and order on extending bar date
                                                                            of government to file dischargeability action.
  7/18/23   B110       KRC              .30     370.00          111.00      Follow up correspondence to Debtor's
                                                                            counsel on outstanding requested
                                                                            documents.
  7/19/23   B110       JGM              .10     550.00           55.00      Address entry of order extending date for
                                                                            government to file dischargeability action
                                                                            and docket same.
  7/20/23   B110       JGM              .30     550.00          165.00      Emails to and from Bob Bassel and Russ
                                                                            Long about status of employment retention
                                                                            credit (.20); email from Bob Bassel about
                                                                            CID documents being requested by
                                                                            government (.10).
  7/22/23   B110       JGM              .20     550.00          110.00      Confer with Bob Bassel about A/R
                                                                            collection, sale hearing and securing
                                                                            redemption documents.
  7/24/23   B110       KRC             1.50     370.00          555.00      Attention to HIPAA compliance questions.
  7/25/23   B110       JGM              .10     550.00           55.00      Review and docket notice of hearing.
  7/26/23   B110       DMA              .50     595.00          297.50      Address and consider HIPAA violations in
                                                                            bankruptcy matter.
  7/26/23   B110       JGM              .30     550.00          165.00      Address status of various healthcare issues
                                                                            and how to proceed.
  7/26/23   B110       JGM              .20     550.00          110.00      Address various healthcare issues with Bob
                                                                            Bassel.
  7/26/23   B110       JGM              .30     550.00          165.00      Address various healthcare issues with
                                                                            David Abromowitz, healthcare specialist.
  7/26/23   B110       JGM              .20     550.00          110.00      Review and consider email from Bob Bassel
                                                                            about healthcare and disclosure issues.
  7/26/23   B110       KRC              .40     370.00          148.00      Review of and analysis regarding HIPAA
                                                                            protections.
  7/28/23   B110       JGM              .10     550.00           55.00      Address entry of order extending time to
                                                                            objection to sale and docket same.
  7/31/23   B110       KRC              .50     370.00          185.00      Meeting with Committee regarding status of
                                                                            sale.
                                      11.30                  $ 5,283.50     Sub Total




Name                                   Staff Level                        Hours             Rate                    Total
David M. Abromowitz                    Partner                               .50          595.00                   297.50
Judith G. Miller                       Of Counsel                           5.50          550.00                 3,025.00
Kimberly Clayson                       Of Counsel                           5.30          370.00                 1,961.00
TOTALS                                                                     11.30                               $ 5,283.50



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B120 Asset Analysis and Recovery


     Date   Task       Atty           Hours      Rate          Amount    Descrip Of Services
  7/06/23   B120       JGM              .20    550.00           110.00   Exchange emails with Bob Bassel about
                                                                         status of transmittal of redemption
                                                                         documents.
  7/06/23   B120       KRC              .10    370.00            37.00   Email follow up to Debtor's counsel about
                                                                         status of redemption documents.
  7/07/23   B120       JGM              .20    550.00           110.00   Address email from Bob Bassel about
                                                                         redemption documents requested.
  7/17/23   B120       JGM              .30    550.00           165.00   Address and direct Kim Clayson how to
                                                                         proceed with review and production of
                                                                         redemption documents and docketing of
                                                                         applicable statute of limitations (multiple
                                                                         calls).
  7/17/23   B120       JGM              .20    550.00           110.00   Review emails to and from Bob Bassel
                                                                         about redemption documents (.10); review
                                                                         email to Tamar Dolcourt about obtaining
                                                                         Peninsula documents (.10).
  7/18/23   B120       JGM              .60    550.00           330.00   Review, address and analyze redemption
                                                                         documents produced, additional documents
                                                                         needed and how to proceed (.50); direct Kim
                                                                         Clayson about same (.10).
  7/23/23   B120       JGM              .30    550.00           165.00   Review emails from and to Bob Bassel
                                                                         about obtaining redemption documents.
  7/23/23   B120       KRC              .20    370.00            74.00   Attention to MIRA document and signature
                                                                         pages to verify receipt of documents (.10),
                                                                         email to Debtor's counsel about issues with
                                                                         MIRA provided (.10).
  7/23/23   B120       KRC              .50    370.00           185.00   Address and consider potential claims to be
                                                                         asserted against prior members.
  7/24/23   B120       JGM              .50    550.00           275.00   Address review of redemption agreement,
                                                                         action to be taken thereon and additional
                                                                         documents needed.
  7/24/23   B120       KRC              .50    370.00           185.00   Review Membership Interest Redemption
                                                                         Agreement.
  7/24/23   B120       MMD              .20    550.00           110.00   Review and reply to email correspondence
                                                                         from Kim Ross Clayson regarding Ark
                                                                         Laboratory redemption transaction and
                                                                         documents.
  7/24/23   B120       MMD             3.60    550.00         1,980.00   Review and analyze Member Interest
                                                                         Redemption Agreement, Seller Notes Issued
                                                                         by Ark Laboratory, Assignment and
                                                                         Assumption Agreement, Equipment Bill of
                                                                         Sale, Joint Consent Resolutions, attorney
                                                                         opinion letters and Ark Laboratory Operating
                                                                         Agreement.
  7/24/23   B120       MMD              .40    550.00           220.00   Review Michigan Limited Liability Act
                                                                         concerning unlawful distributions by
                                                                         Managers and Members and potential
                                                                         Manager and Member liability for same.
  7/25/23   B120       MMD             4.80    550.00         2,640.00   Draft memorandum regarding summary of
                                                                         redemption transaction, potential non-
                                                                         bankruptcy claims for unsecured creditors
                                                                         and document request list.
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     Date   Task        Atty          Hours       Rate         Amount     Descrip Of Services
  7/26/23   B120        MMD             .30     550.00          165.00    Further review of timing of payment on Ark
                                                                          redemption notes.
  7/26/23   B120        MMD            1.50     550.00          825.00    Complete memorandum regarding summary
                                                                          of redemption transaction, potential
                                                                          unsecured creditor claims and document
                                                                          request list, and email to them regarding
                                                                          memorandum.
                                      14.40                  $ 7,686.00   Sub Total




Name                                     Staff Level                      Hours           Rate                  Total
Judith G. Miller                         Of Counsel                         2.30        550.00               1,265.00
Kimberly Clayson                         Of Counsel                         1.30        370.00                 481.00
Marguerite M. Donahue                    Of Counsel                        10.80        550.00               5,940.00
TOTALS                                                                     14.40                           $ 7,686.00




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B130 Asset Disposition


     Date   Task         Atty         Hours      Rate          Amount    Descrip Of Services
  7/01/23   B130         JGM            .20    550.00           110.00   Review emails from Bob Bassel, Kim
                                                                         Clayson and Julie Teicher about bidding
                                                                         procedures order.
  7/01/23   B130         JGM            .10    550.00            55.00   Address entry of order on bidding
                                                                         procedures and docket dates therein.
  7/10/23   B130         JGM            .10    550.00            55.00   Address email from Bob Bassel about time
                                                                         to respond to motion to assume/assign
                                                                         executory contracts.
  7/11/23   B130         JGM            .40    550.00           220.00   Address filing of motions for assumption and
                                                                         assignment of executory contracts and
                                                                         docket response date (.30); review email
                                                                         from Bob Bassel about same (.10).
  7/12/23   B130         JGM            .30    550.00           165.00   Address and respond to inquiry from creditor
                                                                         (Fishman Stewart) about assets to be sold
                                                                         as part of transaction (multiple emails).
  7/17/23   B130         JGM            .40    550.00           220.00   Review objection of Orchard Software to
                                                                         proposed assumption and assignment of
                                                                         executory contract (.30); email to Bob
                                                                         Bassel and Bob Wolford about same (.10).
  7/18/23   B130         JGM            .10    550.00            55.00   Review notice of hearing on objection to
                                                                         assumption and assignment of executory
                                                                         contract of Orchard Software and docket
                                                                         hearing date.
  7/19/23   B130         JGM            .20    550.00           110.00   Review email from Bob Wolford about status
                                                                         of sale and adjourning and rescheduling
                                                                         sale hearing.
  7/20/23   B130         JGM            .20    550.00           110.00   Review objection to assumption and
                                                                         assignment of executory contract by
                                                                         landlord.
  7/20/23   B130         JGM            .20    550.00           110.00   Review and respond to email from Fishman
                                                                         Stewart (creditor) about pending sale.
  7/21/23   B130         JGM            .20    550.00           110.00   Address status of sale and
                                                                         concerns/questions of Michael Stewart
                                                                         (creditor).
  7/24/23   B130         JGM            .20    550.00           110.00   Review, consider and respond to email from
                                                                         Bob Wolford about sale, operational issues
                                                                         and options on how to proceed.
  7/24/23   B130         JGM            .90    550.00           495.00   Address sale and operational issues with
                                                                         Bob Bassel (.30); follow up call with Bob
                                                                         Bassel, Russ Long and Bob Wolford about
                                                                         same and options on how to proceed with
                                                                         sale (.60).
  7/24/23   B130         JGM            .70    550.00           385.00   Advise client about status of sale, operations
                                                                         and other issues (.50); follow up call with
                                                                         Matt George about same (.20).
  7/24/23   B130         JGM            .30    550.00           165.00   Review objection to rejection motion filed by
                                                                         McLaren Medical.
  7/24/23   B130         KRC            .20    370.00            74.00   Review email concerning sale terms and
                                                                         concerns of debtor's operations from Auxo.



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     Date   Task       Atty           Hours      Rate          Amount    Descrip Of Services
  7/25/23   B130       JGM              .20    550.00           110.00   Review notice of hearing on objection to
                                                                         rejection of executory contract and docket
                                                                         same.
  7/26/23   B130       JGM              .40    550.00           220.00   Review and respond to emails from Bob
                                                                         Bassel and Ronna Jackson (multiple emails)
                                                                         about extension of objection date for sale
                                                                         and stipulation and order concerning same.
  7/26/23   B130       JGM              .50    550.00           275.00   Address various issues related to sale and
                                                                         potential objections with Bob Bassel and
                                                                         options on how to proceed (multiple calls).
  7/26/23   B130       KRC              .30    370.00           111.00   Address cash collateral issues in connection
                                                                         with sale and liquidation plan.
  7/27/23   B130       JGM              .20    550.00           110.00   Address status of extension to file objections
                                                                         to sale with Bob Bassel.
  7/27/23   B130       KRC              .20    370.00            74.00   Review McLaren's objection to sale.
  7/28/23   B130       JGM              .60    550.00           330.00   Address status of sale, objection by
                                                                         McLaren, new budget, potential adjournment
                                                                         of hearing, difficulties with landlord cure and
                                                                         lease and options on how to proceed with
                                                                         Bob Wolford and Bob Bassel (.40); address
                                                                         timing for seeking an adjournment of the
                                                                         sale hearing with Bob Bassel (.10); advise to
                                                                         Steve Alexsy about treatment of executory
                                                                         contract as part of sale (.10).
  7/28/23   B130       JGM              .40    550.00           220.00   Address and consider status, options and
                                                                         how to proceed on sale and budget issues.
  7/29/23   B130       JGM              .30    550.00           165.00   Address and consider issues attendant to
                                                                         sale and how to proceed.
  7/30/23   B130       JGM              .30    550.00           165.00   Email to Committee members about need
                                                                         for call to address sale and other issues
                                                                         (.20); review emails from members about
                                                                         scheduling call (.10).
  7/30/23   B130       JGM              .30    550.00           165.00   Call with Bob Bassel to address issues
                                                                         related to sale, outstanding administrative
                                                                         claims, payment of budgeted items and
                                                                         dealing with landlord.
  7/31/23   B130       JGM             1.10    550.00           605.00   Address pending matters and action to be
                                                                         taken to prepare for Committee call (.20);
                                                                         review and address email on outstanding
                                                                         A/R (.20); address preparation for call with
                                                                         client (.20); address preparation of limited
                                                                         objection to sale motion and proposed
                                                                         extension of objection deadline and direct
                                                                         Kim Clayson to prepare (.20); transmit new
                                                                         budget to Committee (.10); transmit
                                                                         reconciliation to Committee (.10); review and
                                                                         consider email from Dorian Wright in
                                                                         connection with new budget (.10).




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     Date   Task       Atty             Hours         Rate      Amount      Descrip Of Services
  7/31/23   B130       JGM               2.40       550.00      1,320.00    Address status of resolution of
                                                                            assumption/assignment of unexpired lease
                                                                            with landlord with Bob Bassel (multiple calls)
                                                                            (.30); address same with Steve Alexsy,
                                                                            counsel for landlord (.20); address
                                                                            scheduling a call with Bob Bassel, Bob
                                                                            Wolford and Steve Alexsy to discuss same
                                                                            (.20); participate in conference call with Bob
                                                                            Bassel, Bob Wolford and Steve Alexsy
                                                                            about same (.50); follow up call with Bob
                                                                            Wolford about next steps (.10); email from
                                                                            Julie Teicher about sale and current
                                                                            financial information (.20); follow up call with
                                                                            Julie Teicher and Bob Bassel about status of
                                                                            sale, objections and adjournment of sale
                                                                            hearing (.20); call with Bob Bassel about
                                                                            adjournment of sale hearing, dealing with
                                                                            landlord and McLaren (multiple calls) (.40);
                                                                            advise Bob Bassel about status and action
                                                                            to be taken (.20); address scheduling call to
                                                                            discuss new budget and proposed
                                                                            stipulation and order to adjourn sale hearing
                                                                            (.10).
  7/31/23   B130       JGM                 .60      550.00        330.00    Attend Creditors' Committee meeting about
                                                                            status of case, budget and financing, limited
                                                                            sale objection and sale hearing (.50);
                                                                            transmit revised budget to Committee and
                                                                            address in connection with limited sale
                                                                            objection (.10).
  7/31/23   B130       JGM                 .50      550.00        275.00    Address adjournment of sale hearing with
                                                                            Bob Bassel (multiple calls) (.30); follow up
                                                                            email to Bob Bassel about same (.20).
  7/31/23   B130       JGM                 .20      550.00        110.00    Address budget and limited objection to sale
                                                                            motion.
  7/31/23   B130       KRC                 .50      370.00        185.00    Review of proposed sale motion
                                                                            adjournment budget.
  7/31/23   B130       KRC                3.80      370.00      1,406.00    Analysis of cash collateral orders (1.0) and
                                                                            preparation for objections to sale motion
                                                                            (2.8).
                                         17.50                 $ 8,725.00   Sub Total




Name                                  Staff Level                      Hours               Rate                      Total
Judith G. Miller                      Of Counsel                        12.50            550.00                   6,875.00
Kimberly Clayson                      Of Counsel                         5.00            370.00                   1,850.00
TOTALS                                                                  17.50                                   $ 8,725.00




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B140 Relief from Stay/Adequate Protection Proceedings


     Date   Task       Atty             Hours         Rate       Amount     Descrip Of Services
  7/18/23   B140       JGM                .50       550.00        275.00    Address and consider proposed stipulation
                                                                            and order to lift stay submitted by landlord
                                                                            and address status of claims in case in order
                                                                            to address how to proceed.
  7/18/23   B140       KRC                 .90      370.00        333.00    Review of stipulation for stay relief on 6600
                                                                            Highland to determine administrative
                                                                            expense issues and correspondence with
                                                                            Debtor's counsel and with landlord's
                                                                            counsel.
  7/19/23   B140       JGM                 .20      550.00        110.00    Address proposed stipulation and order to
                                                                            lift stay with Steve Alesy, counsel for
                                                                            landlord.
  7/19/23   B140       JGM                 .60      550.00        330.00    Review and revise stipulation and order for
                                                                            relief from automatic stay for landlord.
  7/19/23   B140       JGM                 .20      550.00        110.00    Transmit revised stipulation and order to
                                                                            Steve Alesy and Bob Bassel to review and
                                                                            to approve.
  7/19/23   B140       JGM                 .20      550.00        110.00    Advise Committee about stipulation and
                                                                            order to lift automatic stay in favor of
                                                                            landlord and proposed pleadings to
                                                                            effectuate such relief.
  7/20/23   B140       JGM                 .30      550.00        165.00    Address stipulation and order of landlord
                                                                            and other pending matters with Matt
                                                                            George.
  7/20/23   B140       JGM                 .20      550.00        110.00    Follow up emails from and to Steve Alesy
                                                                            about stipulation and order to lift stay.
  7/31/23   B140       JGM                 .30      550.00        165.00    Review motion for relief from automatic stay
                                                                            filed by Dearborn landlord (.20); address
                                                                            same with Bob Bassel (.10).
                                          3.40                 $ 1,708.00   Sub Total




Name                                  Staff Level                      Hours              Rate                     Total
Judith G. Miller                      Of Counsel                        2.50            550.00                  1,375.00
Kimberly Clayson                      Of Counsel                         .90            370.00                    333.00
TOTALS                                                                  3.40                                  $ 1,708.00




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B160 Fee/Employment Applications


     Date    Task      Atty           Hours      Rate       Amount     Descrip Of Services
  7/24/23    B160      JGM              .20    550.00        110.00    Review concurrence filed by UST to
                                                                       application of Russell Long and proposed
                                                                       revisions to the order.
                                         .20                $ 110.00   Sub Total




Name                             Staff Level                      Hours                Rate                  Total
Judith G. Miller                 Of Counsel                         .20              550.00                 110.00
TOTALS                                                              .20                                   $ 110.00




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B185 Assumption/Rejection of Leases and Contracts


     Date   Task       Atty            Hours          Rate       Amount     Descrip Of Services
  7/11/23   B185       KRC              1.00        370.00        370.00    Review of motions to reject and to assume
                                                                            executory contracts (.80); communication
                                                                            with Committee regarding the same (.20).
                                         1.00                   $ 370.00    Sub Total




Name                                  Staff Level                          Hours             Rate                 Total
Kimberly Clayson                      Of Counsel                            1.00           370.00                370.00
TOTALS                                                                      1.00                               $ 370.00




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B230 Financing/Cash Collections

     Date   Task       Atty             Hours         Rate       Amount     Descrip Of Services
  7/06/23   B230       KRC               1.00       370.00        370.00    Attention to cash collateral order and review
                                                                            of support documents for use of cash
                                                                            collateral.
  7/07/23   B230       JGM                 .20      550.00        110.00    Address emails concerning budget to actual.
  7/11/23   B230       JGM                 .30      550.00        165.00    Address and consider email and comparison
                                                                            of budget to actual transmitted by Russ
                                                                            Long.
  7/12/23   B230       JGM                 .30      550.00        165.00    Address and consider email about budget
                                                                            (budget to actual) and shortfall in collections
                                                                            and funding of professional fee account.
  7/21/23   B230       JGM                 .40      550.00        220.00    Address email from Julie Teicher about
                                                                            default under cash collateral order by Debtor
                                                                            (.20); review responsive emails from Bob
                                                                            Bassel and Russ Long about same (.20).
  7/21/23   B230       JGM                 .30      550.00        165.00    Address various issues related to cash
                                                                            collateral default and proposed action to be
                                                                            taken.
  7/24/23   B230       JGM                 .20      550.00        110.00    Address email from Russ Long about
                                                                            updated budget(.10); email to Russ Long
                                                                            and Bob Bassel about employment retention
                                                                            tax credit (.10).
  7/26/23   B230       JGM                 .30      550.00        165.00    Address various issues regarding
                                                                            collections, operations and status of
                                                                            payment of administrative claims with Bob
                                                                            Bassel (.20); email from Russ Long about
                                                                            same (.10).
  7/27/23   B230       JGM                 .10      550.00         55.00    Address email from Russ Long about budget
                                                                            issues.
  7/28/23   B230       JGM                 .30      550.00        165.00    Review and respond to emails from Russ
                                                                            Long about budget and status of payment of
                                                                            chapter 11 expenses and review of excel
                                                                            spreadsheet circulated by him.
  7/31/23   B230       JGM                1.80      550.00        990.00    Review and respond to emails to and from
                                                                            Bob Bassel about payment of budgeted
                                                                            items (multiple calls) (1.0); emails to and
                                                                            from Russ Long about same (.40); review
                                                                            and respond to email from Russ Long about
                                                                            revised budget (.20); follow up call with Russ
                                                                            Long about budget to actual/reconciliation,
                                                                            new budget through August 24th and
                                                                            McLaren reconciliation (.20).
                                          5.20                 $ 2,680.00   Sub Total




Name                                  Staff Level                      Hours               Rate                     Total
Judith G. Miller                      Of Counsel                        4.20             550.00                  2,310.00
Kimberly Clayson                      Of Counsel                        1.00             370.00                    370.00
TOTALS                                                                  5.20                                   $ 2,680.00

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B310 Claims Administration and Objections


     Date   Task       Atty           Hours       Rate       Amount    Descrip Of Services
  7/21/23   B310       KRC              .50     370.00        185.00   Review of billing issue and records with
                                                                       McLaren.
  7/24/23   B310       DMA             1.00     595.00        595.00   Address HIPAA concerns involved with
                                                                       bankruptcy with Kim Clayson (.20); address
                                                                       possible HIPAA violation (.20); review
                                                                       HIPAA statute (.20); follow-up with Kim
                                                                       Clayson (.40).
                                       1.50                 $ 780.00   Sub Total




Name                                    Staff Level                    Hours             Rate                Total
David M. Abromowitz                     Partner                         1.00           595.00               595.00
Kimberly Clayson                        Of Counsel                       .50           370.00               185.00
TOTALS                                                                  1.50                              $ 780.00




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B320 Plan and Disclosure Statement


     Date    Task      Atty           Hours      Rate       Amount     Descrip Of Services
  7/11/23    B320      JGM              .20    550.00        110.00    Review email from Julie Teicher (McLaren)
                                                                       about information to be included in the
                                                                       disclosure statement, plus plan and
                                                                       liquidation trust concerns.
                                         .20                $ 110.00   Sub Total




Name                             Staff Level                      Hours                Rate                  Total
Judith G. Miller                 Of Counsel                         .20              550.00                 110.00
TOTALS                                                              .20                                   $ 110.00




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SUMMARY OF PROFESSIONAL SERVICES

Name                                     Staff Level              Hours          Rate                   Total
David M. Abromowitz                      Partner                    1.50       595.00                  892.50
Judith G. Miller                         Of Counsel                27.40       550.00               15,070.00
Kimberly Clayson                         Of Counsel                15.00       370.00                5,550.00
Marguerite M. Donahue                    Of Counsel                10.80       550.00                5,940.00
TOTALS                                                             54.70                          $ 27,452.50




                                      TOTAL PROFESSIONAL SERVICES                                $ 27,452.50


                                      TOTAL THIS INVOICE                                         $ 27,452.50




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                                                         27777 Franklin Road, Suite 2500 / Southfield, MI 48034-8214
                                                                              Tel: 248.351.3000 / Fax: 248.351.3082
                                                                                                       www.taftlaw.com
                                                                                                   FEIN#: XX-XXXXXXX
                                                                                                      October 11, 2023
                                                                                                    Invoice # 6155209
          The Official Committee of
          Unsecured Creditors
          ATTN: Matthew George
          Gemini Lab Group, LLC
          8470 S. Shore Drive
          Clarkston, MI 48348

_____________________________________________________________________

                                           INVOICE SUMMARY
Client/File #110698/00001 JGM

For professional services rendered and costs advanced through August 31, 2023:

RE:   Ark Laboratory Creditor Committee



                       Professional Services                                         $ 60,153.00

                       Costs Advanced                                                       $ .00

                       TOTAL THIS INVOICE                                            $ 60,153.00




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PROFESSIONAL SERVICES RENDERED



B110 Case Administration


     Date   Task       Atty           Hours      Rate          Amount    Descrip Of Services
  8/01/23   B110       KRC              .50    370.00           185.00   Revisions to stipulation for adjournment of
                                                                         sale hearing.
  8/08/23   B110       KRC              .40    370.00           148.00   Reviewed actual/projected budget and issue
                                                                         with projected budget not approved.
  8/10/23   B110       PRH              .70    520.00           364.00   Address and consider Committee strategy.
  8/16/23   B110       KRC             1.80    370.00           666.00   Telephone conference call with Debtor's
                                                                         Counsel, Creditor's Counsel, US Trustee
                                                                         regarding asset recovery issues, budget,
                                                                         sale motion and other matters.
  8/18/23   B110       JGM              .50    550.00           275.00   Address sale, financing, new potential asset
                                                                         and how to proceed.
  8/18/23   B110       KRC              .50    370.00           185.00   Telephone conference with Debtor's counsel
                                                                         and Auxo's counsel about status of sale,
                                                                         asset recovery and other issues.
  8/20/23   B110       JGM              .10    550.00            55.00   Address status of ascertaining information
                                                                         about account receivable.
  8/21/23   B110       JGM              .20    550.00           110.00   Address email from Mark Beauchamp about
                                                                         schedules.
  8/21/23   B110       JGM              .20    550.00           110.00   Address status of BC-BS A/R and
                                                                         scheduling call to address same.
  8/21/23   B110       KRC              .20    370.00            74.00   Responded to email from creditor inquiring
                                                                         about schedules.
  8/25/23   B110       JGM              .20    550.00           110.00   Address emails about lack of power and
                                                                         generator failure at Helix premises.
  8/28/23   B110       JGM             1.00    550.00           550.00   Conference call with Ronna Jackson, Bob
                                                                         Bassel, Bob Wolford and Russell Long
                                                                         about status of sale and new claims, real
                                                                         estate lease negotiations, options on how to
                                                                         proceed, treatment of proceeds of new
                                                                         claims and how to be handled, retention of
                                                                         special counsel, amendment of schedules
                                                                         A-B, filing of rejection motion, administrative
                                                                         claims owed to date, filing of new expended
                                                                         budget through September 15th, and
                                                                         seeking an emergency status conference
                                                                         with the Court.
  8/28/23   B110       KRC              .90    370.00           333.00   Attended Committee update meeting.
  8/29/23   B110       KRC              .40    370.00           148.00   Drafted concurrence in motion for status
                                                                         conference.
  8/30/23   B110       JGM              .40    550.00           220.00   Confer with Jeff Burg about failure to file
                                                                         claim prior to expiration of bar date (.20);
                                                                         email to Jeff Burg about options on how to
                                                                         proceed (.20).
  8/30/23   B110       KRC              .30    370.00           111.00   Emailed Committee update about ex parte
                                                                         motion to adjourn sale motion hearing.
  8/31/23   B110       JGM              .10    550.00            55.00   Review new notices of hearings on sale and
                                                                         rejection motions and docket same.
  8/31/23   B110       KRC              .30    370.00           111.00   Prepared for status conference hearing on
                                                                         adjournment of sale motion.
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     Date   Task       Atty             Hours         Rate       Amount     Descrip Of Services
  8/31/23   B110       KRC               2.40       370.00        888.00    Appeared for and attended status
                                                                            conference hearing requesting adjournment
                                                                            of sale hearing.
                                         11.10                 $ 4,698.00   Sub Total




Name                                  Staff Level                      Hours              Rate                    Total
Paul R. Hage                          Partner                             .70           520.00                   364.00
Judith G. Miller                      Of Counsel                         2.70           550.00                 1,485.00
Kimberly Clayson                      Of Counsel                         7.70           370.00                 2,849.00
TOTALS                                                                  11.10                                $ 4,698.00




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B120 Asset Analysis and Recovery


     Date   Task       Atty           Hours      Rate          Amount    Descrip Of Services
  8/01/23   B120       KRC              .50    370.00           185.00   Analyzed sale motion for options to recover
                                                                         ERC.
  8/06/23   B120       KRC             1.00    370.00           370.00   Review and analysis of MIRA memo.
  8/07/23   B120       JGM              .50    550.00           275.00   Address and consider issues related to
                                                                         redemption, additional documents needed,
                                                                         statute of limitations docketed and how to
                                                                         proceed.
  8/07/23   B120       KRC              .30    370.00           111.00   Email with Bob Bassel requesting additional
                                                                         MIRA support documents.
  8/17/23   B120       JGM             1.10    550.00           605.00   Conference call with Ronna Jackson, Kim
                                                                         Clayson, Bob Bassel and Bob Wolford about
                                                                         discovery of undisclosed asset and impact
                                                                         on sale (.60); conference call with Ronna
                                                                         Jackson, Kim Clayson and Bob Bassel
                                                                         about same (.50).
  8/21/23   B120       KRC              .30    370.00           111.00   Follow up emails to Bob Bassel regarding
                                                                         outstanding issues and information needed
                                                                         to investigate Debtor.
  8/22/23   B120       JGM              .30    550.00           165.00   Call with Bob Bassel to address status of
                                                                         investigation on additional A/R and how to
                                                                         proceed.
  8/22/23   B120       KRC             1.00    370.00           370.00   Telephone conference with Debtor's counsel
                                                                         to discuss status of potential newly
                                                                         discovered assets.
  8/24/23   B120       JGM              .10    550.00            55.00   Address rescheduling of call to address
                                                                         status of new A/R and how to proceed.
  8/25/23   B120       KRC              .40    370.00           148.00   Several email communications with
                                                                         Committee on updates pertaining to
                                                                         receivables claim.
  8/25/23   B120       KRC             1.40    370.00           518.00   Telephone conferences with Debtor's
                                                                         counsel, secured creditor's counsel and US
                                                                         Trustee about collection and recovery of
                                                                         receivables by special counsel, status of
                                                                         sale and other negotiations.
  8/27/23   B120       JGM              .20    550.00           110.00   Exchange emails with Bob Bassel about
                                                                         participating in BC-BS call.
  8/27/23   B120       JGM              .30    550.00           165.00   Review amended schedules filed by the
                                                                         Debtor.
  8/28/23   B120       JGM              .60    550.00           330.00   Review proposed amended schedule A-B
                                                                         circulated by Bob Bassel (.20); review and
                                                                         revise same and transmit to Bob (.30);
                                                                         review revised amended schedule A-B and
                                                                         approve same (.10).
  8/29/23   B120       JGM             1.00    550.00           550.00   Conference call with Bob Bassel, Bob
                                                                         Wolford, Mark Shapiro, Kim Clayson,
                                                                         Elizabeth Wiese, Amy and Richard (special
                                                                         counsel) about background and analysis of
                                                                         the Claims, likely recovery, timing, issues
                                                                         and options on how to proceed.




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     Date   Task       Atty             Hours         Rate        Amount     Descrip Of Services
  8/29/23   B120       JGM                .80       550.00         440.00    Review and respond to email from Julie
                                                                             Teicher about ERC (.20); email to Bob
                                                                             Bassel about same and asking for
                                                                             documentation to support conclusion of
                                                                             auditors/accountants (.20) review, address,
                                                                             respond and respond to email from Mary
                                                                             Schmergel about offset and recoupment
                                                                             issues (.20; address same with Bob Bassel
                                                                             and how best to proceed (.20).
  8/29/23   B120       KRC                1.00      370.00         370.00    Attended conference call regarding universe
                                                                             of claims recovery with special counsel to
                                                                             the Debtor.
  8/30/23   B120       JGM                1.90      550.00       1,045.00    Review and respond to email from Elizabeth
                                                                             Wiese about dealing with government claims
                                                                             (.20); follow up call with Mark Shapiro about
                                                                             same (.30); confirmatory email to Mark
                                                                             Shapiro (.20), review and respond to email
                                                                             from Elizabeth about how best to proceed,
                                                                             joint defense agreement, scheduling
                                                                             meeting with Committee, Debtor and Auxo
                                                                             and subsequently thereafter with Mary
                                                                             Schmergel (multiple emails) (.50); address
                                                                             preparation of joint defense agreement with
                                                                             Bob Bassel (multiple emails) (.50);
                                                                             exchange emails with Mary Schmergel
                                                                             about scheduling meeting to address
                                                                             position of government on Covid Testing
                                                                             Claims (.20).
  8/30/23   B120       JGM                 .10      550.00          55.00    Direct Kim Clayson to circulate 9th Circuit
                                                                             case on recoupment and offsets and to
                                                                             schedule a follow up call with Mary
                                                                             Schmergel.
                                         12.80                  $ 5,978.00   Sub Total




Name                                  Staff Level                       Hours              Rate                     Total
Judith G. Miller                      Of Counsel                          6.90           550.00                  3,795.00
Kimberly Clayson                      Of Counsel                          5.90           370.00                  2,183.00
TOTALS                                                                   12.80                                 $ 5,978.00




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B130 Asset Disposition


     Date   Task         Atty         Hours       Rate       Amount     Descrip Of Services
  8/01/23   B130         JGM           4.50     550.00       2,475.00   Review and revise proposed stipulation and
                                                                        order to adjourn sale hearing and associated
                                                                        hearing (extensive revisions) (1.7); review
                                                                        and revise Committee's limited objection to
                                                                        sale motion (.50); review red-lined version of
                                                                        revised stipulation and order circulated by
                                                                        Bob Bassel and approve same subject to
                                                                        further revisions (.30); address emails from
                                                                        Bob Bassel and Russ Long about proposed
                                                                        rejected executory contracts and how to
                                                                        handle (multiple emails) (.50); address and
                                                                        consider how to deal with Medical Real
                                                                        Estate and Steve Alexsy over adjournment
                                                                        with Bob Bassel, Russ Long, Bob Wolford
                                                                        and Liam, including email to Steve Alexsy
                                                                        about same (multiple calls and emails) (1.0);
                                                                        further review and revision of stipulation and
                                                                        order to address changes made by Bob
                                                                        Bassel (.40); follow up call with Bob Bassel
                                                                        about same and next steps (.20); address
                                                                        options to deal with landlord as part of sale
                                                                        with Bob Bassel (.30); review revised
                                                                        stipulation and order and provide comments
                                                                        to Bob Bassel (.50).
  8/01/23   B130         JGM             .50    550.00         275.00   Attend meeting of the Committee to address
                                                                        new interim budget, reconciliation and
                                                                        adjournment of sale hearing and related
                                                                        hearing.
  8/01/23   B130         JGM             .40    550.00         220.00   Address, consider and direct Kim Clayson
                                                                        regarding sale objection and related
                                                                        financing issues.
  8/01/23   B130         KRC             .80    370.00         296.00   Meeting with counsel for Auxo and Debtor
                                                                        with financial advisor to discuss extension
                                                                        budget and cash collateral funding.
  8/01/23   B130         KRC             .30    370.00         111.00   Revisions to stipulation to adjourn with
                                                                        rejection of leases identified.
  8/02/23   B130         JGM            1.50    550.00         825.00   Review and respond to comments of Bob
                                                                        Basel to stipulation and order to adjourn
                                                                        hearings (multiple emails (.80); review email
                                                                        from Ronna Jackson and her revisions to
                                                                        stipulation and order (.20); review and
                                                                        address comments from Julie Teicher about
                                                                        stipulation and order (.20); review email from
                                                                        Steve Alexsy about consent to stipulation
                                                                        and order (.10); email to and from Bob
                                                                        Bassel to address status of adjournment
                                                                        (.20).
  8/02/23   B130         JGM             .70    550.00         385.00   Review, revise and finalize stipulation and
                                                                        order to adjourn hearings (.50); transmit to
                                                                        Bob Bassel and other parties in interest
                                                                        (.20).
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     Date   Task       Atty           Hours       Rate       Amount     Descrip Of Services
  8/02/23   B130       JGM              .20     550.00        110.00    Email to Committee about stipulation and
                                                                        order to adjourn sale hearings (.10); email to
                                                                        Dorian Wright about rejection of his
                                                                        executory contract at closing on sale (.10).
  8/03/23   B130       JGM               .50    550.00         275.00   Confer with Matt George regarding status of
                                                                        adjournment and other issues related to
                                                                        case (.20); email to Committee about entry
                                                                        of Stipulated Order adjourning hearings and
                                                                        terms and conditions related thereto (.30).
  8/03/23   B130       JGM               .20    550.00         110.00   Address entry of Stipulated Order
                                                                        Adjourning hearings and docket new dates.
  8/10/23   B130       JGM               .50    550.00         275.00   Address and consider impact of unpaid
                                                                        administrative expenses as basis to object
                                                                        to sale (.50).
  8/10/23   B130       JGM               .50    550.00         275.00   Review and consider proposed language to
                                                                        be added to the sale order from Mary
                                                                        Schmergel (.30); email to Bob Bassel about
                                                                        same (.20).
  8/13/23   B130       KRC              2.00    370.00         740.00   Research and analysis of basis of objection
                                                                        to sale on administrative insolvency
                                                                        grounds.
  8/14/23   B130       KRC              2.60    370.00         962.00   Drafting of legal argument for sale motion
                                                                        objection.
  8/15/23   B130       JGM               .30    550.00         165.00   Review and address new date for sale
                                                                        hearings issued by the Court.
  8/15/23   B130       JGM               .50    550.00         275.00   Address new hearing date and how to
                                                                        proceed with Bob Bassel and Bob Wolford
                                                                        (.20); address sale objections of Committee
                                                                        with Bob Wolford (.30).
  8/15/23   B130       JGM               .40    550.00         220.00   Address and direct Kim Clayson regarding
                                                                        preparation of amended objection to sale by
                                                                        Committee and issues to address therein.
  8/15/23   B130       KRC              2.20    370.00         814.00   Review and revise Committee objection to
                                                                        sale.
  8/16/23   B130       JGM               .10    550.00          55.00   Address new date for sale hearings.
  8/16/23   B130       JGM              1.00    550.00         550.00   Review and revise amended limited
                                                                        objection of Committee to sale.
  8/17/23   B130       JGM               .30    550.00         165.00   Address amended limited objection to sale
                                                                        with Kim Clayson.
  8/18/23   B130       JGM               .50    550.00         275.00   Participate in conference call with Bob
                                                                        Bassel, Bob Wolford and Kim Clayson to
                                                                        address status, options and how to proceed.
  8/23/23   B130       JGM              1.20    550.00         660.00   Conference call with Bob Wolford, Auxo
                                                                        representatives, Bob Bassel and Kim
                                                                        Clayson about status of sale, A/R, lease
                                                                        negotiations, options and how to proceed
                                                                        (.90); follow up emails with Bob Bassel
                                                                        about A/R and scheduling follow up call to
                                                                        address status and options (.30).
  8/23/23   B130       JGM               .20    550.00         110.00   Address finalizing and circulating amended
                                                                        objection to Committee and scheduling a
                                                                        Committee call.
  8/23/23   B130       JGM              2.00    550.00       1,100.00   Review and revise amended limited
                                                                        objection to sale.
  8/23/23   B130       KRC              1.50    370.00         555.00   Address revisions to limited objection to sale
                                                                        motion.
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     Date   Task       Atty           Hours       Rate       Amount     Descrip Of Services
  8/25/23   B130       JGM              .60     550.00        330.00    Conference call with Ronna Jackson, Bob
                                                                        Wolford, Kim Clayson and Bob Bassel about
                                                                        status of new A/R and impact on sale,
                                                                        options and how to proceed.
  8/25/23   B130       JGM               .30    550.00         165.00   Address and consider amended limited
                                                                        objection and how to proceed in light of new
                                                                        A/R.
  8/25/23   B130       JGM               .20    550.00         110.00   Address rescheduling of call with Committee
                                                                        to address sale and new A/R.
  8/27/23   B130       JGM               .20    550.00         110.00   Review and respond to email from Bob
                                                                        Bassel about sale order and status of
                                                                        administrative claims for sale hearing.
  8/27/23   B130       JGM               .40    550.00         220.00   Address sale issues, options and how to
                                                                        proceed with Bob Wolford (.40).
  8/28/23   B130       JGM               .40    550.00         220.00   Address status of sale with Julie Teicher,
                                                                        discovery of additional claims, impact on
                                                                        sale, concurring in request for status
                                                                        conference and consenting to adjournment
                                                                        of sale (.30); advise Bob Bassel about same
                                                                        (.10).
  8/28/23   B130       JGM               .20    550.00         110.00   Address status and filing of amended limited
                                                                        objection to sale.
  8/28/23   B130       JGM              1.20    550.00         660.00   Review and revise draft motion for a status
                                                                        conference and provide comments to Bob
                                                                        Bassel (1.0). address same with Bob Bassel
                                                                        and how to proceed (.20).
  8/29/23   B130       JGM               .30    550.00         165.00   Review and revise request for shortening
                                                                        time and for expedited hearing on motion for
                                                                        status conference (.30).
  8/29/23   B130       JGM              1.00    550.00         550.00   Emails to and from Bob Bassel about
                                                                        request for expedited hearing on motion for
                                                                        status conference (several emails and calls)
                                                                        (.50); address ex parte motion with Julie
                                                                        Teicher (.20); email from Julie Teicher
                                                                        approving same (.10); emails from Ronna
                                                                        Jackson about ex parte motion and approval
                                                                        of same (.10); address deficiency notices
                                                                        from court and advise Bob Bassel of same
                                                                        (.10).
  8/29/23   B130       JGM               .20    550.00         110.00   Direct Kim Clayson to prepare, seek
                                                                        approval of and file concurrence of
                                                                        Committee to ex parte motion for status
                                                                        conference.
  8/29/23   B130       JGM               .40    550.00         220.00   Address status of sale, filing of amended
                                                                        schedules, request for status conference
                                                                        and filing of limited objection and reservation
                                                                        of rights with Deb Fish (.20); exchange
                                                                        emails with Deb Fish about same (.10);
                                                                        review limited objection (.10).
  8/29/23   B130       JGM               .50    550.00         275.00   Review, docket and transmit order granting
                                                                        expedited hearing for status conference to
                                                                        adjourn sale and limited objection filed by
                                                                        Deb Fish to Committee (.40); review emails
                                                                        from Committee members approving filing of
                                                                        concurrence to ex parte motion (.10).

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     Date   Task       Atty              Hours        Rate        Amount     Descrip Of Services
  8/29/23   B130       JGM                 .70      550.00         385.00    Address approval and filing of budgets,
                                                                             proposed settlement with landlord, payment
                                                                             of rent to landlord in advance of August 31st
                                                                             hearing, responding to request of Mary
                                                                             Schmergel and Kevin Erskine about sale
                                                                             order with Bob Bassel, Bob Wolford and Kim
                                                                             Clayson (.30); review and respond to email
                                                                             from Bob Bassel about addressing sale
                                                                             order issues wtih Mary Schmergel and Kevin
                                                                             Erskine (.20); review email from Bob Bassel
                                                                             to Mary Schmergel and Kevin Erskine about
                                                                             sale order and options on how to proceed in
                                                                             light of changed circumstances (.20).
  8/30/23   B130       JGM                  .90     550.00         495.00    Review objection to adjournment of sale
                                                                             filed by landlord (.20); review objection to
                                                                             rejection of lease filed by landlord (.20);
                                                                             review and address emails from Bob Bassel
                                                                             and Bob Wolford about same (.20); emails
                                                                             to Bob Wolford and Bob Bassel about
                                                                             landlord objections (.30).
  8/30/23   B130       JGM                 1.00     550.00         550.00    Address and consider objections filed to
                                                                             adjournment of sale by landlord, requested
                                                                             adjournment, issues to be resolved and how
                                                                             best to proceed with Bob Wolford (.50), call
                                                                             with Bob Bassel and Bob Wolford to address
                                                                             preparation for sale and related hearings
                                                                             (.50).
  8/31/23   B130       JGM                 2.00     550.00       1,100.00    Review and analyze proposed response of
                                                                             Auxo to landlord's objections and provide
                                                                             comments to Jacob Carlson and Bob
                                                                             Wolford about same (multiple emails) (1.50);
                                                                             exchange emails with Bob Bassel about
                                                                             same (multiple emails) (.40), review revised
                                                                             objection and provide additional comments
                                                                             to Jacob Carlson (.30); review APA (.10).
  8/31/23   B130       JGM                  .20     550.00         110.00    Advise Committee about filing of response
                                                                             by Auxo's to ex parte motion.
  8/31/23   B130       JGM                 2.20     550.00       1,210.00    Attend hearing on ex parte motion, status
                                                                             conference and sale hearings.
                                          38.30                $ 19,373.00   Sub Total




Name                                  Staff Level                     Hours               Rate                      Total
Judith G. Miller                      Of Counsel                       28.90            550.00                  15,895.00
Kimberly Clayson                      Of Counsel                        9.40            370.00                   3,478.00
TOTALS                                                                 38.30                                  $ 19,373.00




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B140 Relief from Stay/Adequate Protection Proceedings


     Date    Task      Atty           Hours        Rate       Amount     Descrip Of Services
  8/24/23    B140      JGM              .10      550.00         55.00    Emails from Bob Bassel and counsel for
                                                                         Dearborn lease about stipulating to relief
                                                                         from automatic stay.
  8/25/23    B140      JGM                .10    550.00         55.00    Address extension of time to respond to
                                                                         motion to lift stay by Dearborn lessor.
                                          .20                 $ 110.00   Sub Total




Name                              Staff Level                       Hours                 Rate                   Total
Judith G. Miller                  Of Counsel                          .20               550.00                  110.00
TOTALS                                                                .20                                     $ 110.00




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B150 Meetings of and Communications with Creditors


     Date   Task       Atty             Hours         Rate        Amount     Descrip Of Services
  8/02/23   B150       KRC                .20       370.00          74.00    Emailed Committee updated stipulation for
                                                                             adjournment of hearing with rejection list
                                                                             indicated.
  8/23/23   B150       JGM                1.30      550.00         715.00    Address scheduling call with Committee to
                                                                             address recent developments, sale, A/R and
                                                                             lease (.20); attend meeting of Committee to
                                                                             address status, developments and how to
                                                                             proceed (1.0); follow up call with Matt
                                                                             George about real estate lease (.10).
  8/23/23   B150       KRC                1.00      370.00         370.00    Attended Creditors' Committee meeting
                                                                             regarding status of sale and proposed
                                                                             objection and prepared notes to file.
  8/28/23   B150       JGM                 .70      550.00         385.00    Attend Creditors' Committee meeting to
                                                                             address status of sale, negotiations with
                                                                             landlord, new claims, amended limited
                                                                             objection and how to proceed.
                                          3.20                  $ 1,544.00   Sub Total




Name                                  Staff Level                       Hours              Rate                    Total
Judith G. Miller                      Of Counsel                         2.00            550.00                 1,100.00
Kimberly Clayson                      Of Counsel                         1.20            370.00                   444.00
TOTALS                                                                   3.20                                 $ 1,544.00




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B160 Fee/Employment Applications


     Date   Task       Atty            Hours          Rate       Amount      Descrip Of Services
  8/24/23   B160       KRC              1.00        370.00        370.00     Reviewed engagement letter for proposed
                                                                             special counsel for receivables recovery and
                                                                             researched proposed counsel and emailed
                                                                             information to Committee.
  8/31/23   B160       JGM                .20       550.00         110.00    Email to Bob Bassel to address "cost"
                                                                             issue/clarification needed to application to
                                                                             retain special counsel (.10), address
                                                                             advising Committee of same (.10).
  8/31/23   B160       JGM                .20       550.00         110.00    Emails to and from Bob Bassel about
                                                                             revising and correcting proposed order to
                                                                             retain special counsel.
  8/31/23   B160       KRC                .80       370.00         296.00    Reviewed and analyzed employment
                                                                             application and engagement letter for
                                                                             special counsel (.2), emailed Committee
                                                                             update regarding the issues in the
                                                                             employment application (.3), emailed
                                                                             Committee update about sale motion
                                                                             hearing adjournment (.3).
                                         2.20                    $ 886.00    Sub Total




Name                                  Staff Level                           Hours             Rate                  Total
Judith G. Miller                      Of Counsel                              .40           550.00                 220.00
Kimberly Clayson                      Of Counsel                             1.80           370.00                 666.00
TOTALS                                                                       2.20                                $ 886.00




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B185 Assumption/Rejection of Leases and Contracts


     Date   Task       Atty           Hours       Rate       Amount     Descrip Of Services
  8/02/23   B185       JGM              .80     550.00        440.00    Address assumption of real estate lease
                                                                        with Medical Real Estate and terms under
                                                                        which they will agree to adjourn sale
                                                                        hearings (.30); address emails from Bob
                                                                        Bassel, Bob Wolford and Liam about
                                                                        payment of August rent to Medical Real
                                                                        Estate (.50).
  8/07/23   B185       JGM               .30    550.00         165.00   Address extension of date to assume and
                                                                        reject with Bob Bassel and circulating
                                                                        stipulation and order to Steve Alexsy and
                                                                        scheduling meeting with all parties to
                                                                        address proposed resolution of landlord's
                                                                        claim.
  8/09/23   B185       JGM               .80    550.00         440.00   Address filing of stipulation and order to
                                                                        extend time to address rejection/assumption
                                                                        of real estate lease and email from Bob
                                                                        Bassel about same (.20); docket new date
                                                                        (.10); email to Steve Alexsy about
                                                                        scheduling a meeting to address lease
                                                                        issues (.10); follow up call with Steve Alexsy
                                                                        and Bob Bassel about same (.30); advise
                                                                        Bob Wolford of status of same (.10).
  8/10/23   B185       JGM               .30    550.00         165.00   Emails to and from Steve Alexsy about
                                                                        scheduling meeting (.10); emails to and from
                                                                        Bob Bassel about same (.10); emails to Bob
                                                                        Wolford about scheduling meeting with
                                                                        landlord to address outstanding issues (.10).
  8/11/23   B185       JGM               .20    550.00         110.00   Address scheduling of settlement meeting
                                                                        with landlord and review and respond to
                                                                        emails in connection therewith.
  8/14/23   B185       JGM               .50    550.00         275.00   Review notice of withdrawal of objection to
                                                                        cure amount by Medical Real Estate (.10);
                                                                        review email from Steve Alexsy about
                                                                        expression of interest from Northwest Lab
                                                                        (.20); call with Bob Bassel and Bob Wolford
                                                                        about how to deal with assumption/rejection
                                                                        issues and planning for call with landlord
                                                                        and his counsel (.20).
  8/15/23   B185       JGM              1.70    550.00         935.00   Participate in conference call with Bob
                                                                        Bassel, Bob Wolford and Steve Alexsy and
                                                                        their respective clients to address lease with
                                                                        Medical Real Estate (1.0); follow up call with
                                                                        Bob Wolford and Bob Bassel about options
                                                                        and how to proceed (.50); call with Bob
                                                                        Wolford about NDA and how to proceed with
                                                                        landlord and his counsel (.20).




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     Date   Task       Atty           Hours       Rate       Amount     Descrip Of Services
  8/16/23   B185       JGM              .60     550.00        330.00    Address status, options and how to proceed
                                                                        with landlord negotiations with Bob Bassel
                                                                        and Bob Wolford (.30); review and consider
                                                                        email from Steve Alexsy about August 24th
                                                                        date for assumption/rejection of lease and
                                                                        new hearing date (.30).
  8/17/23   B185       JGM              1.30    550.00         715.00   Address options with respect to real estate
                                                                        lease with Bob Wolford and Bob Bassel
                                                                        (.30); call with Steve Alexsy about options
                                                                        with lease (.30); address status and how to
                                                                        proceed with Bob Wolford (.20); follow up
                                                                        call with Bob Wolford about proposed term
                                                                        sheet to be transmitted to landlord and
                                                                        Steve Alexsy (.30); review email from Bob
                                                                        Wolford to Steve Alexsy and landlord (.20).
  8/18/23   B185       JGM               .30    550.00         165.00   Address email from landlord about meeting
                                                                        to discuss possible resolution of lease
                                                                        issues (.10); follow up call with Steve Alexsy
                                                                        about same (.20).
  8/21/23   B185       JGM               .20    550.00         110.00   Review emails from Steve Alexsy, Bob
                                                                        Wolford, landlord, Auxo and Omar about
                                                                        meeting to address potential resolution of
                                                                        lease issues.
  8/22/23   B185       JGM               .30    550.00         165.00   Address status of lease negotiations with
                                                                        Bob Wolford and Bob Bassel.
  8/23/23   B185       JGM              1.20    550.00         660.00   Conference call with Steve Alexsy and Bob
                                                                        Bassel about status of lease negotiations
                                                                        and options on how to proceed (.40); email
                                                                        to Bob Wolford about same (.10); follow up
                                                                        call with Steve Alexsy to address meeting,
                                                                        representations made at meeting with Auxo,
                                                                        landlord and proposed tenant (.20); review
                                                                        and respond to email from Omar (proposed
                                                                        tenant) about lease negotiation (multiple
                                                                        emails) (.30); address same with Bob
                                                                        Bassel, how to proceed and scheduling call
                                                                        with Omar (.20).
  8/24/23   B185       JGM               .80    550.00         440.00   Review rejection motion and notice of
                                                                        rejection circulated by Bob Bassel (.40);
                                                                        provide comments to Bob Bassel about
                                                                        same (.30); confirmatory email from Bob
                                                                        Bassel about acceptance of proposed
                                                                        changes (.10).
  8/24/23   B185       JGM              1.70    550.00         935.00   Conference call with Omar and Bob Bassel
                                                                        about lease and possible sharing of space
                                                                        with Auxo (.70); follow up call with Steve
                                                                        Alexsy and Bob Bassel about status and
                                                                        how to proceed (30); advise from Bob
                                                                        Bassel that Steve has agreed to stipulate to
                                                                        another 24 hours (.10); review email from
                                                                        Steve about potential settlement and advice
                                                                        to Bob Wolford about same (.20); call with
                                                                        Bob Wolford, Bob Bassel and Kim Clayson
                                                                        about status, options and how to proceed
                                                                        (.40).

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     Date   Task       Atty             Hours         Rate        Amount     Descrip Of Services
  8/25/23   B185       JGM                .60       550.00         330.00    Address extension of bar date with Steve
                                                                             Alexsy and emails in connection therewith
                                                                             (.30); address same with Bob Bassel
                                                                             (multiple calls) (.30).
  8/26/23   B185       JGM                 .40      550.00         220.00    Address status of lease negotiations with
                                                                             Steve Alexsy (.20); follow up call with Bob
                                                                             Bassel about same (.20).
  8/27/23   B185       JGM                 .10      550.00          55.00    Email to Steve Alexsy about scheduling call
                                                                             with Bob Wolford to address lease and
                                                                             options.
  8/28/23   B185       JGM                1.30      550.00         715.00    Emails to and from Steve Alexsy about
                                                                             scheduling call with Bob Wolford to address
                                                                             lease (.20); review and address email from
                                                                             Omar about lease negotiation (.20); address
                                                                             same with Bob Bassel (.20); participate in
                                                                             conference call with Steve Alexsy and Bob
                                                                             Wolford about lease negotiation and options
                                                                             on how to proceed (.30); emails to and from
                                                                             Bob Wolford about status of making a
                                                                             written proposal to Steve Alexsy (.10), follow
                                                                             up email to Bob Wolford about status of
                                                                             written proposal to Steve Alexsy and budget
                                                                             issues (.30).
  8/29/23   B185       JGM                 .40      550.00         220.00    Review and consider settlement proposal
                                                                             transmitted by Bob Wolford to Steve Alexsy
                                                                             (.20); email to Bob Wolford about same
                                                                             (.20).
  8/30/23   B185       KRC                 .50      370.00         185.00    Reviewed and analyzed landlord objections
                                                                             to status conference and to reject executory
                                                                             contract.
  8/31/23   B185       JGM                 .40      550.00         220.00    Review email from Julie Teicher about
                                                                             stipulation and order to reject executory
                                                                             contract and asserting administrative claim
                                                                             (.20); follow up call with Julie Teicher about
                                                                             same (.20).
                                         14.70                  $ 7,995.00   Sub Total




Name                                  Staff Level                       Hours               Rate                     Total
Judith G. Miller                      Of Counsel                         14.20            550.00                  7,810.00
Kimberly Clayson                      Of Counsel                           .50            370.00                    185.00
TOTALS                                                                   14.70                                  $ 7,995.00




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B230 Financing/Cash Collections


     Date   Task       Atty           Hours       Rate       Amount     Descrip Of Services
  8/01/23   B230       JGM             1.50     550.00        825.00    Conference call with Russ Long, Bob
                                                                        Wolford, Bob Bassel and Kim Clayson about
                                                                        new interim budget and reconciliation of
                                                                        actual to budgeted and adjourning sale
                                                                        hearing and associated hearings to address
                                                                        same and resolve pending objections (1.0);
                                                                        further emails with same to address new
                                                                        interim budget (multiple emails) to address
                                                                        new interim budget (.50).
  8/01/23   B230       JGM               .30    550.00         165.00   Email from Julie Teicher about new interim
                                                                        budget (.10); email to Bob Bassel, Bob
                                                                        Wolford and Russ Long about same (.10);
                                                                        follow up call with Bob Bassel about same
                                                                        (.10).
  8/03/23   B230       JGM               .40    550.00         220.00   Email to Bob Bassel, Bob Wolford and Russ
                                                                        Long about status of modified interim budget
                                                                        and exchange texts with Bob Bassel about
                                                                        same (.20); further emails from Russ and
                                                                        Bob about budget (.20).
  8/04/23   B230       JGM              3.30    550.00       1,815.00   Multiple emails, texts and conversations with
                                                                        Russ Long, and Bob Bassel about status of
                                                                        updated modified interim budget (2.0);
                                                                        review and address email from Ronna
                                                                        Jackson about same (.20), address
                                                                        employment retention credit with Russ Long
                                                                        (.10); address same with Bob Bassel (.20);
                                                                        email to Bob Bassel about same (.30);
                                                                        address email from Bob Wolford about
                                                                        employment retention credit (.20); address
                                                                        issues regarding new interim budget with
                                                                        Bob Bassel and Russ Long via email
                                                                        (multiple emails) (30).
  8/04/23   B230       JGM              1.40    550.00         770.00   Multiple calls with Matt George about new
                                                                        interim budget and employment retention
                                                                        credit (1.0); email to Matt George about new
                                                                        interim budget (.30); address transmittal of
                                                                        new budget to Committee (.10).
  8/04/23   B230       JGM               .20    550.00         110.00   Address, review and consider issues
                                                                        regarding new interim budget.
  8/04/23   B230       KRC              1.60    370.00         592.00   Attention to budget deadline and follow up
                                                                        emails to Debtor's counsel (.40). Reviewed
                                                                        revised budget and prepared notes for
                                                                        consideration and approval (1.0). Address
                                                                        outstanding budget and deadline (.20).
  8/05/23   B230       JGM               .30    550.00         165.00   Multiple email exchanges with Bob Bassel
                                                                        about new interim budget.
  8/05/23   B230       KRC               .20    370.00          74.00   Review of status of cash collateral budget.
  8/06/23   B230       JGM               .20    550.00         110.00   Review and address email from Russ Long
                                                                        about budget (.10); address and direct Bob
                                                                        Bassel about same (.10).

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     Date   Task       Atty           Hours       Rate       Amount     Descrip Of Services
  8/07/23   B230       JGM             1.00     550.00        550.00    Address interim budget, financing and sale
                                                                        issues with Bob Bassel (.50); address
                                                                        interim budget, ETC and other financing and
                                                                        sale issues with Bob Wolford (.50).
  8/08/23   B230       JGM               .80    550.00         440.00   Transmit actual to budget for week ending
                                                                        August 4th to Committee (.20); follow up
                                                                        email to Committee about same (.20);
                                                                        address and respond to email from Dorian
                                                                        Wright about the budgeted expenses for his
                                                                        contract (.30); follow up calls with Dorian
                                                                        Wright about same (.10).
  8/08/23   B230       JGM               .40    550.00         220.00   Review email from Russ Long about actual
                                                                        to budget for week ending August 4th (.20);
                                                                        emails to and from Russ about same (.20).
  8/08/23   B230       JGM              1.40    550.00         770.00   Communications with Bob Bassel and Bob
                                                                        Wolford about proposed interim budget and
                                                                        review and approval of same (multiple
                                                                        emails and texts) (.50); confer with Bob
                                                                        Bassel about same (multiple calls) (.30);
                                                                        follow up call with Bob Bassel about budget
                                                                        and regulatory issues (.10), follow up email
                                                                        to Bob Bassel and Bob Wolford about same
                                                                        (.20); address interim budget and related
                                                                        issues with Bob Wolford (.30).
  8/09/23   B230       JGM               .90    550.00         495.00   Address authorization to fund and pay
                                                                        budgeted payroll with each of the Committee
                                                                        members (.30); email to Committee
                                                                        confirming same (.10); address various
                                                                        issues attendant to budget with Dorian
                                                                        Wright (multiple calls) (.50).
  8/09/23   B230       JGM              1.60    550.00         880.00   Address issues related to interim budget
                                                                        with Bob Bassel and Bob Wolford (multiple
                                                                        calls) (.60); address authorization to fund
                                                                        and pay payroll and other issues under the
                                                                        budget with Ronna Jackson and Bob Bassel
                                                                        (.60); follow up call with Bob Bassel about
                                                                        paying previously budgeted expenses (.20);
                                                                        follow up call with Bob Wolford about budget
                                                                        (.20).
  8/10/23   B230       JGM               .50    550.00         275.00   Address and consider issues related to
                                                                        interim budget, options and how to proceed
                                                                        with Kim Clayson.
  8/10/23   B230       JGM               .20    550.00         110.00   Address status of budget with Bob Bassel,
                                                                        impact on sale on how to proceed.
  8/10/23   B230       JGM              1.20    550.00         660.00   Address status with Dorian Wright (.10);
                                                                        address scheduling Committee call with
                                                                        members of the Committee (.10); transmit
                                                                        recently entered order on extending plan
                                                                        dates and notice to Committee (.10);
                                                                        participate in Committee meeting (.90).
  8/10/23   B230       KRC              2.10    370.00         777.00   Prepared for and attended unsecured
                                                                        creditor Committee meeting regarding case
                                                                        status and budget issues (.90). Attended to
                                                                        issues regarding sale motion and
                                                                        administrative expenses allocated to budget
                                                                        (1.2).
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     Date   Task       Atty           Hours       Rate       Amount     Descrip Of Services
  8/11/23   B230       JGM              .20     550.00        110.00    Address status of budget issues with Matt
                                                                        George and options on how to proceed.
  8/11/23   B230       JGM               .70    550.00         385.00   Address status with Dorian Wright as relates
                                                                        to budget and contract and need to resolve
                                                                        and consider retention of counsel (multiple
                                                                        calls) (.30); address background and status
                                                                        of case with Debi Fish, new counsel for SMA
                                                                        (.30); advise Bob Wolford about Debi's
                                                                        retention to facilitate dialogue to address
                                                                        outstanding issue (.10).
  8/11/23   B230       JGM               .60    550.00         330.00   Address and consider email from Bob
                                                                        Bassel about options on how to deal with
                                                                        budget (.20); conference call with Bob
                                                                        Bassel and Bob Wolford about same (.20);
                                                                        follow up call with Bob Bassel and Deb Fish
                                                                        about same (.20).
  8/14/23   B230       JGM               .60    550.00         330.00   Address status of negotiations with SMA
                                                                        with Deborah Fish (.10); address status of
                                                                        budget with Bob Bassel and next steps
                                                                        (.20); address email from Russ Long about
                                                                        budget to actual (.10); follow up call with
                                                                        Deborah Fish, Bob Bassel and Bob Wolford
                                                                        about status of SMA issues (.20).
  8/15/23   B230       JGM               .20    550.00         110.00   Address status of resolution of outstanding
                                                                        budget issues with Bob Wolford and Bob
                                                                        Bassel.
  8/16/23   B230       JGM               .90    550.00         495.00   Address status of budget with Dorian Wright
                                                                        (.20); email to Committee to address status
                                                                        of budget and seek approval for payment of
                                                                        payroll and status of other pending matters
                                                                        (.30); follow up call with Dorian about same
                                                                        (.10); address budget with Matt George
                                                                        (.10); email from Maribeth Thomas about
                                                                        same (.10); email to Committee confirming
                                                                        approval to pay payroll (.10).
  8/16/23   B230       JGM              1.30    550.00         715.00   Address status of resolving budget issues
                                                                        with Bob Bassel and Bob Wolford and need
                                                                        to approve payment of payroll (.30); advise
                                                                        Deb Fish of outstanding budget issues (.20);
                                                                        review and consider email from Ronna
                                                                        Jackson about authorization to pay payroll
                                                                        (.10); address same with Bob Bassel (.20);
                                                                        follow up calls with Bob Bassel and Bob
                                                                        Wolford about same (.20); follow up call with
                                                                        Bob Wolford about budget issues (.30).




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     Date   Task       Atty           Hours       Rate       Amount     Descrip Of Services
  8/17/23   B230       JGM             3.40     550.00       1,870.00   Address cash collateral and infusions from
                                                                        Auxo and how to proceed with Ronna
                                                                        Jackson, Bob Bassel and Kim Clayson (.30);
                                                                        address revised interim budget with Bob
                                                                        Bassel (multiple calls) (1.0); address same
                                                                        with Bob Wolford (multiple calls (1.0);
                                                                        address email from Auxo confirming new
                                                                        budget (.10); address emails from Julie
                                                                        Teicher regarding same (.20); address
                                                                        payment under budget for SMA with Debi
                                                                        Fish and Bob Bassel (.30); address same
                                                                        with Bob Wolford (.20); review email from
                                                                        Bob Wolford about same (.20); review email
                                                                        from Debi Fish about same (.10).
  8/17/23   B230       JGM               .80    550.00         440.00   Address new budget issues with Matt
                                                                        George (multiple calls ) (.20); address same
                                                                        with Dorian Wright (.10); emails to and from
                                                                        Committee members about new budget and
                                                                        approval of same (.50).
  8/18/23   B230       JGM               .20    550.00         110.00   Address new cash budget through
                                                                        September 1, 2023 from Russ Long.
  8/18/23   B230       JGM               .20    550.00         110.00   Address emails to Committee about new
                                                                        budget and approval of same.
  8/18/23   B230       JGM               .20    550.00         110.00   Address email from Deborah Fish about
                                                                        payment of SMA under budget.
  8/18/23   B230       KRC               .80    370.00         296.00   Reviewed and analyzed 5-week budget and
                                                                        communicated with Committee regarding
                                                                        approval.
  8/21/23   B230       JGM               .20    550.00         110.00   Review and respond to emails from
                                                                        members of the Committee about approval
                                                                        of new budget.
  8/22/23   B230       JGM               .40    550.00         220.00   Address and consider email from Debbie
                                                                        Fish about payments to SMA (.20); follow up
                                                                        call with Bob Bassel about same (.20).
  8/23/23   B230       JGM               .20    550.00         110.00   Review and respond to email from Deb Fish
                                                                        about payment to SMA.
  8/25/23   B230       JGM               .10    550.00          55.00   Address email from Dorian Wright about
                                                                        status of payment on administrative claims.
  8/26/23   B230       JGM               .30    550.00         165.00   Address status of budgeted unpaid
                                                                        administrative claims with Bob Bassel and
                                                                        Russ Long and analysis of same needed for
                                                                        evaluation of how to proceed with sale.
  8/27/23   B230       JGM               .20    550.00         110.00   Review and respond to email from Russ
                                                                        Long about budget issues and extent of
                                                                        administrative claims that are owed.
  8/28/23   B230       JGM               .60    550.00         330.00   Review and address email from and to Deb
                                                                        Fish about payment of administrative claims
                                                                        under the budget (.30); follow up call to Deb
                                                                        Fish to address same (.10); email to Bob
                                                                        Wolford to confirm obligation of Auxo to fund
                                                                        administrative claims (.20).




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     Date   Task       Atty              Hours        Rate        Amount     Descrip Of Services
  8/29/23   B230       JGM                 .30      550.00         165.00    Email to Bob Bassel to address approval
                                                                             and filing of September 1st budget and
                                                                             completion and circulation of September
                                                                             15th budget and follow up email to Bob
                                                                             Wolford about same.
                                          31.90                $ 16,699.00   Sub Total




Name                                  Staff Level                     Hours              Rate                      Total
Judith G. Miller                      Of Counsel                       27.20           550.00                  14,960.00
Kimberly Clayson                      Of Counsel                        4.70           370.00                   1,739.00
TOTALS                                                                 31.90                                 $ 16,699.00




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B310 Claims Administration and Objections


     Date   Task       Atty            Hours          Rate       Amount      Descrip Of Services
  8/28/23   B310       JGM               .30        550.00        165.00     Review and assess analyses of outstanding
                                                                             administrative claims circulated by Russ
                                                                             Long.
  8/30/23   B310       KRC                  .50     370.00         185.00    Reviewed and analyzed recoupment issues
                                                                             with CMS and related research.
                                            .80                  $ 350.00    Sub Total




Name                                  Staff Level                           Hours            Rate                  Total
Judith G. Miller                      Of Counsel                              .30          550.00                 165.00
Kimberly Clayson                      Of Counsel                              .50          370.00                 185.00
TOTALS                                                                        .80                               $ 350.00




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B320 Plan and Disclosure Statement


     Date   Task       Atty             Hours         Rate        Amount     Descrip Of Services
  8/03/23   B320       JGM                .20       550.00         110.00    Address extension of plan deadlines and
                                                                             position of UST with Bob Bassel.
  8/04/23   B320       JGM                 .30      550.00         165.00    Address extension to file plan and disclosure
                                                                             statement with Ronna Jackson (.20); advise
                                                                             Bob Bassel about same (.10).
  8/07/23   B320       JGM                 .20      550.00         110.00    Address stipulation and order to extend plan
                                                                             dates with Bob Bassel.
  8/08/23   B320       JGM                 .60      550.00         330.00    Review and respond to emails from Bob
                                                                             Bassel about stipulation and order to extend
                                                                             plan dates (multiple emails ) (.40); review
                                                                             and respond to email from Ronna Jackson
                                                                             about same (.20).
  8/08/23   B320       JGM                 .20      550.00         110.00    Review and revise proposed stipulation and
                                                                             order to extend plan dates.
  8/08/23   B320       JGM                 .50      550.00         275.00    Transmit proposed stipulation and order to
                                                                             Committee to seek approval to extend plan
                                                                             dates (.20); review emails from Committee
                                                                             members about same (.10); confer with Matt
                                                                             George about proposed stipulation and
                                                                             order and other pending issues related to
                                                                             ERC (.20).
  8/10/23   B320       JGM                 .20      550.00         110.00    Address entry of order extending plan dates
                                                                             (.10); docket same (.10).
  8/30/23   B320       JGM                 .50      550.00         275.00    Address exhibits needed for plan and
                                                                             disclosure statement and preparation of
                                                                             liquidation trust agreement and scheduling
                                                                             of meeting with Bob Bassel and Russ Long.
  8/31/23   B320       JGM                 .20      550.00         110.00    Address and prepare for meeting with Bob
                                                                             Bassel and Russ Long to discuss disclosure
                                                                             statement and plan.
  8/31/23   B320       KRC                2.50      370.00         925.00    Reviewed draft liquidating trust, plan and
                                                                             disclosure statement requirements and
                                                                             prepared list of items required for combined
                                                                             plan.
                                          5.40                  $ 2,520.00   Sub Total




Name                                  Staff Level                       Hours              Rate                     Total
Judith G. Miller                      Of Counsel                         2.90            550.00                  1,595.00
Kimberly Clayson                      Of Counsel                         2.50            370.00                    925.00
TOTALS                                                                   5.40                                  $ 2,520.00




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                                                         22
                                                                                      Taft Stettinius & Hollister LLP

Client/File #110698/00001                                                                       Invoice #: 6155209



SUMMARY OF PROFESSIONAL SERVICES

Name                                  Staff Level                 Hours           Rate                        Total
Paul R. Hage                          Partner                        .70        520.00                       364.00
Judith G. Miller                      Of Counsel                   85.70        550.00                    47,135.00
Kimberly Clayson                      Of Counsel                   34.20        370.00                    12,654.00
TOTALS                                                            120.60                                $ 60,153.00




                                         TOTAL PROFESSIONAL SERVICES                                   $ 60,153.00


                                         TOTAL THIS INVOICE                                            $ 60,153.00




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                                                         23
                                    EXHIBIT 6

                         (Biographies of Taft Professionals)




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David M. Abromowitz
Partner / Columbus

E dabromowitz@taftlaw.com
T (614) 220-0232
C (614) 496-0635
F (614) 221-2007



David guides his clients through business and health care            Practices
matters. He represents medium to large-size businesses with a        Corporate Governance
focus on representing health care professionals and health care
                                                                     Real Estate
entities.
                                                                     Employment Law
David has extensive experience in structuring business entities,
                                                                     Industries
negotiating and documenting transactions, planning and
negotiating acquisitions, divestitures, mergers, and counseling in   Health Care and Life Sciences
employment matters. In his health law practice, David focuses on     Hospitals and Health Systems
practice formation and acquisition, hospital and joint venture       Medical and Dental Groups
transactions, contract review and preparation, compliance
                                                                     Audits, Investigations and
programs, licensing board issues, HIPAA regulations and Stark
                                                                     Healthcare Litigation
law, and anti-kickback statutes.
                                                                     Education
                                                                     University of Dayton School of
                                                                     Law (1990)
                                                                     Washington & Jefferson College
                                                                     (1987)

                                                                     Admissions
                                                                     State - Ohio




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Elizabeth M. Little
Associate / Indianapolis

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T (317) 713-3493
F (317) 713-3699



Elizabeth is an associate in Taft’s Bankruptcy and Restructuring       Practices
group in the Indianapolis office. She provides integrated and          Bankruptcy and Restructuring
strategic legal counsel on financial matters, including complex
                                                                       Creditors' Rights
financial transactions, corporate debt restructurings, related
                                                                       Creditors' Committees
litigation matters, and commercial contracts.
                                                                       Chapter 11 Debtors
Elizabeth advises and supports corporate debtors, creditors, and       Troubled Companies
financial stakeholders facing distressed financial situations in
various industries, including the finance, real estate, for-profit     Industries
college, and agribusiness industries. She advises clients on           Financial Services
various matters, including loan workouts, complex financial
transactions, corporate debt restructuring, and prebankruptcy          Education
contingency planning. Elizabeth also has experience
                                                                       Indiana University Robert H.
representing debtors, creditors, committees, trustees, and other       McKinney School of Law (2016)
interested parties in bankruptcy, including in national Chapter 11
                                                                       Indiana University - Purdue
bankruptcy cases.                                                      University, Indianapolis (2011)

Elizabeth earned her J.D., summa cum laude, from the Indiana           Admissions
University Robert H. McKinney School of Law. While in law
                                                                       State - Indiana
school, Elizabeth worked as a legal extern with the American Civil
Liberties Union of Indiana, as a judicial extern for the Hon. Tim A.   Federal - Northern District of
                                                                       Indiana
Baker, U.S. District Court for the Southern District of Indiana, and
was an Executive Notes Editor for the Indiana Law Review.              Federal - Southern District of
                                                                       Indiana
                                                                       Federal - 7th Circuit Court of
                                                                       Appeals




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Professional Affiliations
• Indianapolis Bar Association, Board Member, Commercial and Bankruptcy Law Section
• Turnaround Management Association, Member

Community Involvement
• Indiana Legal Answers, Volunteer




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Emily M. Mayer
Partner / Detroit (Southfield)

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T (248) 727-1620
F (248) 351-3082



Emily is a partner in Taft’s Commercial Litigation, Insurance          Practices
Recovery, and Appellate practice groups. She represents                Appellate
businesses and individuals in all areas of commercial litigation,
                                                                       Commercial Litigation
including membership, partnership, and shareholder disputes,
                                                                       Insurance Recovery
contract disputes, restrictive covenants, and business torts.
                                                                       Industries
Emily works with her clients to understand precisely the resolution
they seek and then develops a specific strategy tailored to            Automotive
achieve that desired outcome, which can range from filing suit or
asserting counterclaims to defending lawsuits with the goal of         Education
minimizing potential liability and expense. She has achieved           Wayne State University Law
successful outcomes and favorable settlements for her clients at       School
trial and on appeal, as well as through dispositive motion practice,   University of Michigan
mediation, and negotiation.
                                                                       Admissions
                                                                       State - Michigan




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Notable Matters

 •   First-chaired a multi-day trial regarding ownership of commercial property and obtained judgment in
     client’s favor on all claims and counterclaims.
 •   Briefed legally significant member oppression issue for the Michigan Supreme Court, resulting in a
     favorable ruling.
 •   Successfully obtained temporary restraining orders and preliminary injunctions for violations of non-
     competition agreements and other restrictive covenants.

Speeches and Publications

 •   “Uncertainty Abounds. The Joint Employer Doctrine and the Franchise Business Model,” Michigan
     Bar Journal (May 2017)
 •   Michigan Business Network Radio interview: Hiring Employees in Canada (August 2015)

Awards
• Honoree, Best Lawyers® “Ones to Watch” (2021 – present)
• Honoree, Michigan Super Lawyers Rising Stars, Business Litigation (2018 – 2022)
• “Up and Coming” Lawyer, Michigan Lawyers Weekly (2021)

Professional Affiliations
• State Bar of Michigan, Member
• Oakland County Bar Association, Member

Community Involvement
• Academy of the Sacred Heart, Chair, Board of Trustees, Past President, Alumnae Board




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Eric Novetsky
Partner / Detroit (Southfield)

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T (248) 727-1406
F (248) 351-3082



Eric is a partner in our Lending and Finance, Asset-Based          Practices
Lending, Mezzanine Finance, Real Estate Finance, and               Lending and Finance
Bankruptcy and Restructuring practice groups. He represents
                                                                   Asset-Based Lending
lenders and borrowers in traditional and non-traditional
                                                                   Real Estate Finance
commercial loan transactions, including asset-based, mezzanine,
acquisition, construction, real estate, and government-backed      Mezzanine Finance
financings. Eric also represents lenders and other creditors in    Bankruptcy and Restructuring
workouts, forbearance arrangements, surrender agreements, and
related matters in and outside of bankruptcy. Utilizing an         Industries
extensive pre-legal career background in supply chain              Automotive
management and automotive manufacturing, Eric also works with
                                                                   Financial Services
manufacturing and transportation companies on supply/sale
agreements, financings, workouts, insolvency proceedings, and a    Transportation
wide range of other matters tied to customer/supplier agreements
                                                                   Education
and relationships.
                                                                   Wayne State University Law
                                                                   School
                                                                   University of Michigan, Dearborn
                                                                   Michigan State University

                                                                   Admissions
                                                                   State - Michigan
                                                                   Federal - U.S. District Court for
                                                                   the Eastern District of Michigan
                                                                   Federal - U.S. District Court for
                                                                   the Western District of Michigan
                                                                   Federal - U.S. Court of Appeals
                                                                   for the Sixth Circuit




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Speeches and Publications

 •   “The Absolute Priority Rule as an Absolute Rule: The Rejection of Secured Creditor ‘Gifting’ Under a
     Chapter 11 Plan of Reorganization,” Commercial Law League of America, Bankruptcy Law Section
     Newsletter, October 2011.
 •   “Second Circuit Holds that Section 502(d) Does Not Apply to Administrative Expense Claims Under
     Section 503(b)(9) of the Bankruptcy Code,” Commercial Law League of America, Bankruptcy Law
     Section Newsletter, 2009.
 •   “Fifth Circuit Holds that Courts Should Consider Counsel’s Lack of Involvement With Party in Ruling
     on Disqualification Due to Imputed Conflict,” American Bankruptcy Institute, Ethics Committee, 2009.

Awards
• Honoree, Michigan Super Lawyers Rising Star (2012-2018)

Professional Affiliations
• American Bankruptcy Institute, Member
• Credit Abuse Resistance Education (CARE), Co-Chair, Detroit Michigan Chapter
• Federal Bar Association, Member
• State Bar of Michigan, Member
• Turnaround Management Association, Board of Directors, Michigan Chapter, 2016-present
• Turnaround Management Association NextGen, Founding Member of Board of Directors, 2013-2016




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John P. Decker
Partner / Detroit (Southfield)

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T (248) 727-1404
F (248) 351-3082



John has significant experience with complex business                 Practices
transactions, including mergers and acquisitions, financings,         Mergers and Acquisitions
private equity and venture capital investments, cross-border
                                                                      Venture Capital and Emerging
transactions, general contracts, and securities. He represents a      Companies
diverse client base ranging from individual entrepreneurs and
                                                                      Securities - Corporate
professional athletes to private equity firms, private foundations,
and global businesses. In addition, John serves as outside            Corporate Governance
general counsel to several firm clients in support of their day-to-   Investment Funds
day and strategic, long-term operations.
                                                                      Industries
                                                                      Nonprofit and Tax-Exempt
                                                                      Organizations
                                                                      Sports
                                                                      Media and Entertainment

                                                                      Education
                                                                      Harvard Law School
                                                                      London Business School
                                                                      University of Michigan Business
                                                                      School

                                                                      Admissions
                                                                      State - Michigan
                                                                      State - Illinois




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Notable Matters

 •     Represented Green Charge Networks, LLC (n/k/a ENGIE Storage), an industry-leading battery
       storage company based in California, in its equity sale to ENGIE, a global power, natural gas, and
       energy services company based in France.
 •     Represented Metro Sanitation, LLC in connection with its sale of assets and real estate to Toronto-
       based GFL Environmental Inc.
 •     Represented Dürr Ecoclean, Inc., a subsidiary of Dürr AG, a global mechanical and plant
       engineering firm based in Germany, in the sale of its Filtration Systems and Products Group to
       strategic buyer.
 •     Represented Netarx in its sale to Logicalis Group, an international provider of IT and
       communications technologies based in Berkshire, England.
 •     Represented the Detroit Zoological Society in its acquisition of the management rights to the Detroit
       Zoological Park from the City of Detroit.

Speeches and Publications

 •     “A Sidebar with John Decker,” Michigan Lawyers Weekly, May 1, 2020.

Awards
• Crain’s Detroit Business “40 Under 40” (2010)
• Honoree, Michigan Lawyers Weekly “Leaders in the Law” (2020)

Professional Affiliations
• State Bar of Michigan, Member, Business Law Section
• American Bar Association, Member, Business Law Section

Community Involvement
• The Detroit Historical Society, Chair, Board of Trustees, Member, Executive Committee, Chair,
     Governance and Nominating Committee




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John R. McDonald
Partner / Minneapolis

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T (612) 977-8754
C (612) 799-5275
F (612) 977-8650



John is a seasoned commercial insolvency attorney who focuses         Practices
his practice principally in the areas of Bankruptcy, Workout,         Bankruptcy and Restructuring
Creditors’ Rights, Distressed Transactions, and Financial
                                                                      Creditors' Rights
Litigation. During his 38 years in practice, he has represented
virtually every type of interested party in insolvency-related        Education
matters across the country, encompassing all manner of
                                                                      Mitchell Hamline School of Law
contested bankruptcy/adversary proceedings, state and federal         (1985)
receiverships, real estate and Article 9 foreclosures, distressed
                                                                      University of New Hampshire,
asset sales, assignments for the benefit of creditors, and multi-     M.A. (1982)
billion dollar Ponzi scheme clawback defense. He has appeared
                                                                      University of St. Thomas, B.A.
in bankruptcies in nearly every district in the country and has
been involved in litigation before the Multidistrict Panel and the
                                                                      Admissions
United States Supreme Court.
                                                                      State - Minnesota
John is a continuing co-author of the “Asset Sales” chapter of the    Federal - U.S. Supreme Court
Bankruptcy Practice in Minnesota Deskbook and has written             Federal - 8th Circuit Court of
articles on a broad array of topics. He is also a frequent lecturer   Appeals
on bankruptcy, creditors’ rights, and commercial topics, has
                                                                      Federal - 5th Circuit Court of
chaired the bankruptcy departments of two major law firms, was a      Appeals
founding board member of the Upper Midwest Chapter of the
                                                                      Federal - District of Minnesota
Turnaround Management Association, and is often quoted locally
on bankruptcy and turnaround topics.

In the community, John is a member of the advisory board to the
Center for Law and Business at Mitchell Hamline School of Law,
sat on the Saint Paul Sales Tax Revitalization Board (appointed
by Mayor Coleman), chaired a $6 million capital campaign for his
local parish, and served as a crisis nursery foster parent for
Children’s Home Society of Minnesota.




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Notable Matters

Current and recent engagements include representation of:

 •   Secured lender in crypto-related Chapter 11 of Core Scientific, Inc. (Bankr. S.D. Tex.);
 •   General receiver in Minnesota state court receivership involving sale of 17-story office tower in
     downtown St. Paul;
 •   Successful bidder in all-asset 363 sale of chicken processing plant in Chapter 7 of Simply Essentials,
     LLC (Bankr. N.D. Iowa);
 •   Storage facility lessor in Chapter 11 case of Wexford Labs (Bankr. S.D. Ill.);
 •   Secured creditor in Chapter 11 bankruptcy of wound care manufacturer Advanced Tissue, LLC
     (Bankr. E.D. Ark.);
 •   Shopping center lessor in Chapter 7 case of Tip Top Tux (Bankr. N.D. Ga.);
 •   Unsecured and priority creditor in Chapter 11 case of Briggs and Stratton (Bankr. E.D. Mo.);
 •   Municipality and Port Authority as lessors in Chapter 11 of Hylife Foods (Bankr. D. Del.);
 •   Landlord of main headquarters of Texas-based Chapter 11 debtor CiCi’s Pizza (Bankr. N.D. Tex.);
 •   National bank and non-bank finance company as defendants in multi-billion dollar clawbacks in
     Polaroid and Petters Ponzi-scheme bankruptcies and related receiverships (Bankr. D. Minn., D.
     Minn., and 8th Cir.);
 •   Creditor/defendant railroad in multi-billion dollar mass-tort-related Chapter 11 of Montreal Maine &
     Atlantic Railway, Ltd. and its associated Chapter 15 (Bankr. D. Me., 1st Cir., U.S. Sup. Ct.);
 •   Second-lien lender in workout involving California precision metals manufacturer;
 •   Unsecured creditor with 503(b)(9) claim in Borden Dairy Company Chapter 11 (Bankr. D. Del.);
 •   Secured creditor in $30 million receivership involving frack sand company in Wisconsin state court;
 •   Clawback defendant in Ponzi scheme-related Chapter 11 of Woodbridge Group of Companies, LLC
     (Bankr. D. Del.);
 •   Shareholder/guarantor in $20 million frack sand-related receivership in Minnesota state court;
 •   Landlord of main headquarters of Chapter 11 debtor USA Gymnastics (Bankr. S.D. Ind.);
 •   Judgment lien holder/former owner in environmental-related Chapter 11 of defense manufacturer
     Wellman Dynamics Corp. (Bankr. S.D. Iowa) (M&A Advisor’s 2018 Industrials Deal of the Year);
 •   Software Licensor in Chapter 11 of electronics manufacturer HEI, Inc. (Bankr. D. Minn.) (Turnaround
     Management Association’s 2016 Winner, National Transaction of the Year);
 •   Forward contract merchant counterparties in bankruptcies of Cloud Peak Energy, Inc. (Bankr. D.
     Del.) (coal), G & R Feed and Grain Co., Inc. (Bankr. S.D. Iowa) (grain), and Louisiana Pellets, Inc. in
     (Bankr. W.D. La.) (wood pellets);
 •   Corporate and individual defendants in case of Central States Southeast & Southwest Areas Pension
     Fund v. Lakeville Transportation, Inc. involving $100+ million in alleged controlled-group withdrawal
     liability (D. Minn.);
 •   Successful bidder in 363 sale of loan servicer in Chapter 11 of bank holding company American
     Bancorporation (Bankr. D. Minn.);
 •   Second-lien lender with $25 million claim in Stant Parent Corp.’s automotive-related Chapter 11
     (Bankr. D. Del.);
 •   Agent bank in $100+ million syndicated loan workout and ensuing Chapter 11 cases in Minnesota
     involving large national building products conglomerate Lyman Lumber Company (Bankr. D. Minn.)
     (Turnaround Management Association’s 2009 Winner, National Middle Market Transaction of the




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     Year);
 •   Official Committees of Unsecured Creditors in numerous Chapter 11 cases, including (i) Universal
     Map Enterprises, Inc., a manufacturer and distributor of maps (Bankr. W.D. Mich.); (ii) Citi-Equity
     Group, Inc., $100+ million Ponzi scheme involving low-income housing (Bankr. D. Minn.); (iii)
     Jonathan Brooks Hauser, owner of Canterbury Downs Race Track and Hauser Foods, Inc. (Bankr.
     D. Minn.); (iv) Retail Holdings Group Inc., retail clothing chain (Bankr. D. Minn.); and (v) Monica
     Scott, Inc., retail clothing chain (Bankr. D. Minn.);
 •   Regional bank in $110 million workout involving real estate developer with residential projects
     throughout U.S.;
 •   Chapter 11 debtor in Minnesota-based Sun Country Airlines reorganization, the first scheduled-
     service air carrier to file bankruptcy post-9/11, resulting in agreed-upon lifting of stay and
     unprecedented Article 9 disposition of airline by lender (Bankr. D. Minn.) ;
 •   DIP lender/lessor and plan co-proponent in Chapter 11 of Recomm International Display Corp., Inc.,
     a marketer/vendor of electronic advertising display equipment (Bankr. M.D. Fla.), and as defendant
     in related multi-district litigation involving hundreds of individual, class and mass actions across the
     U.S.;
 •   Business interruption insurers holding $500 million claim in contested confirmation in Chapter 11
     case of The Olympic Pipe Line Company venued in the (Bankr. W.D. Wash.);
 •   Administrative expense claimant in ethanol/bio-fuel conglomerate VeraSun Energy Corporation’s
     Chapter 11 (Bankr. D. Del.);
 •   Professional baseball and football teams in issuance of non-consolidation and non-relocation legal
     opinions associated with public financing of Target Field (MLB) and U.S. Bank Stadium (NFL) in
     Minneapolis;
 •   Outside directors of large utility company in out-of-court workout involving over $10 billion of debt,
     with follow-on representation in Chapter 11 cases of NRG Energy and its 25 affiliates in (Bankr.
     S.D.N.Y.);
 •   Sole shareholder/plan co-proponent in Chapter 11 of national home health care company, Intrepid
     U.S.A., Inc., and its nearly 60 affiliates venued in (Bankr. D. Minn.);
 •   Founder/sole shareholder in distressed sale of national IT consulting firm;
 •   Mixed-use, commercial, and residential developers in bankruptcy acquisitions in Washington, D.C.
     and surrounding area;
 •   Physician-owned clinic in workout and distressed sale of largest private practice clinic in South
     Dakota;
 •   Large multi-national bank in Chapter 11 of national scheduled-service bus company Jefferson Lines
     (Bankr. D. Minn.);
 •   Multi-bank lender group in 363 sale of Chapter 11 debtor Benson Optical, Inc., a national
     manufacturer/retailer of optical equipment in (Bankr. N.D. Tex.);
 •   Asset-based, mezzanine, and alternative lenders in multiple workouts, bankruptcies, and collection
     matters in state and federal courts across the U.S.;
 •   National bank against large student loan finance company in S. Bank National Association v. Student
     Loan Finance Corporation (D. Minn.);
 •   Private lender in Minnesota state court fraudulent transfer/debt recharacterization case of Arena
     Development, LLC v. Naegele Communications, Inc. stemming from UCC Article 9 disposition;
 •   Manufacturer/lessor Pitney Bowes, Inc.in class and mass action defense matters throughout the U.S.
     involving small ticket leasing; and




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 •     Leading agricultural conglomerate in business-to-business non-compete case of Cargill
       Incorporated v. E.I. duPont de Nemours and Company in Minnesota state court.

Awards
• Honoree, Best Lawyers in America, Bankruptcy and Creditor Debtor Rights / Insolvency and
     Reorganization Law(2013 – present)
• Honoree, America’s Top 100 High Stakes Litigators®
• Honoree, Top Lawyers, Bankruptcy and Creditor Debtor Rights / Insolvency and Reorganization Law,
  Minnesota Monthly (2023)
• Honoree, Leading American Attorney, American Research Corporation

Professional Affiliations
• Minnesota State Bar Association, Member, Bankruptcy Section
• Hennepin County Bar Association, Member
• Ramsey County Bar Association, Member
• American Bar Association, Member
• American Bankruptcy Institute, Member
• Turnaround Management Association, Member and Founding Board Member of Upper Midwest
     Chapter
• Equipment Leasing and Finance Association, Member

Community Involvement
• Mitchell Hamline School of Law Center for Law and Business, Advisory Board Member
• Saint Paul Sales Tax Revitalization Board, Member, Mayor Appointed
• Children’s Home Society of Minnesota, Crisis Nursery Foster Parent
• Lumen Christi Parish, Capital Campaign Co-Chair




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Judith Greenstone Miller
Senior Counsel / Detroit (Southfield)

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T (248) 727-1429
F (248) 351-3082



Judy is an attorney in our Bankruptcy and Restructuring and            Practices
Privacy and Data Security practice groups. She specializes in          Bankruptcy and Restructuring
bankruptcy, insolvency, creditors’ rights and commercial litigation.
                                                                       Commercial Litigation
Her practice involves representing debtors, secured and
                                                                       Arbitration and Mediation
unsecured creditors, creditors’ committees, and trustees in
bankruptcy proceedings, primarily involving Chapter 11
                                                                       Education
reorganizations. Judy also represents parties in litigation in
complex commercial disputes. She has testified numerous times          Wayne State University Law
                                                                       School
on pending bankruptcy legislation before the National Bankruptcy
Review Commission, the Judiciary Committees of the United              University of Michigan
States House of Representatives, and the United States Senate.
                                                                       Admissions
Judy is a frequent lecturer nationally and has authored and co-
authored many articles on bankruptcy law and procedure, revised        State - Michigan
Article 9 of the Uniform Commercial Code, and state law creditor       Federal - U.S. District Court for
rights issues, including receiverships and domestic asset              the Eastern District of Michigan
protection trusts.                                                     Federal - U.S. District Court for
                                                                       the Western District of Michigan
                                                                       Federal - U.S. Court of Appeals
                                                                       for the Sixth Circuit




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Notable Matters

 •   Reported decision in In re Trident Associates, L.P., 53 F.3d 127 (6th Cir. 1995).

Speeches and Publications

Publications

 •   Co-Author, The New Small Business Bankruptcy Law: What You Need to Know,“ Mich.Bus.L.J. (Fall
     2019).
 •   “The New Michigan Commercial Real Estate Receivership Act,” (May 2018).
 •   “The New Michigan Domestic Asset Protection Trust Statute and Its Impact on Fraudulent Transfer
     Law,” 38 Mich.Bus.L.J. 24 (Spring 2018).
 •   “The New Michigan Domestic Asset Protection Trust Statute,” (October 2017).
 •   “The Sixth Circuit Court of Appeals Holds That a Perfected Assignment of Rents Enforced Pre-
     Petition Excludes Such Rents From Being Property of the Bankruptcy Estate,” 37 Mich.Bus.L.J. 37
     (Spring 2017).
 •   “The FTC’s Expansive ‘Watch Dog’ Role in Questions – How Business Should Respond,” (2017).
 •   “New Ruling by U. S. Supreme Court on Standing to Pursue Litigation – Alleging a ‘Mere Statutory
     Violation’ Is Not Sufficient to Confer Article III Standing for a Federal Cause of Action,” 36
     Mich.Bus.L.J. 39 (2016).
 •   “Summary of Powers of an Emergency Manager Under Public Act 436.” (July 2014).
 •   “Summary of Options for Local Governments Determined to be in a Financial Emergency to Elect
     Under Michigan Public Act 436,” (July 2014).
 •   “A Guide to Chapter 9 of the Bankruptcy Code: What You Need to Know,” (2013).
 •   “The Constriction of Bankruptcy Court Jurisdiction: The Limitations of Post-Confirmation Jurisdiction
     and Impediments to Pursuing Causes of Action.” (2012).
 •   “Of Claims, Planes and Automobiles — Recent Developments on Section 503(b)(9) and Reclamation
     Claims,” American Bar Association Newsletter (2009).
 •   “503(b)(9) Claimants-The New Constituent, A.K.A ‘The 500 Pound Gorilla’ at the Table,” DePaul Bus.
     & Comm.L.J., Vol. 5, No. 3 (2007).
 •   “Waivers of Automatic Stay: Are They Enforceable,” Real Property, Probate and Trust Journal, Vol.
     41, Number 2 (2006).
 •   “Protecting Professional Fees From Disgorgement: Obtain Carve-Outs From Secured Creditors to
     Safeguard Against Uncertainties,” American Bankruptcy Institute Journal, Vol. XXV, No. 5 and No. 6
     (2006).
 •   “Lenders Best Practices, Rights and Remedies, Michigan Special Tools and Mold Lien Act,”
     (February 2005).
 •   “The Plan of Reorganization: A Thing of the Past: Pushing the Envelope in Liquidation of the Estate:
     Reexamining Sections 363 and 365 of the Bankruptcy Code,” Journal of Bankruptcy Law and
     Practice, Vol. 13 (August 2004).
 •   “The Ultimate Garage Sale – Disposing of a Troubled Company,” Business Law Today, Vol. 14, No.
     1, pg. 11 (Sept./Oct. 2004).
 •   “Waivers of Automatic Stay,” 26 Mich. Real Property Review 195 (2000).
 •   “U.S. Supreme Court Rules on “New Value” or Does It?,” 26 Mich. Real Property Review 67 (1999).
 •   “Sales of Real Estate and Other Property of Bankruptcy Estates Under the Revised Local Bankruptcy




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     Rules of the U.S. Bankruptcy Court for the Eastern District of Michigan,” 26 Mich. Real Property
     Review 19 (1999).
 •   “The ‘New Value’ Exception: Myth or Reality After Bank of America National Trust & Savings
     Association v. 203 N. LaSalle Street Partnership,” 104 Comm.L.J. 147 (1999).
 •   “Recent Developments in New Value and Single Asset Real Estate Cases,” 24 Michigan Real
     Property Review 23 (1998).
 •   “Valuation After Commercial Associates Corp. v. Rash; Landlord Beware! What Happens to the
     Option to Renew When the Tenant Files Bankruptcy,” 24 Mich. Real Property Review 135 (1997).

Speaking Engagements

 •   Moderator, “Drafting and Enforcing Contracts in Light of COVID-19,” State Bar of Michigan
     Debtor/Creditors Rights Committee (2021).
 •   Moderator, “Michigan’s ‘New Expanded’ Receivership Act,” State Bar of Michigan Debtor/Creditors
     Rights Committee (2020).
 •   Presenter, “Understanding the Nuts & Bolts of the ‘New’ Subchapter V Small Business Chapter 11,”
     American Bankruptcy Institute Webinar (May 7, 2020).
 •   “ESI (Electronically Stored Information) Under the New Michigan Court Rules,“ Discovery Rules
     Evening Forum, Michigan Association for Justice, (September 26, 2019).
 •   Presenter, “New Commercial Real Estate Receivership Act,” Michigan Judicial Institute, Business
     Law Judges (June 25, 2018).
 •   Moderator, “The ‘New’ (Not So New) Uniform Assignment of Rents Statute – A Sign of Better Things
     to Come?,” American Bar Association, Business Bankruptcy Committee (April 13, 2018).
 •   Presenter, “Assignment of Rents and Bankruptcy,” State Bar of Michigan, Debtor/Creditor Rights
     Committee (August 9, 2017).
 •   Presenter, “Electronic Discovery (ESI) Issues For Business Lawyers,” ABA Business Law Section,
     Spring Meeting (April 2016).
 •   Moderator, “The New Playing Field for State Court Receivership: The View from the Bench,” State
     Bar of Michigan Business Law Section (Spring 2015).
 •   Keynote Luncheon Speaker, “Ethics – Honor the Profession,” American Bankruptcy Institute, 2015
     Chicago Consumer Bankruptcy Conference (October 12, 2015).
 •   Presenter, “Electronically Stored Information (ESI) and Discovery Issues in Bankruptcy,” Federal Bar
     Association, Western District of Michigan, 27th Annual Bankruptcy Seminar (July 31, 2015).
 •   Moderator, “All You Ever Wanted to Know (And Were Afraid to Ask But Now Can!) About the Detroit
     Bankruptcy,” Joint Program of the Debtor-Creditor Rights Committee of the Business Law Section of
     the State Bar of Michigan and the Bankruptcy Section of the Federal Bar Association of the Eastern
     District of Michigan (July 2015).
 •   Presenter, “Electronically Stored Information (ESI) Discovery for Bankruptcy Practitioners,” Debtor-
     Creditor Rights Committee of the Business Law Section of the State Bar of Michigan (May 15, 2015).
 •   Presenter, Campbell Law School Symposium on Municipal Restructurings (October 17, 2014).
 •   Presenter, “Take the Fight Outside! Dispute Resolution in Commercial Finance – Protecting the
     Value of the Deal, Use and Enforcement of Arbitration Provisions in Workouts and Bankruptcy
     Cases,” American Bar Association, Business Law Section Fall Meeting (September 12, 2014).
 •   Moderator, “MCR 2.621 and MCR 2.622 – The New Playing Field for State Court Receiverships,”
     (June 10, 2014).




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 •   Presenter, “Electronic Discovery (ESI) Issues in Bankruptcy Cases (When Electronic Discovery and
     Bankruptcy Collide)” The Bankruptcy & Insolvency Litigation Committee, the Business Bankruptcy
     Committee, and the Bankruptcy Court Structure and Insolvency Process Committee Roundtable
     (March 6, 2014).
 •   Presenter, “The ABI National Ethics Task Force Report,” Cleveland Bar Association, 2013 O’Neill
     Institute (June 7, 2013).
 •   Presenter, “Presentation of the Final Report of the Ethics Task Force,” American Bankruptcy
     Institute, 31st Annual Spring Meeting (April 21, 2013).
 •   Presenter, “Complex Bankruptcy Litigation in a Stern World,” American Bankruptcy Institute, 24th
     Annual Winter Leadership Conference (November 30, 2012).
 •   Presenter, “I Consent [To the Bankruptcy Court Hearing] – Not So Fast!!!,” American Bar
     Association, Business Bankruptcy Committee, Business Law Section (November 27, 2012).
 •   Presenter, “It’s Never Over: Post-Confirmation Jurisdiction, Liquidating Trusts and the Continuing
     Pursuit of Assets,” Commercial Law League of America, Current Developments in Hot & Emerging
     Areas of Bankruptcy, National Conference of Bankruptcy Judges (October 25, 2012).
 •   Presenter, “What Non-Bankruptcy Attorneys Need to Know About Bankruptcy,” State Bar of
     Michigan, Solo and Small Practitioner’s Section (October 2012).
 •   Presenter, “What Have You Done to Me Lately? Stern v. Marshall and Bankruptcy Court
     Jurisdiction,” American Bankruptcy Institute, 18th Annual Central States Bankruptcy Workshop (June
     8, 2012).
 •   Presenter, “Managing Ethical Dilemmas in Restructuring and Turnaround Ethic and Professional
     Responsibility,” Joint TMA/IWIRC Presentation on Ethics (May 16, 2012).
 •   Presenter, “21st Century Ethics – Part I,” American Bankruptcy Institute, Annual Spring Meeting
     (April 2012).
 •   Presenter, “Ethics – National Standards for Professional Conduct by Lawyers in Bankruptcy Cases,”
     State Bar of Wisconsin, Bankruptcy, Insolvency & Creditors Rights Section (March 1—2, 2012).
 •   Presenter, “Ethical Standards Reexamined – A Discussion of New National Ethics Standards for
     Practitioners,” 2012 National CLE Conference (January 6, 2012).
 •   Presenter, “Getting What You Bargained For: Hot Issues Impacting the Chapter 11 Confirmation
     Process, 2012 National CLE Conference (January 6, 2012).
 •   Presenter, “Stern v. Marshall and Bankruptcy Court Jurisdiction,” Commercial Law League of
     America and its Bankruptcy Section, National Webinar (October 4, 2011).
 •   Presenter, “Actions to Avoid and Recover Fees,” American Bankruptcy Institute, Annual Spring
     Meeting (April 2011).
 •   Presenter, “Title II, The Orderly Liquidation Authority Under the Dodd-Frank Wall Street Reform and
     Consumer Protection Act,” The University of Miami Law School, The Business and International
     Comparative Law Symposium (April 2, 2011).
 •   Moderator, “Lehman Failure Replayed: Would FDIC Liquidation Be More Orderly Than Bankruptcy?,”
     American Bar Association, Spring Business Law Meeting, Joint Presentation of the Business
     Bankruptcy Committee and the Banking Committee (April 2011).
 •   Presenter, “Navigating Through the Ethical Maze of Fiduciary Duties: Ratting on Clients and Other
     Hazards,” American Bankruptcy Institute, Valcon Conference (February 25, 2011).
 •   Presenter, “Current Issues in Chapter 11, The Estate Versus the Debtor in Possession – To Whom
     Do You Owe Fiduciary Duties and the Implications of Breaching that Duty and Recent Case Law
     Update,” National CLE Conference (January 6, 2011).




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 •   Presenter, “Iqbal & Twombly: Application of the New Heightened Pleading Standard in Bankruptcy
     Cases,” National CLE Conference (January 6, 2011).
 •   Presenter, “Bankruptcy Basics – What You Need to Know,” Michigan Association of CPA’s
     Construction Industry Conference (August 2010).
 •   Presenter, “The New Financial Reform Act: What Does It Mean For Your Practice?,” American Bar
     Association, National Webinar on Dodd-Frank Wall Street Reform and Consumer Protection Act
     (August 2010).
 •   Presenter, “Ethics & Professional Responsibility – the Basics, Professional Standards for Retention,
     Disclosure, Disinterestedness, Duty of Confidentiality, Inadvertent Disclosure, Conflicts of Interest,
     Mobility of Counsel and E-Discovery Issues,” American Bankruptcy Institute, 28th Annual Spring
     Meeting, Nuts & Bolts Program (April 29, 2010).
 •   Presenter, “Dealing With the 800lb Gorillas – The Practical Guide to Chapter 11 Administration,
     Priority and Reclamation Claims,” National CLE Conference (January 6, 2010).
 •   Presenter, “Litigation: Ethics – Professional Conflicts and Disclosures,” Southeastern Bankruptcy
     Institute (April 23, 2009).
 •   Presenter, “Retail Issues – Reclamation and Section 503(b)(9) Claims,” Southeastern Bankruptcy
     Institute (April 23, 2009).
 •   Presenter, “Navigating the Complex Web of Ethical Issues in Business Bankruptcies: Conflicts of
     Interest, Disclosure, Disinterestedness and Other Issues,” Federal Bar Association, Western District
     of Michigan, Annual Bankruptcy Seminar (July 26, 2008).
 •   Presenter, “Ethics and Change – The New Ohio Code of Professional Responsibility,” Cleveland Bar
     Association, 2008 O’Neill Great Lakes Regional Bankruptcy Institute (May 29, 2008).
 •   Presenter, “What Commercial Litigators Need to Know About Bankruptcy,” State Bar of Michigan,
     Business Law Section, Commercial Litigation Committee (April 30, 2008).
 •   Presenter, “Navigating the Complex Web of Ethical Issues in Business Bankruptcies: Conflicts of
     Interest, Disclosure, Disinterestedness, Disgorgement and Other Issues,” Alleghany Bankruptcy
     Association, 20th Annual Bankruptcy Symposium (November 30, 2007).
 •   Presenter, “Ouch – Administrative Insolvency and Disgorgement of Fees – Case Strategies,”
     American Bankruptcy Institute, Central States Bankruptcy Workshop (June 14, 2007).
 •   Presenter, “The Application of State Ethics Rules in Bankruptcy: Are We Just Holding Our Noses and
     Looking the Other Way?,” American Bankruptcy Institute, 25th Annual Spring Meeting (April 12,
     2007).
 •   Presenter, “Recent Developments Affecting Business and Chapter 11 Cases Under the Bankruptcy
     Abuse Prevention and Consumer Protection Act,” American Bankruptcy Institute, Annual Winter
     Leadership Conference (December 1, 2006).
 •   Presenter, “Everything You Always Wanted to Know (And Didn’t Necessarily Ask) About Creditor
     Committee Representation, Negotiating the Ethical Minefield of Creditors Committee Representation
     – Luring, Landing and Keeping the ‘Big Fish’,” Commercial Law League of America, 21st Annual
     Current Developments in Hot & Emerging Areas, National Conference of Bankruptcy Judges
     (November 2, 2006).
 •   Presenter, “Bankruptcy Ethics,” Detroit Bankruptcy Bar, BAPCPA: One Year Later, A Columbus Day
     Seminar (October 9, 2006).
 •   Presenter, “Recent Developments Affecting Businesses and Chapter 11 Cases Under the
     Bankruptcy Abuse and Consumer Protection Act,” American Bar Association, Annual Meeting,
     Presentation of the Business Bankruptcy Committee (August 5, 2006).




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 •   Presenter, “Analysis of New Bankruptcy Law, Amendments Under the Bankruptcy Abuse Prevention
     and Consumer Protection Act of 2005, Chapter 11 and Business Bankruptcy Amendments,”
     Commercial Law League of America, Midwest Regional Meeting (April 8, 2005).
 •   Presenter, “Proposed Revisions to Bankruptcy Code From S.256 as Relates to Avoidance Actions”,
     American Bar Association, Spring Meeting of the Business Law Section (March 31, 2005).
 •   Moderator, “Getting to a Verdict – Evidence to Successfully Prove an Avoidance Action Through the
     Use of Expert and Consulting Witnesses,” American Bar Association, Spring Meeting of the Business
     Law Section (March 31, 2005).
 •   Presenter, “Tenancy by the Entireties,” American Bankruptcy Institute, 16th Annual Winter
     Leadership Conference (December 2, 2004).
 •   Presenter, “The Plan of Reorganization – A Thing of the Past? Pushing the Envelope in Liquidation
     of the Estate,” American Bankruptcy Institute, Central States Bankruptcy Workshop (June 3, 2004).
 •   Presenter, “Acquisition of the Troubled Company,” American Bar Association, Business Law Section,
     8th Annual National Institute on Negotiating Business Acquisitions (November 6, 2003).
 •   Moderator, “The Power of the Bankruptcy Court to Issue Sanctions and Penalties – The Origin of the
     Power – The Necessity Doctrine and Section 105 of the Bankruptcy Code,” American Bar
     Association, Business Bankruptcy Committee (October 17, 2003).
 •   Presenter, “Forum Shopping, First Day Order and Case Management Issues in Bankruptcy and
     Fiduciary Duties: Indemnification, Pre-Petition and Pursuing Actions Before Filing,” DePaul Business
     and Commercial Law Journal Symposium on Mega-Bankruptcies: Representing Creditors and
     Debtors in Large Bankruptcies (April 10, 2003).

Awards
• Top Rated Lawyer in Commercial Litigation, American Lawyer Media and Martindale-Hubbell (2013)
• Honoree, Best Lawyers in America for Bankruptcy & Creditors Rights (2020-2023)
• Honoree, Michigan Super Lawyers (2006-2023)
• Top Women Attorneys in Michigan, HOUR Detroit Magazine (2015)
• Nationally Recognized Bankruptcy Leader, Michigan Consumer Bankruptcy Association (2000)
• Best Lawyers in America for Bankruptcy and Creditors Rights (2022-2023)

Professional Affiliations
• American Bankruptcy Institute, Chair, National Ethics Standards Task Force, 2010-2013, Co-Chair,
  Ethics and Professional Compensation Committee, 2008-2011, Member, Central States Bankruptcy
  Workshop Advisory Board, 1998-2003
• American Bankruptcy Law Journal, Member, Advisory Editorial Board, 2013-2016
• American Bar Association, Member, Business Law Section, Co-Chair of Professional Ethics Committee
  of the Business Bankruptcy Committee, 2023-Current, Business Bankruptcy Committee, 2001-Current,
  Co-Chair, Executory Contracts Committee, 2000-Current, Legislation Sub-Committee, 2017-2000,
  Chair, Membership Subcommittee, 2012-2015, Director, Membership Committee of the Business Law
  Section, 2012-2015, Co-Chair, Bankruptcy Appeals Subcommittee, 2005-2008, Chair, Litigation
  Subcommittee, 2002-2005, Committee on Bankruptcy Court Structure and the Insolvency Process,
  Chair, Attorney Discipline Task Force, Co-Chair, Task Force on Bankruptcy Rules, Member, Electronic
  Discovery Task Force, Katrina Hurricane Task Force, and Task Force on Bankruptcy Rule 2019




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• Commercial Law League of America, Member, Bankruptcy and NCBJ Committee Sections, 2007-
    Present, Chair, Bankruptcy Section, 2002, Chair, NCBJ Committee, 2007-2012
• Detroit Metropolitan Bar Association, Chair, Bankruptcy Committee, 1997-2002
• Federal Bar Association for the Eastern District of Michigan, Bankruptcy Committee
• U.S. Bankruptcy Court for the Eastern District of Michigan, Bankruptcy Court Advisory Committee,
    Mediation Panel, Chapter 11 Rules Committee, Bankruptcy Judges Tribute Dinner Committees
• State Bar of Michigan, Civil Discovery Court Review Special Committee, Co-Chair, Business Law
    Section, Debtor-Creditor Rights Committee, 2000-Current, Co-Chair, Amicus Briefing Committee, 2022,
    Receivership Task Force and the Assignment of Rents Task Force, 2010-2013, Business Council,
    2010-2013, American Jewish Committee, Member, Executive Committee, Chair, Nominating
    Committee, 1998-2014

Community Involvement
• Care House Oakland County, Development Committee, Board of Directors
• Detroit Chapter of the American Jewish Committee, Board of Trustees, 1998-2008, 2015-2017, Vice
    President, 2005-2007, Secretary, 2003-2004, Treasurer, 2000-2003, Chair, Nominating Committee,
    1998-2012, Member, Executive Committee, 2000-2008
•   Eisenhower Dance Company, Board of Directors, 2003-2010
•   Gleaners Food Bank of Southeastern Michigan, Member, Vice-Chair, Development Committee
•   Great Lakes Chamber Music Festival, Board of Directors, Nominating, Development and Community,
    Engagement/DEI Committees
•   The Heidelberg Project, Board of Directors, 2010-2012




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Kimberly Ross Clayson
Senior Counsel / Detroit (Southfield), Detroit
(Downtown)

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Kim is an attorney in our Bankruptcy and Restructuring practice       Practices
group. She serves a diverse client portfolio in the areas of          Bankruptcy and Restructuring
insolvency law, creditors’ rights, business law and health law. She
                                                                      Creditors' Rights
provides counsel to operating businesses as well as to creditors
of financially distressed businesses and individuals. Kim has         Industries
extensive experience restructuring business debtors and
                                                                      Health Care and Life Sciences
representing Chapter 7 trustees in fraud investigations and
bankruptcy litigation. She was appointed and presently serves as      Education
one of only five Subchapter V Trustees in the Eastern District of
                                                                      University of Detroit Mercy
Michigan under the Small business Reorganization Act of 2019.         School of Law
                                                                      Michigan State University -
                                                                      James Madison College

                                                                      Admissions
                                                                      State - Michigan




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Speeches and Publications

Publications

 •   “Chapter 15 – Bankruptcy Adversary Proceedings,” Michigan Causes of Action Formbook (2022
     Edition), published by ICLE.
 •   “Subchapter V Case Law Update,” National Association of Bankruptcy Trustees Journal, Summer
     2021 Issue.
 •   “Assets Wanted: Chapter 7 Trustee Panel,” Hon. Stephen W. Rhodes Detroit Consumer Bankruptcy
     Conference, 2010.

Speaking Engagements

 •   Speaker, “Know Your Rights and Responsibilities Under the No Surprises Act,” Decision Health
     Advanced Specialty Coding Compliance & Reimbursement Symposium, Pain & Anesthesia Track,
     2022.
 •   Speaker, “Understand Your Fraud Risk: Lessons Learned From Recent Enforcement Actions,”
     Decision Health Advanced Specialty Coding Compliance & Reimbursement Symposium, Pain &
     Anesthesia Track, 2022.
 •   Panelist, “Hot Topics in Subchapter V,” Minnesota CLE Bankruptcy Institute, 2022.
 •   Panelist, “SBRA Update,” Federal Bar Association, Western District of Michigan 34th Annual
     Bankruptcy Section Seminar, 2022.
 •   Speaker, “Anti-Kickback/Stark Physician Self-Referral Update: Are the New Rules Good News for
     Your Practice?,” Decision Health Advanced Specialty Coding Compliance & Reimbursement
     Symposium, Pain & Anesthesia Track, 2021.
 •   Speaker, “Privacy and Security Update: Keep Up With the Growing Risk for Your Practice,” Decision
     Health Advanced Specialty Coding Compliance & Reimbursement Symposium, Pain & Anesthesia
     Track, 2021.
 •   Speaker, “Privacy and Security Update: Keep Up With the Growing Risk for Your Practice,” Decision
     Health Billing & Compliance Summit, 2021.
 •   Panelist, “Subchapter V Case Law Update,” Hon. Stephen W. Rhodes Detroit Consumer Bankruptcy
     Conference, 2021.
 •   Panelist, “Dealing with Co-Owners of Bankruptcy Estate Property,” Hon. Stephen W. Rhodes Detroit
     Consumer Bankruptcy Conference, 2019.
 •   Webinar Presenter, “Section 523 Exceptions to Discharge Adversary Proceedings,” Strafford
     Publications, Inc., 2019.
 •   Presenter, “Defining Your Exit Strategy,” Lawrence Technical University Detroit Center for Design +
     Technology, 2018.
 •   Panelist, “Prosecuting & Defending §523 Adversary Proceedings,” Hon. Stephen W. Rhodes Detroit
     Consumer Bankruptcy Conference, 2018.
 •   Panelist, “Fuel for Growth: Collaboration Over Competition,” Techstars Startup Week Detroit, 2018.
 •   Panelist, “Can You AI Your Professionals Out of a Job?,” Techstars Startup Week Detroit, 2018.
 •   Panelist, “Getting Beyond ‘No’: Why your Business Idea Isn’t Getting Funded,” Techstars Startup
     Week Detroit, 2018.
 •   Panelist, “Chapter 11 Basics for Attorneys,” Hon. Stephen W. Rhodes Detroit Consumer Bankruptcy
     Conference, 2017.




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 •     Panelist, “Mortgage Issues,” Hon. Stephen W. Rhodes Detroit Consumer Bankruptcy
       Conference, 2014.
 •     Presenter, “The Art of Negotiation,” University of Michigan’s Center for Middle Eastern and North
       African Studies Entrepreneurship through Empowerment Program, 2014.
 •     Speaker, “Bankruptcy of Detroit & Doing Business in the Region,” Michigan State University Turkish
       Resource Center of North America US-Turkey Creative Economies Business Summit, Istanbul,
       Turkey, 2013.
 •     Panelist, “Chapter 11 Bankruptcy A ‘How To’ Guide,” Hon. Stephen W. Rhodes Detroit Consumer
       Bankruptcy Conference, 2011.
 •     Speaker, “Legal Planning for Small Businesses,” Open City Detroit, 2010.

Professional Affiliations
• American Bankruptcy Institute, Member, 2006-Current
• American Health Law Association, Member, 2022-Current
• Federal Bar Association for the Eastern District of Michigan, Member, 2006-Current
• Institute of Continuing Legal Education, Contributor
• National Association for Bankruptcy Trustees, Member, 2020-Current
• State Bar of Michigan, Member, Business Law Section, UCC Committee Co-Chair, 2022-Current
• State of Michigan Attorney Discipline Board, Hearing Panelist, 2019-Current
• Women's Law Association of Michigan, Member, Wayne Region and Tip of the Mitt Region, 2020-
     Current

Community Involvement
• Detroit Waldorf School, Board Member, 2010-2016, Treasurer, 2012-2014
• Outlier Media, Board Member, 2022-Current




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Lauren Sell
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Lauren is a paralegal in Taft’s Southfield office. She provides       Practices
support to the firm’s Real Estate group as well as the Bankruptcy     Real Estate
and Restructuring group.
                                                                      Bankruptcy and Restructuring

Prior to joining the firm, Lauren was a paralegal with a well-known   Education
international law firm based in Miami. Lauren brings over ten
                                                                      University of Tampa (2014)
years of experience working in the legal field.

Lauren earned her bachelor’s degree in criminology from the
University of Tampa.




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Marguerite M. Donahue
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Marguerite is an attorney in Taft’s Venture Capital and Emerging      Practices
Companies practice group. She has a varied business law skillset      Venture Capital and Emerging
focused on advising clients on mergers and acquisitions,              Companies
investments by private equity sponsors, corporate governance,         Mergers and Acquisitions
capital raising, secured and unsecured lending transactions, and
                                                                      Corporate Governance
securities law. Marguerite has managed a variety of transactions,
including asset sales, stock and membership interest sales,           Private Equity
exchange offers, and reorganizations.
                                                                      Education
Marguerite is a former chair of the Business Law Section of the       Wayne State University Law
State Bar of Michigan (2012 – 2013). She served as a member of        School (1987)
the Business Law Section’s Ad Hoc Committee on Legal Opinions         Wayne State University (1984)
in Business Transactions, which issued a widely referenced report
on state law matters affecting legal opinions delivered in business   Admissions
transactions.                                                         State - Michigan




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Awards
• Honoree, Michigan Super Lawyers (2011 – 2021)
• Recipient, Wayne State University, Women’s Alumni Association, Service Award (2007)

Professional Affiliations
• State Bar of Michigan, Business Law Section, Member and Liaison to the Institute of Continuing Legal
  Education, Past Chair, Past Vice Chair, Past Secretary, Past Treasurer, Past Council Member




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Paul Hage
Practice Group Co-Chair / Partner / Detroit
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Paul is co-chair of the firm’s Bankruptcy and Restructuring           Practices
practice group. He specializes in representing debtors, lenders,      Bankruptcy and Restructuring
creditors’ committees, asset purchasers, unsecured creditors, and
                                                                      Creditors' Rights
trustees in bankruptcy proceedings nationwide. Paul is also a
member of the firm’s Diversity & Inclusion Committee.                 Education
                                                                      St. John's University School of
Paul is a Fellow in the American College of Bankruptcy and a
                                                                      Law
member of the Executive Committee of the American Bankruptcy
Institute. He has been an Adjunct Professor at the University of      Loyola University Chicago
                                                                      School of Law
Michigan Law School and is certified by the American Board of
Certification as a specialist in business bankruptcy law. He is a     Michigan State University,
                                                                      James Madison College, B.A.
member of the Mediation Panel for the United States Bankruptcy
Court for the Eastern District of Michigan. Additionally, Paul
                                                                      Admissions
serves as Co-Director of the Conrad B. Duberstein National
                                                                      State - Michigan
Bankruptcy Moot Court Competition, the largest single site moot
court competition in the country.                                     Federal - U.S. Supreme Court
                                                                      Federal - Western District of
Paul serves as the President of Access to Bankruptcy Court, a         Michigan
non-profit organization that raises funds to provide experienced      Federal - Eastern District of
bankruptcy counsel, free of charge, to low-income consumer            Michigan
debtors residing in the Eastern District of Michigan. Additionally,
                                                                      Federal - U.S. Court of Appeals
he is a member of the Board of Directors of CARE (Credit Abuse        for the Sixth Circuit
Resistance Education), a national nonprofit that provides financial
literacy education to students and young adults.




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Speeches and Publications

Books/Treatises

 •   Michigan Security Interests in Personal Property, The Institute of Continuing Legal Education (2017).
 •   Representing the Creditors’ Committee: A Guide for Practitioners, American Bankruptcy Institute
     (2016).
 •   Credit-Bidding in Bankruptcy: A Guide for Lenders, Creditors and Distressed-Deb Investors,
     American Bankruptcy Institute (2015).
 •   The Bankruptcy Claims Handbook, American Bar Association (2013).
 •   Strategic Alternatives for Distressed Business, ThomsonReuters (2008).
 •   Norton Bankruptcy Law & Practice, ThomsonReuters (2008).

Articles

 •   “Rising Home Values and Chapter 13: A Deeping Split,” Rochelle’s Daily Wire (2023).
 •   “Recent Developments in Section 503 – Administrative Expenses,” Norton Annual Survey of
     Bankruptcy Law (2023).
 •   “The New Michigan Uniform Assignment of Rents Act,” The Michigan Business Law Journal (2022).
 •   “Recent Developments in Section 503-Administrative Expenses,” Norton Annual Survey of
     Bankruptcy Law (2022).
 •   “The Great Unsettled Question: Nonconsensual Third-Party Releases Deemed Impermissible in In re
     Purdue Pharma, LP,” American Bankruptcy Institute Journal (2022).
 •   “Recent Developments in Section 503-Administrative Expenses,” Norton Annual Survey of
     Bankruptcy Law (2021).
 •   “Michigan Dramatically Expands Existing Receivership Law with the Enactment of The Receivership
     Act,” The Michigan Business Law Journal (2021).
 •   “Ten Years Later, Access to Bankruptcy Court Has Never Been More Important,” The Michigan
     Business Law Journal (2021).
 •   “City of Chicago v. Fulton: Supreme Court Rules that Passive Retention of Estate Property Does Not
     Violate the Automatic Stay,” Journal of Bankruptcy Law & Practice (2021).
 •   “Recent Developments in Section 503-Administrative Expenses,” Norton Annual Survey of
     Bankruptcy Law (2020).
 •   “The Next Wave of PPP Litigation: Use of PPP Funds in Chapter 11,” Norton Bankruptcy Law
     Adviser (2020).
 •   “The Nuts & Bolts of the Structured Dismissal of a Chapter 11 Case,” American Bankruptcy Institute
     Journal (2020).
 •   “The New Small Business Bankruptcy Law: What You Need to Know,” The Michigan Business Law
     Journal (2019).
 •   “Benchnotes: Eleventh Circuit Highlights Difficulty of Obtaining Sanctions for Discharge Violations
     Post-Taggart,” American Bankruptcy Institute Journal (2019).
 •   “Border Control: The Enforceability of Contractual Restraints on Bankruptcy Filings,” ABA Business
     Law Today (2019).
 •   “Still the Same: Direct Payments In Chapter 13 Are “Payments Under the Plan,” Norton Bankruptcy
     Adviser (2019).
 •   “You Never Give Me Your Money: Tenancy By the Entireties in Michigan,” The Michigan Business




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     Law Journal (2019).
 •   “Benchnotes: First Circuit Addresses BAPCPA Stay Termination for Repeat Filers,” American
     Bankruptcy Institute Journal (2019).
 •   “Benchnotes: Second Circuit Affirms Dismissal of Involuntary Bankruptcy Involving Two-Party
     Dispute,” American Bankruptcy Institute Journal (2018).
 •   “Recent Developments in Section 503-Administrative Expenses,” Norton Annual Survey of
     Bankruptcy Law (2018).
 •   “Benchnotes: Purchase of Unsecured Claims to Defeat Confirmation Does Not Constitute Bad Faith,”
     American Bankruptcy Institute Journal (2018).
 •   “The New Michigan Domestic Asset Protection Trust Statute and its Impact on Fraudulent Transfer
     Law,” The Michigan Business Law Journal (2018).
 •   “Benchnotes: Statutory Commission for Chapter 7 Trustees Must be Awarded Absent Exceptional
     Circumstances,” American Bankruptcy Institute Journal (2018).
 •   “Benchnotes: Eleventh Circuit Adopts Totality of Circumstances Standard for Judicial Estoppel.”
     American Bankruptcy Institute Journal (2018).
 •   “Benchnotes: Ninth Circuit Holds that a Sale Under 363(f) Strips Tenants of their 365(h) Rights,”
     American Bankruptcy Institute Journal (2017).
 •   “Physical Possession of Goods is Required for an Administrative Expense Under Section 503(b)(9),”
     ABI Unsecured Trade Creditors Committee Newsletter (2017).
 •   “Recent Developments in Section 503- Administrative Expenses & Key Employee Retention,
     Incentive and Severance Plans,” Norton Annual Survey of Bankruptcy Law (2017).
 •   “Sixth Circuit Court of Appeals holds That A Perfected Assignment of Rents Enforced Pre-Petition
     Excludes Such Rents From Being Property of the Bankruptcy of the Bankruptcy Estate,” The
     Michigan Business Law Journal (2017).
 •   Benchnotes: Bankruptcy Courts Lack Constitutional Authority to Approve Third-Party Releases,”
     American Bankruptcy Institute Journal (2017).
 •   “Benchnotes: Sixth Circuit Addresses Good Faith and Mere Conduit Fraudulent Transfer Defenses,”
     American Bankruptcy Institute Journal (2017).
 •   “Benchnotes: Ninth Circuit Extends Barton Doctrine to Unsecured Creditor Committee Members,”
     American Bankruptcy Institute Journal (2017).
 •   “Benchnotes: Ninth Circuit Holds That Costs of Juvenile Detention Can be Discharged,” American
     Bankruptcy Institute Journal (2016).
 •   “Recent Developments in Section 503-Administrative Expenses & Key Employee Retention,
     Incentive and Severance Plans,” Norton Annual Survey of Bankruptcy Law (2016).
 •   “Benchnotes: Circuit Split on Dischargeability of Tax Debts on Late-Filed Returns,” American
     Bankruptcy Institute Journal (2016).
 •   “Benchnotes: Seventh Circuit Holds that $10,000 Book of Morman Bible is an Exempt Asset,”
     American Bankruptcy Institute Journal (2016).
 •   “Benchnotes: Third Circuit Weighs Factors for Granting a Stay Pending Appeal,” American
     Bankruptcy Institute Journal (2016).
 •   “Benchnotes: Sixth Circuit Holds That Substantial Contribution Claims are Available in Chapter 7,”
     American Bankruptcy Institute Journal (2015).
 •   Recent Developments in Section 503-Administrative Expenses,” Norton Annual Survey of
     Bankruptcy Law (2015).
 •   “Benchnotes: Tenth Circuit Rules that Recharacterization Remedy Survives Recent Rulings,”




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     American Bankruptcy Institute Journal (2015).
 •   “Strike Two: First Circuit Affirms Lower Court’s Ruling that Puerto Rico’s Municipal Restructuring Law
     is Unconstitutional,” American Bankruptcy Institute Journal (2015).
 •   “Benchnotes: Fifth Circuit Rejects Retrospective “Actual Benefit” Standard for Reviewing Attorney
     Fees,” American Bankruptcy Institute Journal (2015).
 •   “Benchnotes: Victory Through Application of ‘Hypothetical’ Test in Trump Entertainment Bankruptcy,”
     American Bankruptcy Institute Journal (2015).
 •   “Benchnotes: Mistakenly Filed Termination Statement is Effective to Terminate Security Interest in
     $1.5 Billion Loan,” American Bankruptcy Institute Journal (2015).
 •   “Benchnotes: Courts Lack Jurisdiction to Determine Tax Refund Claims Brought by Liquidating
     Trustees,” American Bankruptcy Institute Journal (2015).
 •   “Not for Sale” An Approach to the Approval of Chapter 7 Discharge Settlements by Trustees,”
     American Bankruptcy Institute Journal (2014).
 •   “Benchnotes: Sixth Circuit Clarifies Standard for When a Cause of Action Becomes Property of the
     Estate,” American Bankruptcy Institute Journal (2014).
 •   “Recent Developments in Section 503 – Administrative Expenses & Key Employee Retention,
     Incentive and Severance Plans,” Norton Annual Survey of Bankruptcy Law (2014).
 •   “Is the Unfinished Business Rule Finished? Recent Decisions May Close the Book on Hourly
     Matters,” American Bankruptcy Institute Journal (2014).
 •   “Benchnotes: Eighth Circuit Addresses Subsequent New Value Defense in Tri-Party Relationships,”
     American Bankruptcy Institute Journal (2014).
 •   “Benchnotes: Fisker Court Limits Secured Creditor’s Right to Credit Bid,” American Bankruptcy
     Institute Journal (2014).
 •   “When the Third Circuit Speaks, Trade Creditors Should Listen: Takeaways on Subsequent New
     Value from In re Friedman’s,” NACM Business Credit (2014).
 •   “Benchnotes: Third Circuit Clarifies Impact of Section 502(d) on Claims Trading in In re KB Toys,
     Inc.,” American Bankruptcy Institute Journal (2014).
 •   “Retooling for Chapter 9: How is Chapter 9 Different from Chapter 11?,” The Journal of Corporate
     Renewal (2013).
 •   “Benchnotes: Litigants Cannot Consent to a Bankruptcy Court Determining Matters for Which They
     Lack Constitutional Authority,” American Bankruptcy Institute Journal (2013).
 •   “The Belly of the Beast: Law Firm Insolvencies, Unfinished Business and Jewel-Waivers,” ABA
     Business Law Today (2013).
 •   “Recent Developments in Section 503 – Administrative Expenses & Key Employee Retention,
     Incentive and Severance Plans,” Norton Annual Survey of Bankruptcy Law (2013).
 •   “A Guide to Chapter 9 of the Bankruptcy Code: What You Need to Know,” Crain’s Detroit Business
     (2013).
 •   “Benchnotes: Ninth Circuit Creates Circuit Split Regarding Whether the Holder of an Unstayed State
     Court Judgment Can be a Petitioning Creditor in an Involuntary Case,” American Bankruptcy Institute
     Journal (2013).
 •   “The (Heightened) Requirements for Chapter 7 Trustees to Retain Their Own Law Firms as
     Counsel,” American Bankruptcy Institute Journal (2013).
 •   “Coming Soon to a State Near You: What You Should Know About the New Revisions to Article 9,”
     American Bankruptcy Institute Journal (2013).
 •   “Benchnotes: Statutory Cap on Lease Termination Claims Does Not Preclude Additional Claims by a




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     Landlord for Maintenance and Repair Damages,” American Bankruptcy Institute Journal (2013).
 •   “In re Tousa: When Can Indirect Benefits Constitute Reasonably Equivalent Value in Fraudulent
     Transfer Actions?” The Michigan Business Law Journal (2013).
 •   “Benchnotes: California Bankruptcy Court Analyzes Eligibility Requirements to be a Chapter 9
     Debtor,” American Bankruptcy Institute Journal (2013).
 •   “Res Judicata Bars Avoidance Actions Against Estate Professionals Where Pre-Petition Transfers
     Are Properly Disclosed,” American Bankruptcy Institute Journal (2012).
 •   “You Can’t Take Them With You: Coudert Brothers and the Application of the Unfinished Business
     Rule to Dissolved Law Firms,” American Bankruptcy Institute Journal (2012).
 •   “Recent Developments in Section 503 – Administrative Expenses,” Norton Annual Survey of
     Bankruptcy Law (2012).
 •   “What Can Your Operating Agreement Do For You?: Navigating Through the Intersection of
     Bankruptcy & LLC Law,” American Bankruptcy Institute Journal (2012).
 •   “Who Is A “Transferee’ Under Section 550(a) of the Bankruptcy Code?: The Divide Over Dominion,
     Control and Good Faith in Applying the Mere Conduit Defense,” Journal of Bankruptcy Law &
     Practice (2012).
 •   “Recent Developments in Section 503 – Administrative Expenses,” Norton Annual Survey of
     Bankruptcy Law (2011).
 •   “If You Build It…What You Should Know About Mechanic’s Liens in Bankruptcy,” American
     Bankruptcy Institute Journal (2011).
 •   “When Timing is Everything: Treatment of Consignment Agreements in Bankruptcy,” ABI Unsecured
     Trade Creditors Committee Newsletter (2011).
 •   “The Delphi Preference Actions: An Abuse of the Civil Procedure Rules,” Turnaround Management
     Association Michigan Chapter Newsletter (2011).
 •   “State Courts have Jurisdiction to Interpret § 363 Sales Orders, Enforce Implied Restrictive
     Covenants,” American Bankruptcy Institute Journal (2011).
 •   “A Hot Issue – Does Electricity Constitute “Goods” Under the Bankruptcy Code?” Journal of
     Bankruptcy Law & Practice (2011).
 •   “A Split in the Case Law: Does BAPCPA’s Small-Dollar Venue Restriction Apply to Preference
     Actions,” American Bankruptcy Institute Journal (2010).
 •   “Is it Sill New Value? – Application of Section 503(b)(9) to the Subsequent New Value Preference
     Defense,” Journal of Bankruptcy Law & Practice (2010).
 •   “Recent Developments in Section 503 – Administrative Expenses,” Norton Annual Survey of
     Bankruptcy Law (2010).
 •   “Does Section 502(d) Apply to Administrative Expenses? – The Second Circuit Joins the Debate In
     re Ames Stores,” Journal of Bankruptcy Law & Practice (2009).
 •   Recent Developments in Section 503—Allowance of Administrative Expenses,” Norton Annual
     Survey of Bankruptcy Law (2009).
 •   “Of Claims, Planes & Automobiles—Recent Developments on 503(b)(9) and Reclamation Claims,”
     ABA Section of Business Law Business Bankruptcy Newsletter (2009).
 •   “Recent Developments in Section 503—Allowance of Administrative Expenses,” Norton Annual
     Survey of Bankruptcy Law (2008).
 •   “A Primer on BAPCPA’s Small Business Bankruptcy Provisions” Norton Bankruptcy Law Adviser
     (2007).
 •   “Key Employee Retention Plans Under BAPCPA: Is There Anything Left?” Journal of Bankruptcy




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     Law & Practice (2007).
 •   “Small Business Provisions Under BAPCPA,” Journal of Bankruptcy Law & Practice (2007).

Speaking Engagements

 •   Crypto and Bankruptcy: Where We Are and Where We Are Going,” Minnesota Bankruptcy Institute
     (2023).
 •   “I Knew That Stuff Was Fake: Crypto Redux,” Federal Bar Association Western District of Michigan
     Bankruptcy Seminar (2023).
 •   “The New Michigan Uniform Assignment of Rents Act,” State Bar of Michigan Webinar (2022).
 •   “Third-Party Releases in Chapter 11 Bankruptcy,” Seventy-Sixth Judicial Conference of the Sixth
     Circuit (2022).
 •   “Circuit Splits: Split Open and Melt,” Federal Bar Association Western District of Michigan
     Bankruptcy Seminar (2022).
 •   “Equitable Mootness: What Should the Law Be?” American Bankruptcy Institute Annual Spring
     Meeting (2022).
 •   “All Things Bankruptcy Legislative Update,” ABI Hon. Steven W. Rhodes Consumer Bankruptcy
     Conference (2021).
 •   “Receiverships,” Federal Bar Association Western District of Michigan Bankruptcy Section Seminar
     (2021).
 •   “The New Normal in the Bankruptcy Court,” Federal Bar Association Eastern District of Michigan
     Webinar (2021).
 •   “Lessons Learned: The Demise of Art Van and Loves Furniture,” Turnaround Management
     Association Webinar (2021).
 •   “Barfly Ventures Bankruptcy: A Case Study,” Turnaround Management Association Webinar (2021).
 •   “Hot Topics with Bill Rochelle,” American Bankruptcy Institute Winter Leadership Conference (2020).
 •   “Michigan’s ‘New Expanded’ Receivership Act,” State Bar of Michigan Debtor/Creditors Rights
     Committee (2020).
 •   “Chapter 11 in the Era of COVID-19,” Federal Bar Association Western District of Michigan
     Bankruptcy Section Seminar (2020).
 •   “Insolvency Issues In the Wake of COVID-19 and The Cares Act,” Federal Bar Association Eastern
     District of Michigan Webinar (2020).
 •   “A Deep Dive on Important Bankruptcy Cases,” ABI Hon. Steven W. Rhodes Consumer Bankruptcy
     Conference (2019).
 •   “Eye on Bankruptcy,” American Bankruptcy Institute Webinar (2019).
 •   “Enigmatic Exemptions Explained,” Federal Bar Association Western District of Michigan Bankruptcy
     Section Seminar (2019).
 •   “Tempnology: Trademark Agreements and the Consequences of Rejection,” American Bankruptcy
     Institute Webinar (2019).
 •   “Assume? Reject? Assign? Ride Through? Jump Around?,” Federal Bar Association Western District
     of Michigan Bankruptcy Section Seminar (2018).
 •   “The Tightrope Walk of Asset Protection Planning,” MICPA Management Information and Business
     Conference (2018).
 •   “Getting Paid and Avoiding Disgorgement,” American Bankruptcy Institute Central States Bankruptcy
     Workshop (2018).




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 •   “Contracting Away the Code: The Enforceabilty of Pre-Bankruptcy Agreements,” ABA Business Law
     Section Spring Meeting (2018).
 •   “Advanced Chapter 11 Issues,” Federal Bar Association Western District of Michigan Bankruptcy
     Section Seminar (2017).
 •   “Energy Case Studies,” ABI Central States Bankruptcy Workshop (2017).
 •   “Bankruptcy Fundamentals,” Consumer Bankruptcy Association (2017).
 •   “The New Michigan Domestic Asset Protection Trust Act,” State Bar of Michigan Debtor/Creditors
     Rights Committee (2017).
 •   “Discharging ‘Unknown’ Claims,” Annual Conference of the National Conference of Bankruptcy
     Judges (2016).
 •   “Recent Developments in 363 Sales,” Norton Bankruptcy Litigation Institute – Las Vegas (2016).
 •   “Litigation of Professional Fees in Bankruptcy,” Norton Bankruptcy Litigation Institute – Las Vegas
     (2016).
 •   “Current Issues Regarding Objections to Discharge in Chapter 7 Cases,” ABI Detroit Consumer
     Bankruptcy Conference (2015).
 •   “Not for Profit and Religions Related Bankruptcies,” ABI Midwestern Bankruptcy Institute (2015).
 •   “Loan-to-Own and Other § 363 Bidding and Acquisition Strategies,” ABI Central States Bankruptcy
     Workshop (2015).
 •   “Is There a Need for Venue Reform in Chapter 11?” ABI Unsecured Trade Creditors Committee
     Teleseminar (2015).
 •   “Supreme Court Case Law Update,” ABI Memphis Consumer Bankruptcy Conference (2015).
 •   “Supreme Court Consumer Bankruptcy Decisions,” ABI Media Teleconference (2015).
 •   “The Legal Fight for the Future of Detroit,” Turnaround Management Association Spring Conference
     (2015).
 •   “One City at a Time: The Role and Increasing Presence of Chapter 9 Municipal Bankruptcies,”
     Campbell University Law School Symposium (2014).
 •   “(Almost) Everything You Wanted to Know About….Executory Contracts,” Annual Conference of the
     National Conference of Bankruptcy Judges (2014).
 •   “Bankruptcy 101,” Michigan Chapter of the Turnaround Management Association (2014).
 •   “Municipal Bankruptcy and Recent Developments in Chapter 9,” Norton Institutes Western Mountains
     Bankruptcy Law Seminar (2014).
 •   “Non-Profit Chapter 11’s,” Norton Institutes Western Mountains Bankruptcy Law Seminar (2014).
 •   “The Intricacies of Section 363 Sales,” ABI Central States Bankruptcy Workshop (2014).
 •   “Supreme and Appellate Court Case Law Update,” ABI Memphis Consumer Bankruptcy Conference
     (2014).
 •   “Fisker and Free Lance-Star-Anomalies or Signs of a Trend?,” ABI Unsecured Trade Creditors
     Committee Webinar (2013).
 •   “Chapter 9: The Detroit Case,” TMA Great Lakes Regional Conference (2014).
 •   Representing Creditors in Wilmington and Manhattan: An Outsider’s Primer to Litigating in
     American’s Busiest Bankruptcy Courts,” ABI Live Webinar (2014).
 •   “Live to Negotiate Another Day,” Turnaround Management Association Senate Conference (2014).
 •   “The Impact of Section 503(b)(9) on the Subsequent New Value Preference Defense,” ABI
     Unsecured Trade Creditors Committee Teleseminar (2013).
 •   “Stern v. Marshall: How the Circuit Courts Have Interpreted It,” ABI Memphis Consumer Bankruptcy
     Conference (2013).




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 •     “All That You Can’t Leave Behind: Law Firm Insolvencies, the Unfinished Business Rule and its
       Impact on Business Lawyers,” ABA Business Law Section Spring Meeting (2013).
 •     “Substantive Consolidation of Bankruptcy Cases: An Overview,” Norton Bankruptcy Litigation
       Institute – Las Vegas (2013).
 •     “Recent Developments in Preference Litigation,” Norton Bankruptcy Litigation Institute – Las Vegas
       (2013).
 •     “Fraudulent Transfer Law: Should it Be Changed?,” Debtor/Creditors’ Rights Committee of the State
       Bar of Michigan Business Law Section (2013).
 •     “Tropical Storm TOUSA: Has the 11th Circuit Burst Lending to Distressed Borrowers on the
       Bubble?,” Annual Conference of the National Conference of Bankruptcy Judges (2012).
 •     “Examining Litigation Surrounding the Dissolution of a Distressed Law Firm,” American Bankruptcy
       Institute Podcast (2012).
 •     “Stern v. Marshall: The Current State of Bankruptcy Court Jurisdiction,” West Legal Ed Teleseminar
       (2012).
 •     “Section 503(b)(9) and its Impact on the Subsequent New Value Defense,” West Legal Ed
       Teleseminar (2012).
 •     “Claims Litigation in Bankruptcy Cases,” West Legal Ed Teleseminar (2012).
 •     “Recent Developments in Claims & Preference Litigation,” Norton Bankruptcy Litigation Institute –
       Las Vegas (2012).
 •     “Bankruptcy Jurisdiction, Withdrawal & Abstention,” ICLE Basic Litigation in Bankruptcy Court
       Seminar (2012).
 •     “Goldilocks and the Three Fraudulent Transfer Defenses: Can Good Faith, Mere Conduit or In Pari
       Delicto be the Perfect Size?” National CLE Conference in Snowmass, Colorado (2012).
 •     “Everything You Prefer to Avoid: What You Really Should Know About Fraudulent Transfers,
       Preferences and Avoidance Actions,” Annual Conference of the National Conference of Bankruptcy
       Judges (2011).
 •     “Iqbal & Twombly: Application of the Heightened Pleading Standard in Bankruptcy Adversary
       Proceedings,” National CLE Conference in Vail Colorado (2011).
 •     “Bankruptcy & Reorganization: What You Need to Know,” Michigan Association of Certified Public
       Accountants 2010 Automotive Dealers, Construction Industry and Controllership Conference (2010).
 •     “Bankruptcy Pleading Standards After Twombly and Iqbal,” Debtor/Creditors’ Rights Committee of
       the State Bar of Michigan Business Law Section (2010).
 •     “Representing Unsecured Creditors’ Committees,” Michigan Chapter of the Turnaround Management
       Association (2010).

Awards
• Recipient, American Bankruptcy Institute 40 Under 40 Award (2017)
• Recipient, American Bankruptcy Institute Committee Leader of the Year (2017)
• Recipient, American Bankruptcy Law Journal Award (2007)
• Recipient, American Bar Association Business Bankruptcy Committee Kathryn R. Heidt Award (2013)
• Recipient, Federal Bar Association for the Eastern District of Michigan Chapter Recognition Award
     (2022)
• Honoree, DBusiness Top Young Lawyer (2013)
• Honoree, DBusiness Top Lawyers (2013, 2015, 2016, 2018, 2020)




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• Honoree, Michigan Lawyers Weekly, Up & Coming Lawyer (2011)
• Honoree, Michigan Super Lawyers, Bankruptcy: Business (2013 – present)
• Honoree, Michigan Super Lawyers Rising Stars (2011 – 2012)

Professional Affiliations
• American Bankruptcy Institute, Executive Committee and Secretary, 2022-present, Board of Directors,
    2019-present, American Bankruptcy Institute Journal; Executive Editor, 2020-present; Coordinating
    Editor, 2012-2019, ABI Unsecured Trade Creditors Committee; Co-Chair, 2015-2017; Education
    Director, 2014-2015; Newsletter Editor, 2012-2014, ABI Emerging Industries & Technology Committee;
    Education Director, 2017-2019, Shapero Cup Regional Moot Court Competition & Symposium;
    Planning Committee, 2019-present, Strategic Planning Taskforce, 2018-2019, Volo Circuit Court
    Opinion First Responder; Editorial Board, 2010-2016
•   American Bankruptcy Law Journal, Member, Editorial Advisory Board, 2017-2019, Chair, National
    Conference of Bankruptcy Judges Symposium Committee, 2019
•   American Bar Association Business Law Section, Business Bankruptcy Committee, Co-Chair, Claims &
    Priorities Subcommittee, 2011-present, Vice-Chair, Abuses of the Bankruptcy Process Subcommittee,
    2009-2011
•   American Board of Certification of Bankruptcy and Creditors’ Rights Attorneys, Board of Directors,
    2019-present
•   American College of Bankruptcy, Fellow, 2022-present, Diversity Equity & Inclusion Committee, 2023-
    present
•   American Law Institute, Member, 2019-present
•   Credit Abuse Resistance Education (CARE), Board of Directors, 2022-present, Development
    Committee, 2022-present
•   Consumer Bankruptcy Association, Member, 2018-present
•   Federal Bar Association for the Eastern District of Michigan, Board of Directors, 2023-present, Co-
    Chair, Bankruptcy Committee, 2021-present, Barbara J. Rom Award for Bankruptcy Excellence
    Selection Committee, 2019-present, Western District of Michigan Bankruptcy Seminar Planning
    Committee, 2019-present
•   Mediation Panel for the United States Bankruptcy Court for the Eastern District of Michigan, Member,
    2021-present
•   National Conference of Bankruptcy Judges, Education Committee, 2021-2022
•   Norton Institutes on Bankruptcy Law, Contributing Editor, Norton Annual Survey of Bankruptcy Law,
    2008-present, Editorial Advisory Board, Norton Bankruptcy Law Adviser, 2018-present, Contributing
    Editor, Norton Bankruptcy Law & Practice 3d Treatise, 2007-present, Editorial Advisory Board, Norton
    Journal of Bankruptcy Law & Practice, 2010-present
•   Pro Se Bankruptcy Assistance Project d/b/a Access to Bankruptcy Court, President, 2019-present,
    Secretary, 2016-2019
•   State Bar of Michigan, Vice-Chair, Business Law Section Debtor/Creditor Rights Committee, 2016-
    present
•   Turnaround Management Association, Michigan Chapter President, 2013-2014, Michigan Chapter
    Board of Directors, 2010-2016, TMA Global NextGen Leadership Committee, 2013-2014




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Peter E. Deegan
Partner / Chicago, Washington, DC

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T (202) 664-1546
F (312) 754-2382



As a seasoned trial lawyer and member of Taft’s Compliance,           Practices
Investigations, and White Collar Defense practice since 2021,         Compliance, Investigations, and
Pete brings clients extensive national experience in white collar     White Collar Defense
criminal litigation and corporate compliance, gained from years       Internal Investigations
leading complex business investigations and from serving on the
                                                                      FCPA and International Anti-
U.S. Attorney General’s Advisory Subcommittee for White Collar        Corruption
Fraud.
                                                                      Commercial Litigation
He most recently served as the United States Attorney for the
                                                                      Education
Northern District of Iowa, with a career spanning 22 years as a
federal prosecutor.                                                   Wayne State University Law
                                                                      School (1995)
Pete’s client work is distinguished by his ability to navigate        University of Notre Dame (1992)
through complex investigations and prosecutions. He has both led
and responded to numerous, high stakes federal investigations,        Admissions
including those relating to:                                          State - Illinois
                                                                      State - Iowa
 •   Banking and business crime
 •   Financial fraud                                                  State - Michigan
 •   Regulatory investigations                                        State - Wisconsin
 •   Public corruption                                                State - District of Columbia
 •   False claims to the government
 •   Theft of trade secrets
 •   Securities fraud
 •   Insider trading

Pete brings uncommon litigation experience to bear on behalf of
his clients, having tried 22 cases to jury verdict in federal
courtrooms across the Midwest and having argued more than 33
cases in the federal courts of appeal.

Pete’s career specializing in federal investigations began with his
appointment as an Assistant to the Iowa Attorney General
specially assigned to the United States Attorney’s Office. Pete
later served as an Assistant United States Attorney in Detroit
where he prosecuted complex matters including alien smuggling,




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medical device smuggling, and financial fraud. After returning to
Iowa, Pete focused on complex fraud and business crimes. He
prosecuted the two largest financial fraud cases in the history of
the district, including a $215 million fraud committed by the owner
of Peregrine Financial Group, Inc. Pete also co-led the
investigation of the largest criminal immigration enforcement
action in U.S. history and the subsequent prosecutions of several
company managers for harboring-related offenses and a $26
million bank fraud. Pete led the investigation and prosecution of
federal Food, Drug, and Cosmetic Act and public corruption
crimes related to the largest food-borne salmonella outbreak in
the nation’s history, resulting in prison sentences for two top
corporate officials under the Responsible Corporate Officer
doctrine.

Prior to his confirmation as United States Attorney, Pete served
as the Chief of the Criminal Division in the Northern District of
Iowa, supervising all criminal prosecutions in the district. These
included cases involving arms smuggling to Hezbollah in
Lebanon, theft of trade secrets from a Fortune 100 company,
immigration fraud by a perpetrator of the Rwandan genocide,
threats to a U.S. senator, and the largest organic certification
fraud in U.S. history involving over $100 million in grain.

As U.S. Attorney, Pete directed additional civil resources to False
Claims Act enforcement, making the district a favored venue for
Qui Tam filings. Pete also focused criminal resources on
corporate fraud, gun crime, cartel-linked methamphetamine
sources, the opioid epidemic and financial crimes targeting the
elderly.

Pete served in leadership and advisory positions at the national
level. He chaired the Attorney General’s Advisory Subcommittee
on Management and Performance and served on the Attorney
General’s Advisory Subcommittee for White Collar Fraud, the
Attorney General’s Advisory Subcommittee for Native American
Issues, and the Deputy Attorney General’s Privilege Review
Working Group.

Since joining Taft, Pete has helped clients respond to high-stakes
federal investigations targeting financial fraud, insider trading,
public corruption, theft of trade secrets, banking violations, false
claims relating to healthcare and government contacting, ADA
violations, mishandling of prescription medications, Packers and
Stockyards Act violations, and failure to disclose foreign ties in




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connection with academic grant applications. He has also helped
clients respond to Inspector General and law enforcement
investigations into allegations of employment-based misconduct
and crime. Pete has led multiple, confidential, internal
investigations and assisted businesses victimized by fraud,
misuse of proprietary information, and rouge employee
misconduct.

While at Taft, Pete has helped clients navigate money-laundering
laws and regulations and has served as an overseas instructor on
U.S. and international anti-money laundering, counter-terrorism
financing, and public corruption investigations.




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Notable Matters

 •   Quality Egg/DeCoster – led criminal investigation into largest foodborne Salmonella Enteritis
     outbreak in U.S. history and prosecution of public corruption and Responsible Corporate Officer
     (Park liability) offenses by top company officials.
 •   Peregrine Financial Group/Wasendorf – led criminal investigation and prosecution of $215 million
     fraud by owner and Chief Executive Officer of Futures Commission Merchant leading to 50-year
     federal sentence.
 •   Agriprocessors/Rubashkin – co-led largest criminal worksite enforcement investigation in U.S. history
     and related harboring and bank fraud investigation leading to felony convictions for more than 300
     employees, several supervisors, Human Resources Officer, Controller, Chief Financial Officer and
     Chief Executive Officer.
 •   Hancher – prosecution of multi-million-dollar wire and securities fraud committed by investment
     broker promoting plans to take one company public through a stock offering and another company
     private through a stock buyback.
 •   Hoffert – prosecution of real-estate broker for stealing mortgage loan proceeds and failing to pay off
     prior mortgage loans.
 •   Plower – investigation and prosecution of law enforcement officer for scheme to defraud insurance
     company by setting fire to insured property leading to 13-year federal sentence.
 •   Kinseth – prosecution of investment broker for Ponzi scheme targeting multiple victims – including a
     paraplegic and a member of the clergy – and resulting in more than four years in federal prison.

Speeches and Publications

Financial Services and Bank Secrecy Act
Financial Services Volunteer Corps / Judicial Institute for Africa, Cape Town, South Africa

 •   Anti-Money Laundering and Anti-Public Corruption Training for Judges from Angola, Eswatini,
     Mozambique, Namibia, and South Africa (2022)

Financial Services Volunteer Corps / Judicial Institute of Jordan, Amman, Jordan

 •   Anti-Money Laundering and Counter-Terrorism Financing Training for Jordanian Judges/Public
     Prosecutors (2021, 2022)

IRS / Iowa Special Enforcement Operations Bureau Training for Gaming Organizations, Dubuque, Iowa

 •   Sports Book/Anti-Money Laundering Compliance remarks (2019)

Attorney General’s Advisory Subcommittee on White Collar Fraud, Los Angeles, California

 •   Suspicious Activity Reports Best Practices panel (2019)

Northeast Iowa Bank Security Training, Waterloo and Dubuque, Iowa

 •   Suspicious Activity Reports and Financial Crimes presentation (2016)

Iowa Bankers Association Two-Day BSA/AML Compliance School, Des Moines, Iowa




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 •   Federal Financial Crimes presentation (2015)

Risk Management Association Eastern Iowa Chapter, Cedar Rapids, Iowa

 •   Financial Institution Fraud presentation (2011)

Institute of Internal Auditors Heartland-Iowa Chapter, Cedar Rapids, Iowa

 •   Business Fraud and Referrals for Federal Prosecution presentation (2011)

Food Safety
Faegre Food and Ag Conference, Indianapolis, Indiana

 •   Food Safety panel (2016)

ABA Food and Device Conference, Omaha, Nebraska

 •   Food Safety panel (2015)

Employment-Related Immigration
U.S. Department of Justice National Advocacy Center, Columbia, South Carolina

 •   Border Security Conference, Worksite Enforcement Issues panel (2018)
 •   Criminal Immigration Seminar case study (2010, 2011)
 •   Employment Related Immigration Crimes Seminar case study (2009)

Attorney General’s Advisory Subcommittee on Border and Immigration Issues

 •   Worksite Enforcement Best Practices presentation (2018)

Homeland Security Investigations Supervisor School, Glynco, Georgia

 •   Worksite Enforcement Prosecutions for HSI Supervisors presentation (2018)

Publication: 2013 revisions and updates to Chapter 12 of the U.S. Department of Justice, Office of Legal
Education, Immigration Manual (Civil and Criminal Remedies for Illegal Employment of Aliens)
White Collar Investigations
Illinois Manufacturers’ Association

 •   Co-Presenter, “Best Practices and Criminal & Civil Implications: Internal Investigations,” May 9,
     2023.

U.S. Department of Justice National Advocacy Center, Columbia, South Carolina

 •   Filter Review Team Guidance panel (2020 Webinar)

 University of Iowa Law School, Iowa City, Iowa

 •   Adjunct Faculty, Federal White Collar Crime Course (Spring 2016)

Mt. Mercy University Criminal Justice Program, Cedar Rapids, Iowa




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 •     White Collar Crime panel (2016)

Kaplan University White Collar Crime Course, Cedar Rapids, Iowa

 •     Business Fraud and Federal Prosecution guest lecture (2011)

Author, “Elder Financial Fraud Schemes: The Case for Federal Investigation and Prosecution,” 66 DOJ J.
FED. L. & PRAC., no. 7, 2018
Trial Advocacy
U.S. Department of Justice National Advocacy Center, Columbia, South Carolina

 •     Visiting Faculty, Basic Criminal Trial Advocacy Course (2005 to 2020)
 •     Jury Trials during COVID-19 Pandemic panel (2020 Webinar)

University of Notre Dame Law School, Notre Dame, Indiana

 •     Visiting Faculty, Intensive Trial Advocacy Course (annually since 2017)

Lawyers Without Borders

 •     Virtual Trial Advocacy Trainer for Kenyan Prosecutors (2021)

Awards
• Taft Pro Bono Honor Roll Award(2022)
• U.S. Treasury / Financial Crimes Enforcement Network, Certificate of Appreciation (2020)
• U.S. Department of Justice, Special Commendation for Outstanding Service in the Civil Division (2015)
• Council of the Inspectors General, Gaston L. Gianni, Jr. Better Government Award (2015)
• U.S. Food and Drug Administration Office of Criminal Investigations, Award for Distinguished Service
     (2015)
•    U.S. Department of Justice, Director’s Award for Superior Performance by a Litigative Team (2014)
•    United States Department of Agriculture, Honor Award for Excellence (2010)
•    U.S. Immigration and Customs Enforcement Office of Investigations, Special Recognition Award (2010)
•    Federal Bureau of Investigation, Certificate of Recognition (2010)

Professional Affiliations
• Linn County Iowa Bar Association
• Northern District of Iowa Historical Society
• Michigan Bar Association
• National Association of Former United States Attorneys
• American Bar Association, Member, Criminal Law Section
• Wisconsin State Bar Association
• Federal Bar Association, Member, Chicago Chapter

Community Involvement
• Iowa Donor Network, North Liberty, Iowa, Volunteer presenter
• 100+ People Who Care, Cedar Rapids, Iowa




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• St. Matthew’s Catholic Church, Cedar Rapids, Iowa, Past Board of Education Member, Past Board of
  Education President, Past Co-chairperson, Capital Campaign Committee
• Notre Dame Club of Cedar Rapids/Iowa City, Past Admissions Volunteer Coordinator
• Financial Services Volunteer Corps, Volunteer Expert




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Rick is an attorney in our Bankruptcy and Restructuring and Real       Practices
Estate Finance practice groups, and our Automotive industry            Bankruptcy and Restructuring
group. He has a national practice focusing on both transactional
                                                                       Real Estate Finance
and litigation aspects of bankruptcy law, debtor and creditor
rights, workouts, corporate, and financing transactions. His client    Industries
representations include original equipment manufacturers,
                                                                       Automotive
borrowers, debtors, secured parties, landlords, purchasers,
sellers, receivers, avoidance defendants, and unsecured                Education
creditors’ committees. His strategy and expertise span across a
                                                                       Chicago-Kent College of Law
diverse list of industries, with a focus on Automotive and business
sectors, providing creative solutions in all facets of these complex   Michigan State University
transactions.
                                                                       Admissions
                                                                       State - Michigan
                                                                       Federal - U.S. District Court for
                                                                       the Eastern District of Michigan
                                                                       Federal - U.S. District Court for
                                                                       the Western District of Michigan




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Notable Matters

 •   Represents Original Equipment Manufacturers (OEMs) and Tiered Suppliers.
 •   Represents numerous smaller financial institutions.

Speeches and Publications

Publications

 •   “In re TOUSA: When Can Indirect Benefits Constitute Reasonably Equivalent Value in Fraudulent
     Transfer Actions,” Michigan Business Law Journal (2013).
 •   Case Analysis: Seventh Circuit Holds Kmart Critical Vendor Order Inappropriate, Commercial Law
     League of America, Bankruptcy Section Newsletter (2004).
 •   “Michigan’s Judgment Lien Statute: A New Collection Tool for Creditors,” Michigan Business Bar
     Journal (2004).
 •   “My First Preference Defense-Some Practical Pointers For Attorneys And Accountants,” American
     Bankruptcy Institute Young and New member committee newsletter, Vol 1, No. 3 (2003).
 •   Case Analysis: Third Circuit Holds That Creditors’ Committee Does Not Have the Ability to Bring a
     Pre-Plan Confirmation Fraudulent Transfer Action, Commercial Law League of America, Bankruptcy
     Section Newsletter (2002).

Speaking Engagements

 •   “Opinion Letter for Bankruptcy Lawyers: What You Need to Know Before Issuing a Third-Party
     Opinion Letter,” American Bankruptcy Institute Annual Spring Meeting, (2019).

Awards
• Honoree, Michigan Super Lawyers Rising Star (2011-2012)
• Honoree, DBusiness Top Lawyers (2012)




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                                    EXHIBIT 7

                                   (Taft Expenses)




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      COSTS ADVANCED




      TITLE LIEN SEARCH FEES

              Date Description                                   Amount
         4/19/2023 STATE OF MICHIGAN, UCC -11- SEARCH            $122.00
         4/19/2023 STATE OF MICHIGAN, UCC-11 SEARCH                $6.00
         4/19/2023 Search, STATE OF MICHIGAN, UCC-11 SEARCH       $12.00
                   Sub-Total of Expenses:                        $140.00



      COPYING

              Date Description                                   Amount
         5/11/2023 Copying/printing                               $31.80
         9/27/2023 Copying/printing                              $165.90

                   Sub-Total of Expenses:                         $197.70



                   TOTAL COSTS ADVANCED                           $337.70




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